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     7
     8                     UNITED STATES DISTRICT COURT
     9                    CENTRAL DISTRICT OF CALIFORNIA
    10                             WESTERN DIVISION
    11 IN RE ETHEREUMMAX INVESTOR                 Lead Case No. 2:22-cv-00163-MWF-
       LITIGATION                                 (SKx)
    12
                                                  SECOND AMENDED CLASS
    13 This Document Relates To:                  ACTION COMPLAINT
    14 ALL ACTIONS
    15                                            DEMAND FOR JURY TRIAL
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     1         Plaintiffs Ryan Huegerich, Jonathan Semerjian, Nabil Nahlah, Till Freeman,
     2 Marko Ciklic, Tunisia Brignol, Milan Puda, Neil Shah, Michael Buckley, and
     3 Christopher DeLuca (“Plaintiffs”), individually and on behalf of all others similarly
     4 situated, bring this Class Action Complaint (“Complaint”) against Defendant EMAX
     5 Holdings, LLC (“EMAX Holdings” or the “Company”), Giovanni Perone, Mike
     6 Speer, Justin Maher, and Jona Rechnitz (the “Executive Defendants”), Kimberly
     7 Kardashian, Floyd Mayweather, Jr., Paul Pierce, Russell Davis, and Antonio Brown
     8 (the “Promoter Defendants” and, together with the Executive Defendants, the
     9 “Defendants”). The following allegations are based upon personal knowledge as to
    10 Plaintiffs’ own facts, upon investigation by Plaintiffs’ counsel, and upon information
    11 and belief where facts are solely in possession of Defendants.
    12                               NATURE OF THE CASE
    13         1.     Plaintiffs bring this action on behalf of all investors who purchased
    14 EthereumMax tokens (“EMAX Tokens”) between May 14, 2021 and June 27, 2021,
    15 (the “Relevant Period”) and were damaged thereby.
    16         2.     This case arises from a scheme among various individuals in the
    17 cryptocurrency sector to misleadingly promote and sell the digital asset associated
    18 with EthereumMax (the EMAX Tokens) to unsuspecting investors. The Company’s
    19 executives, collaborating with several celebrity promotors, (a) made false or
    20 misleading statements to investors about EthereumMax through social media
    21 advertisements and other promotional activities, and (b) disguised their control over
    22 EthereumMax and a significant percent of the EMAX Tokens that were available for
    23 public trading during the Relevant Period (the “Float”).
    24         3.     In furtherance of this scheme, Defendants touted the prospects of the
    25 Company and the ability of investors to make significant returns due to the favorable
    26 “tokenomics” of the EMAX Tokens. In truth, Defendants marketed the EMAX
    27 Tokens to investors so that they could sell their portions of the Float for a profit.
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     1        4.     Defendants’ strategy was a success. The misleading promotions and
     2 celebrity endorsements were able to artificially increase the interest in and price of
     3 the EMAX Tokens during the Relevant Period, causing investors to purchase these
     4 losing investments at inflated prices. In addition, the Executive Defendants disguised
     5 their control of EthereumMax to avoid scrutiny and facilitate this scheme. The
     6 Executive Defendants then conspired with the Promoter Defendants to improperly
     7 use inside information to sell their EMAX Tokens to investors for a profit.
     8        5.     Plaintiffs bring this class action on behalf of themselves and an
     9 objectively identifiable class consisting of all investors that purchased
    10 EthereumMax’s EMAX Tokens between May 14, 2021 and June 27, 2021.
    11                                      PARTIES
    12 Plaintiffs
    13        6.     Plaintiff Ryan Huegerich (“Huegerich”) is a resident and citizen of New
    14 York, living in Brooklyn, New York.             After viewing numerous celebrity
    15 endorsements of EMAX, Plaintiff Huegerich purchased EMAX Tokens, paid fees,
    16 and suffered investment losses as a result of Defendants’ conduct.
    17        7.     Plaintiff Jonathan Semerjian (“Semerjian”) is a resident and citizen of
    18 California, living in Valencia, California.      After viewing numerous celebrity
    19 endorsements of EMAX, Plaintiff Semerjian purchased EMAX Tokens, paid fees,
    20 and suffered investment losses as a result of Defendants’ conduct.
    21        8.     Plaintiff Nabil Nahlah (“Nahlah”) is a resident and citizen of Florida,
    22 living in Miami Beach, Florida. After viewing numerous celebrity endorsements of
    23 EMAX, Plaintiff Nahlah purchased EMAX Tokens, paid fees, and suffered
    24 investment losses as a result of Defendants’ conduct.
    25        9.     Plaintiff Till Freeman (“Freeman”) is a resident and citizen of Florida,
    26 living in Hallandale, Florida. After viewing numerous celebrity endorsements of
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     1 EMAX, Plaintiff Freeman purchased EMAX Tokens, paid fees, and suffered
     2 investment losses as a result of Defendants’ conduct.
     3        10.    Plaintiff Marko Ciklic (“Ciklic”) is a resident and citizen of New York,
     4 living in Brooklyn, New York. After viewing numerous celebrity endorsements of
     5 EMAX, Plaintiff Ciklic purchased EMAX Tokens, paid fees, and suffered investment
     6 losses as a result of Defendants’ conduct.
     7        11.    Plaintiff Tunisia Brignol (“Brignol”) is a resident and citizen of Florida,
     8 living in Miami, Florida. After viewing numerous celebrity endorsements of EMAX,
     9 Plaintiff Brignol purchased EMAX Tokens, paid fees, and suffered investment losses
    10 as a result of Defendants’ conduct.
    11        12.    Plaintiff Milan Puda (“Puda”) is a resident and citizen of Florida, living
    12 in Miami, Florida. After viewing numerous celebrity endorsements of EMAX,
    13 Plaintiff Puda purchased EMAX Tokens, paid fees, and suffered investment losses as
    14 a result of Defendants’ conduct.
    15        13.    Plaintiff Neil Shah (“Shah”) is a resident and citizen of California, living
    16 in San Jose, California. After viewing numerous celebrity endorsements of EMAX,
    17 Plaintiff Shah purchased EMAX Tokens, paid fees, and suffered investment losses as
    18 a result of Defendants’ conduct.
    19        14.    Plaintiff Michael Buckley (“Buckley”) is a resident and citizen of
    20 California, living in Sherman Oaks, California. After viewing numerous celebrity
    21 endorsements of EMAX, Plaintiff Buckley purchased EMAX Tokens, paid fees, and
    22 suffered investment losses as a result of Defendants’ conduct.
    23        15.    Plaintiff Christopher DeLuca (“DeLuca”) is a resident and citizen of
    24 New Jersey, living in Cranford, New Jersey. After viewing numerous celebrity
    25 endorsements of EMAX, Plaintiff DeLuca purchased EMAX Tokens, paid fees, and
    26 suffered investment losses as a result of Defendants’ conduct.
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     1 Defendants
     2        16.    Defendant Justin Maher (“Maher”) is a resident and citizen of
     3 Connecticut, living in Milford, Connecticut. Maher is the co-founder/creator of
     4 EthereumMax and exercised control over EthereumMax and directed and/or
     5 authorized, directly or indirectly, the sale and/or solicitations of EMAX Tokens to
     6 the public.
     7        17.    Defendant Giovanni Perone (“Perone”) is a resident and citizen of
     8 Florida, living in Miami, Florida. Perone is the co-founder/creator of EthereumMax
     9 and served as the sole director of EMAX Holdings, LLC. Perone exercised control
    10 over EthereumMax and directed and/or authorized, directly or indirectly, the sale
    11 and/or solicitations of EMAX Tokens to the public.
    12        18.    Defendant Mike Speer (“Speer”) is a resident and citizen of Texas,
    13 living in Georgetown, Texas. Speer is the co-founder/creator of EthereumMax and
    14 exercised control over EthereumMax and directed and/or authorized, directly or
    15 indirectly, the sale and/or solicitations of EMAX Tokens to the public.
    16        19.    Defendant Jona Rechnitz (“Rechnitz”) is a resident and citizen of
    17 California, living in Los Angeles, California. Rechnitz served as a consultant,
    18 recruiter, and spokesman for EthereumMax, and he exercised control over
    19 EthereumMax and directed and/or authorized, directly or indirectly, the sale and/or
    20 solicitations of EMAX Tokens to the public.
    21        20.    Defendant Kimberly Kardashian (“Kardashian”) is a resident and citizen
    22 of California, living in Hidden Hills, California. Kardashian acted as a promotor for
    23 EthereumMax and the EMAX Tokens.
    24        21.    Defendant Floyd Mayweather, Jr. (“Mayweather, Jr.”) is a resident and
    25 citizen of Nevada, living in Las Vegas, Nevada. Mayweather, Jr. acted as a promotor
    26 for EthereumMax and the EMAX Tokens.
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     1         22.   Defendant Paul Pierce (“Pierce”) is a resident and citizen of California,
     2 living in Inglewood, California. Pierce acted as a promotor for EthereumMax and
     3 the EMAX Tokens.
     4         23.   Defendant Russell Davis (“Davis”) is a resident and citizen of
     5 Connecticut, living in Woodmont, Connecticut.          Davis acted as a consultant,
     6 developer, promoter, and spokesman for EthereumMax, and he exercised control
     7 over EthereumMax and directed and/or authorized, directly or indirectly, the sale
     8 and/or solicitations of EMAX Tokens to the public.
     9         24.   Defendant Antonio Brown (“Brown”) is a resident and citizen of
    10 Florida, living in Miami, Florida. Brown acted as a promotor for EthereumMax and
    11 the EMAX Tokens.
    12         25.   Defendant EMAX Holdings, LLC is a Florida limited liability company
    13 with its principal place of business located at 851 Northeast 1st Avenue, Miami,
    14 Florida 33132. EMAX Holdings is the corporate entity created by Perone after the
    15 launch of the EMAX Tokens to hold the EthereumMax intellectual property, and it
    16 was incorporated on June 6, 2021. On December 22, 2021, the Company filed
    17 trademark applications for various software for “financial exchange of virtual
    18 currency, utility tokens and digital tokens.” EMAX Holdings was dissolved on
    19 September 23, 2022.
    20         26.   Defendants John Does 1-7 are persons who participated in the
    21 wrongdoing alleged herein but whose identities are currently unknown to Plaintiffs.
    22 Plaintiffs will identify the John Doe Defendants through discovery.1
    23
    24
    25   1
              While the identities of John Does 1-7 cannot yet be confirmed, there are clues.
    26 For  example,  as a now-deleted telegram post from the EMAX official account
       admitted: “Kim Kardashian is a family member of someone on the team.” In
    27 addition, one of Kardashian’s EthereumMax promotions is made in conjunction with
       a nightclub, LIV, and Groot Hospitality, both of which are partially owned by David
    28 Grutman. Since at least 2017, Grutman has been friends with Scott Disick, who also
       happens to be the father of Kardashian’s niece and nephews.
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     1                              JURISDICTION AND VENUE
     2         27.   This Court has subject matter jurisdiction over this action pursuant to 28
     3 U.S.C. §1332 because: (1) there are 100 or more (named or unnamed) class members;
     4 (2) there is an aggregate amount in controversy exceeding $5,000,000, exclusive of
     5 interest or costs; and (3) there is minimal diversity because at least one Plaintiff and
     6 Defendant are citizens of different states. This Court has supplemental jurisdiction
     7 over the state law claims pursuant to 28 U.S.C. §1367.
     8         28.   This Court may exercise jurisdiction over Defendants because they have
     9 continuous and systematic contacts with this District, do substantial business in this
    10 State and within this District, and engage in unlawful practices in this District as
    11 described in this Complaint, so as to subject themselves to personal jurisdiction in
    12 this District, thus rendering the exercise of jurisdiction by this Court proper and
    13 necessary.
    14         29.   Venue is proper in this judicial District pursuant to 28 U.S.C. §1391(b)
    15 because certain Defendants live and/or conduct business in this District, therefore, a
    16 substantial part of the events or omissions giving rise to the claims alleged herein
    17 occurred in this District.
    18         30.   For example, one of the Company’s marketing executives, Steve
    19 Gentile’s September 13, 2021 post congratulating the winners of EthereumMax’s
    20 “exclusive in-person LA influencer event with CRE8LUCK” is still pinned (Pinned
    21 Message # 93) as a top post on the Ethereum Max official Telegram account.2 See
    22 also Pinned Messages 86-87. Similarly, Gentile’s September 17, 2021 post bragging
    23 that the “influencer event with CRE8LUCK in Los Angeles at the Petersen
    24 Automotive Museum was a success. Lots of exciting EMAX content coming soon”
    25 is also still pinned on the official EthereumMax Telegram account (Pinned Message
    26 # 99) for investors to see in particular. In addition, the EthereumMax Telegram page
    27
         2
    28          EthereumMax (@EthereumMax), TELEGRAM, https://t.me/EthereumMax
         (last visited Dec. 21, 2022).
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     1 promotes as part of its “Business of the Week” and “Vender of the Week”
     2 promotions, businesses like aerial photography business Diablo Drone Services
     3 located “in the California bay area” and cannabis delivery service CVALT located in
     4 Alameda, Tulare, Fresno, and Kern Counties, which have started “accepting
     5 payments” in EMAX Tokens.
     6                             FACTUAL ALLEGATIONS
     7         EthereumMax Background
     8         31.   EthereumMax is a cryptocurrency-related project founded by Justin
     9 Maher, Steve Gentile, Giovanni Perone, and at least seven other undisclosed
    10 individuals.3 Maher and others funded the development and creation of the EMAX
    11 Token.
    12         32.   The EMAX Tokens are blockchain-based digital assets known as “ERC-
    13 20 tokens” that are created using the Ethereum blockchain. After an ERC-20 token
    14 is created, it can be traded, spent, or otherwise transacted with.
    15         33.   EMAX Tokens were not sold on popular centralized exchanges like
    16 Coinbase or Gemini, which generally require that the tokens be compliant with local
    17 laws and regulations. Instead, the EMAX Tokens traded exclusively on decentralized
    18 exchanges, like Uniswap, that allow anyone to list and sell their tokens.
    19         34.   Uniswap and other decentralized exchanges are known as “automated
    20 market makers” which use liquidity pools and smart contracts to allow investors to
    21 exchange one asset for another without a direct counterparty. Users called liquidity
    22 providers add an equal value of two tokens into a smart contract pool to create a
    23 market. When executing a trade on a decentralized exchange, an investor does not
    24 have a counterparty and is instead executing the trade against the liquidity in the
    25 liquidity pool. In order to execute trades on a decentralized exchange, users must pay
    26
    27   3
              See DeFi Angels, Defi Angels Illumination Series: EMAX Cofounder, Justin
       Maher dishes the real story behind EMAX, YOUTUBETELEGRAM (Sept. 28, 2021),
    28 https://www.youtube.com/watch?v=EkBOlCK3cuU.
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      1 “gas fees” in order to process the transaction on the Ethereum blockchain. The gas
      2 fee can be significant, as it takes into account the amount of computing power needed
      3 to process the transaction, as well as the amount of traffic on the network.
      4        35.    The EMAX Tokens were primarily traded against Ether, the native
      5 currency of the Ethereum blockchain network.4
      6        36.    At inception, Maher was ranked seventh out of the ten original founders
      7 in terms of ownership interest in EthereumMax, with a 5.9% stake in the project.
      8        37.    The developer held the number one rank with 23% ownership interest.
      9        38.    After an initial failed attempt to launch the EMAX Tokens, Maher
     10 tapped into a network of 20 traders of collectibles he knew prior to creating
     11 EthereumMax to assist in the operation and promotion of the EthereumMax project.
     12 These individuals previously served as the moderators for the social media accounts
     13 for the cryptocurrency, Shiba Inu coin. Between them, this group had upward of
     14 400,000 followers across their various social media accounts.
     15        39.    Maher tasked this group to work as the moderators for the various
     16 EthereumMax social media accounts, including those on Facebook, Instagram,
     17 Twitter, Telegram, Reddit, and Discord. In particular, the group was meant to “shill”
     18 the EMAX Tokens to their followers, enticing potential investors with claims that the
     19 EMAX Tokens were up “8000%” (after the EMAX Token price had been artificially
     20 inflated) and would continue to rise. Maher himself served as the administrator/
     21 moderator of the EthereumMax Facebook page.
     22
     23
          4
              EthereumMax has no connection to the second largest cryptocurrency,
     24 Ethereum. This name association appears to be an effort by the Company and the
        Executive Defendants to mislead investors into believing that the EMAX Tokens
     25 were a part of the Ethereum network (when they are not). It would be akin to
        marketing a restaurant as “McDonald’sMax” when it had no affiliation with
     26 McDonald’s other than the name similarity and the fact that both companies sell
        food products. In fact, the founder of Ethereum, Vitalik Buterin, called for
     27 Kardashian to be “cancelled” for her shilling of EMAX Tokens. See Grand Amphi
        Théatre, Vitalik Buterin: Things that matter outside of defi, YOUTUBE (July 21,
     28 2021), https://www.youtube.com/watch?v=oLsb7clrXMQ&t=793s.
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      1         40.   According to Defendant Davis, he created the “roadmap” for
      2 EthereumMax following the failed launch. Davis also admitted that about half of the
      3 EthereumMax founders were “literally in there to pump and dump. They said the
      4 wallets were locked, they were not. It was all just like handshake deals, . . . but you
      5 need to respect that.”5      Davis further described this undisclosed half of the
      6 EthereumMax development team as “scumbags, absolute scumbags.” Davis did,
      7 however, reveal that the name of one of the individuals he was referring to “rhymes
      8 with Gio Perone.”6
      9         41.    Upon information and belief, one of the other individuals that Davis
     10 was referring to was Defendant Jona Rechnitz.
     11         42.   Rechnitz is a convicted felon whose brazen criminality played an
     12 instrumental role in effectuating two aspects of the EthereumMax scam. First,
     13 Rechnitz secured the Promoter Defendants’ agreements to shill EthereumMax
     14 without disclosing their connection to him or the payments they each received for the
     15 solicitations. Second, Rechnitz, along with co-conspirators Mayweather, Pierce,
     16 Maher, and Davis, personally traded EMAX Tokens based on insider knowledge of
     17 the timing of the celebrity promotions. Rechnitz has close personal and business
     18 connections to Promotor Defendants Pierce, Mayweather, Kardashian, Brown, and
     19 was the key player in securing their assistance in this scheme.
     20         43.   In 2016, Defendant Rechnitz pled guilty to honest services fraud in
     21 connection with a wire fraud conspiracy and bribery scheme involving the New York
     22 City mayor’s office and the New York Police Department’s Correction Officer’s
     23 Benevolent Association.7 Following his guilty plea, Rechnitz began to cooperate
     24
     25
     26   5
               Emax Holder, RussPodcastsCompilation, YOUTUBE (Nov. 11, 2022),
        https://www.youtube.com/watch?v=gwrmpNHHVfw.
     27 6
               Id.
     28 7
               See generally USA v. Rechnitz, 1:16-cr-00389 (S.D.N.Y.).
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      1 with authorities in connection with their ongoing investigation and later testified at
      2 trial of his co-conspirators.
      3         44.    At the trial of his co-conspirator Norman Seabrook, government
      4 prosecutors elicited testimony from Defendant Rechnitz describing instances in
      5 which he had lied to law enforcement officials, failed to report certain income,
      6 fostered illegal relationships with members of the New York City Police Department,
      7 bribed New York police officers in exchange for various illegal privileges, bribed
      8 New York politicians in order to secure access and the promise of future benefits
      9 from said politicians and their staffs, violated election laws by fundraising by way of
     10 “straw donors,” procured a police chaplaincy despite not having religious credentials,
     11 and solely for purposes of obtaining the prestige and privileges associated with that
     12 title, and lied about owning certain properties in order to impress others.8
     13         45.    Similarly defense attorneys elicited testimony from Rechnitz at trial
     14 detailing instances in which Rechnitz reported a $59,000 watch lost, received
     15 proceeds from his insurance to cover the loss, found the watch, and did not notify his
     16 insurance company, fraudulently obtained an insurance policy for his family,
     17 submitted false documents in a firearm application, pretended to hold no interest in a
     18 real estate property (when in fact he did hold an interest) to deceive the property’s
     19 tenant in a purchase negotiation, gave Christmas presents and jewelry to the family
     20 of a police officer in exchange for a private police escort to the airport and a dedicated
     21 private lane in a crowded tunnel, and had even invoked the fact that his grandparents
     22 were Holocaust survivors to mislead FBI investigators in their investigation of his
     23 illegal relationships with police officers.9
     24         46.    The Court observed that Jona Rechnitz is “somebody who looked out
     25 for himself above all costs, that Jona Rechnitz was always in it for Jona. That Jona
     26
          8
     27       See, Order Denying Motion for a New Trial, USA v. Seabrook, No. 16-cr-467
        (S.D.N.Y.) ECF No. 325.
     28 9     Id.
                                              10
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      1 Rechnitz[, in] other words, was a creature of incentive.”10         In its sentencing
      2 memorandum, the government noted that “Rechnitz was in a position to cooperate
      3 regarding a broad range of subject matters in part because, for several years beginning
      4 when he was 26 years old in 2008, Rechnitz rode a wave of unbridled ambition and
      5 a seemingly limitless sense of entitlement through a series of misdeeds. Rechnitz had
      6 been a brazen criminal, and the seriousness of his crimes of conviction cannot, and
      7 should not, be minimized.”11
      8         47.   In summarizing Rechnitz’s involvement in the scheme, Judge
      9 Hellerstein of the Southern District of New York wrote that “The record evidence
     10 establishes that Rechnitz was the arranger and prime mover of the bribery conspiracy
     11 and sought to extract as much money as possible” from the victim.12 With respect to
     12 Rechnitz’s financial discrepancies, Judge Hellerstein wrote that “Rechnitz claimed
     13 that a Bugatti sports car belonged to Floyd Mayweather and that the diamonds were
     14 stolen from him, failing to explain how he could put up in collateral a Bugatti that he
     15 claims not to own, or non-existing diamonds that he says were stolen from him.”
     16 Judge Hellerstein concluded that Rechnitz “continues to refuse to disclose his
     17 finances fully, and he continues to engage in substantial transactions requiring large
     18 amounts of assets which are inconsistent with the poverty he asserts. The financial
     19 information he provided to the probation officer and to this court is totally
     20 unreliable.”13
     21         48.   Rechnitz was ultimately sentenced to five months incarceration, three
     22 years supervised release, and was ordered to pay $12 million in restitution. 14
     23 Rechnitz is currently out on bond pending his appeal of the restitution.
     24
          10
              Id.
     25   11
              See USA v. Rechnitz, No. 1:16-cr-00389 (S.D.N.Y.) (ECF No. 70).
     26 12
              See Opinion and Order Granting Motion for Restitution, USA v. Rechnitz, No.
        1:16-cr-00389 (S.D.N.Y.) (ECF No. 156).
     27 13
              Id.
     28 14
              Id.
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      1         49.   Following his conviction, Defendant Rechnitz’s father Robert Rechnitz,
      2 a businessman with political connections, funded a bond with the court to release his
      3 son from prison and made significant efforts to help his son resume business
      4 relationships in California.
      5         50.   Prior to that, Rechnitz first went to Florida in order to explore becoming
      6 involved with digital assets and cryptocurrencies. Upon information and belief, while
      7 there, Rechnitz first met with Defendant Perone.
      8         51.   After making that connection, Rechnitz and his wife moved to
      9 California and started a jewelry business through two similarly named entities,
     10 Jadelle Inc. and Jadelle Jewelry and Diamonds, LLC, whose purported marquee client
     11 was the Kardashian family.
     12         52.   Through their jewelry business, Defendant Rechnitz and his wife
     13 promoted and advertised political and powerful celebrity connections to create a false
     14 sense of credibility about themselves and their business, posting photos on their social
     15 media of Defendant Kardashian and other members of her family wearing their
     16 jewelry. For example, Defendant Kardashian wrote on instagram that “New jeweler
     17 alert 🚨 Follow @jadellebh for the 🔥”15 and has made numerous posts promoting
     18 Jadelle.16 Jadelle posted on its Facebook a picture of Defendant Kardashian wearing
     19 Jadelle jewelry stating “The gorgeous @kimkardashian glowing in her custom
     20 @jadellebh necklaces.” Defendant Kardashian’s sisters Kourtney Kardashian17 and
     21 Kylie Jenner18 have posted advertisements for Jadelle. Defendant Kardashian’s
     22
          15
     23          Pinterest, https://www.pinterest.com/pin/600597300287966070/.
          16
                 Kellie Chudzinski, Kim Kardashian flaunts her curves and toned abs in crop
     24   top and skintight skirt as she stops by Ulta to see her new KKW Beauty displays,
          DAILY MAIL (Oct. 23, 2019 9:46 AM) https://www.dailymail.co.uk/tvshowbiz/
     25   article-7603407/Kim-Kardashian-reveals-curves-toned-abs-tight-two-piece-outfit-
          Ulta-visit.html.
     26   17
                 Alina Torres, Kourtney Kardashian explota contra sus hermanas, ENPAREJA
     27   (Dec. 17, 2019 5:32 PM), https://www.enpareja.com/break/Kourtney-Kardashian-
          explota-contra-sus-hermanas-20191217-0041.html.
     28   18
                 Pinterest, https://www.pinterest.com/pin/430586414376243338/.
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      1 mother, Kris Jenner, has also made social media posts promoting “@jadellebh”
      2 bracelets.
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     16        53.    In August 2021, MJS Diamond alleged in a complaint for fraud and civil
     17 theft that Defendant Rechnitz portrayed himself as a successful jeweler and salesman
     18 to several celebrities and athletes like Kim Kardashian and Floyd Mayweather.19
     19 Likewise, Oved Anter & First International Diamond alleged in June 2020 that
     20 Defendant Rechnitz used ties to the Kardashian family to create a false sense of
     21 credibility about themselves and their business, posting photos on their social media
     22 of Defendant Kardashian and her sister Kylie Jenner.20 In connection with his guilty
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     26   19
              See MJS., Inc., v. XL Specialty Company and Jona Rechnitz; Case No.
     27 20STDV08082   (Cal. Sup. Ct. Los Angeles Cty.).
        20
              See Oved Anter & First International Diamond Inc. v. Jona Rechnitz, Case
     28 No. 20STCV23877 (Cal. Sup. Ct. Los Angeles Cty.).
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      1 plea sentencing, Rechnitz proudly told his sentencing judge about partying with
      2 Defendant Kardashian, claiming that it showed he was a hardworking jeweler.21
      3         54.   Bankruptcy proceedings in this District for these Jadelle Jewelry entities
      4 demonstrate numerous examples of Defendant Rechnitz’s misrepresentation and bad
      5 faith. See In re Jadelle Jewelry & Diamonds, LLC, No. 2:20-bk-13530-BR (Bankr.
      6 C.D. Cal. June 23, 2020), ECF No. 83 at 9 (noting, among other things, that “the
      7 assets may have been dissipated by the Rechnitzs and that there may be millions of
      8 dollars in missing jewelry, which the Court considers to be in dire need of
      9 investigation by the chapter 7 trustee”).
     10         55.   Defendant Rechnitz is also a close personal friend, business partner, and
     11 member of the “inner circle” of Defendant Mayweather. Rechnitz is a member of
     12 “The Money Team” and is listed as a collaborator in Defendant Mayweather’s GOAT
     13 (greatest of all time) documentary series.22 Rechnitz has control over ticket sales and
     14 resulting proceeds for Defendant Mayweather’s recent exhibit boxing matches.
     15 Rechnitz has been photographed sitting next to Defendant Mayweather courtside at
     16 Los Angeles Lakers games.23        The NBA connection is particularly notable as
     17 Rechnitz previously used pricey NBA tickets to create fraudulent invoices to launder
     18 his bribe money.24 Rechnitz recently partied “the night away” at Art Basel in 2022
     19
     20
     21   21
                Emily Saul, DeBlasio donor-turned-informant Jona Rechnitz sentenced to 10
     22   months, NEW YORK POST (Dec. 19, 2019), https://nypost.com/2019/12/19/de-blasio-
          donor-turned-informant-jona-rechnitz-sentenced-to-10-months/.
     23   22
                Floyd Mayweather Making ‘Last Dance’ Style Docuseries . . . ‘The GOAT’,
          TMZ (Oct. 6, 2022, 10:00 AM), https://www.tmz.com/2022/10/06/floyd-
     24   mayweather-signs-deal-docuseries-show-last-dance-the-goat-boxing-tbe/.
          23
     25         Floyd Mayweather Makes Good on Promise . . . Sends Kids to Clips Game,
          TMZ (Oct. 31, 2022, 9:04 AM), https://www.tmz.com/2022/10/31/floyd-
     26   mayweather-gifts-young-fans-tickets-clippers-game-lakers/.
          24
                Hedge Fund Founder Pleads Guilty To Fraud In Connection With Bribery Of
     27   Former Correction Officers Union Leader, U.S. Dep’t Of Just., U.S. Att’y Off.,
          S.D.N.Y. (May 25, 2018), https://www.justice.gov/usao-sdny/pr/hedge-fund-
     28   founder-pleads-guilty-fraud-connection-bribery-former-correction-officers.
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      1 with Defendants Mayweather and Kardashian.25          TMZ recently reported that
      2 Defendant Mayweather gifted Defendant Rechnitz a custom jacket.
      3        56.   Until recently, Defendant Rechnitz was also close personal friends with
      4 Defendant Antonio Brown. After a falling out, Defendant Brown has “aired the dirty
      5 laundry” between the two on Instagram, publishing text messages regarding a
      6 $415,000 payment for fake high end Richard Millie watches.
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               Jeroslyn JoVonn, Floyd Mayweather drops over $4M on Art Basel Pieces by
     27 Warhol, Rober Indiana, and Alexander Calder, BLACK ENTERPRISE (Dec. 2, 2022),
        https://www.blackenterprise.com/floyd-mayweather-drops-over-4m-on-art-basel-
     28 pieces-by-warhol-robert-indiana-and-alexander-calder/.
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      1        57.   In another text message authored by Rechnitz, he bragged about his
      2 associations with Promoter Defendants Mayweather, Kardashian, and Brown and
      3 cavalierly refers to how he “bribed the mayor of NYC”:
      4        Floyd fucks with me
      5        Kim fucks with me
      6        Ab fucks with me
      7        Floyd and Kim going strong 10 + years
      8        Shit happened.
      9        I bribed the mayor of NYC and cops and got jammed up in 2016
     10        Simple Answer
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      1         58.   On May 14, 2021, the Executive Defendants launched the EMAX
      2 Tokens with a transaction volume of $16.11 million and a price of $0.00000005875,
      3 according to data from CoinMarketCap.26
      4         59.   Liquidity pools were created on Uniswap to allow users to purchase
      5 EMAX Tokens with Ether. Wallets associated with Defendants continually provided
      6 EMAX Tokens to the pool as retail investors provided Ether to purchase EMAX
      7 Tokens.
      8         60.   At the time of launch, and throughout the Relevant Period, the EMAX
      9 Tokens were not sold pursuant to a “whitepaper.” Whitepapers in cryptocurrency are
     10 documents released by the founders of the project that gives investors technical
     11 information about its concept, and a roadmap for how it plans to grow and succeed.
     12         61.   Subsequently, however, the Company did release a whitepaper in
     13 October 2021 entitled: “EthereumMax – Disrupt History,” which explained the
     14 business model for EthereumMax and described its activities during the Relevant
     15 Period.
     16         62.   According to the Company, “[w]e launched EMAX with a vision to
     17 bridge the gap between the emergence of community-driven tokens and the well-
     18 known foundational coins of crypto, creating a unique token that provides lifestyle
     19 perks with financial rewards and incentives to its holders with a pathway for practical
     20 long-term use in everyday life.”27 The founders’ “approach to bridging this gap was
     21 to simplify the complex and instill confidence through a trusted circle that can
     22 provide guidance and instill trust.”28
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     25   26
              Historical Data for EthereumMax, COINMARKETCAP, https://coinmarketcap.
        com/currencies/ethereummax/historical-data/ (last visited Dec. 19, 2022).
     26 27
              See Whitepaper, EthereumMax – Disrupt History, ETHEREUMMAX, 5 (Oct.
     27 2021),  https://ethereummax.org/wp-content/uploads/EthereumMax-White paper-
        v1-Final.pdf.
     28 28    Id. at 7.
                                              17
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      1        63.    In plain terms, EthereumMax’s entire business model relies on using
      2 constant marketing and promotional activities, often from “trusted” celebrities, to
      3 dupe potential investors into trusting the financial opportunities available with
      4 EMAX Tokens. The whitepaper was reviewed by ICOLAW P.C., a law firm located
      5 in Los Angeles, California.
      6        64.    The Company later even bragged in its whitepaper that its “expertise in
      7 marketing strategy and managing relationships” was a “key area” for EthereumMax’s
      8 successful promotional efforts in the preceding six months (i.e., the Relevant Period):
      9               Each week we track and analyze our marketing efforts,
               continuing to make strategic modifications to optimize engagement for
     10        week-over-week improvements and impact. If we can do all of this in
               less than 6 months, imagine what the future holds? The best is yet to
     11        come.29
     12        65.    This so-called expertise in “marketing strategy and managing
     13 relationships” came primarily from three individuals: Defendants Perone, Maher,
     14 and Rechnitz. Upon information and belief, Rechnitz was either (1) one of the
     15 undisclosed founders of EthereumMax, or (2) brought in by Perone and/or Maher
     16 prior to the launch of the EMAX Token to help the Execute Defendants recruit the
     17 Promotor Defendants.
     18        66.    Rechnitz provided the Executive Defendants with access to several
     19 high-profile celebrities that were willing to tout EMAX Tokens in exchange for
     20 under-the-table payments and the ability to frontrun EMAX Tokens investors. For
     21 example, as Davis subsequently disclosed, Davis and the Executive Defendants were
     22 able to recruit Mayweather as an EMAX Token promoter due to them having “two
     23 degrees of separation” from Mayweather (i.e., via Rechnitz).
     24        The Pump – Shilling EthereumMax
     25        67.    On May 14, 2021, the day of the EMAX Token launch, Defendant
     26 Maher posted a promotion and solicitation for EMAX Tokens on the
     27
     28   29
               Id. at 48.
                                                  18
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      1 “InRussWeTrust” Facebook page (which was owned and operated by Defendant
      2 Russell Davis). Specifically, the following post showed a screenshot of the financial
      3 metrics for the EMAX Tokens and displayed a “466,590.48%” increase in the
      4 EMAX Tokens price over a 24-hour period:
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     24        68.    The next day, after the price of EMAX Tokens sharply decreased,
     25 Maher made the following post on Facebook to ease concerns from EMAX Token
     26 investors and encourage further purchasing and/or holding of the tokens:
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      1         I’ve been getting a lot of questions about this being a rug pull or a dump
                and dump. It’s easy to be pessimistic when you see a 50-75% drop in
      2         a day much less a half hour. After further look though the massive sell
                off came from one single account, that bought 35 ETH worth of coins
      3         and sold off his entire position after a sharp bump. This cause a cascade
                of panic selling wiping out all the gains from the day. You can view
      4         his account, he does this regularly to new alt coins at our stage of the
                game.
      5
                The good news, neither of the two largest accounts sold a single penny.
      6         These are held by the coin developers and their marketing team. After
                speaking with the development team they’ve assured us that aside from
      7         marketing expenses they will not sell off any of their position for at
                least six months.
      8
                If you’ve invested in new coins before (Shiba, Kishu, etc.), you’ll have
      9         been through this ride already. The lessons we’ve learned from those
                coins, is that in turbulent times, it’s actually best to do nothing. That’s
     10         naturally hard to do when you see a dramatic movement, so have a plan
                in place for what your goal is and stick to it. Don’t feel bad about taking
     11         small profits to the sideline as the coin appreciates. This will help you
                let the rest ride without letting your emotions get in the way.
     12
                There’s going to be a lot of bumps along the way. Stay strong, and hold
     13         tight. #EthereumMax
     14         69.   On May 16, 2021, the EthereumMax Instagram account posted the
     15 following promotion titled the “EthereumMax Pre-launch Kickoff” (the “Pre-launch
     16 Kickoff post”), which touted, among other things, how (1) the EMAX Tokens grew
     17 “500,000+% in the first 24 hours”; (2) the Executive Defendants had “locked in
     18 partnership with global digital marketing agency” and “lined up a knockout
     19 influencer” for a “nationwide campaign”; and (3) “We are 3 days in with ~$100M
     20 market cap and the train is just getting rolling”:30
     21
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          30
     28          EthereumMax (@ethereummax), INSTAGRAM                    (May     16,    2021),
          https://www.instagram.com/p/CO87bQ0srEF/.
                                             20
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     19        70.   On May 17, 2021, Maher issued the following statement regarding the
     20 Prelaunch Kickoff Post from the EMAX team:
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     10        71.   On May 18, 2021, Defendant Davis posted to his followers that it was
     11 “Not too late for Emax and Bezoge! Just the start!”
     12        72.   As the subsequently released whitepaper acknowledged, the Executive
     13 Defendants actively recruited and retained the Promoter Defendants to serve as the
     14 promotors for the launch of the EMAX Tokens in May 2021.
     15        73.   The Promotor Defendants are sophisticated public figures with
     16 familiarity and experience with endorsement contracts.
     17        74.   Upon information and belief, the Promoter Defendants received EMAX
     18 Tokens and/or other forms of consideration as part or all of their compensation for
     19 promoting EthereumMax.
     20        75.   For example, a combined search of the Ethereum Blockchain Explorer
     21 (“Etherscan”) and the non-fungible token marketplace OpenSea shows that a wallet
     22 owned/controlled by Pierce received and sold millions of dollars’ worth of EMAX
     23 Tokens while Pierce simultaneously promoted EMAX Tokens to investors.
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      1            76.     As a starting point, on May 28, 2021, Pierce posted a screenshot of his
      2 trading          account    with 15,858,700,526,204.817 EMAX Tokens               valued   at
      3 “$2,520,087.34,” which had increased “83.34% ($1,145,469.23)” on the one-day
      4 chart.31 The caption to the image posted by Pierce contained the following string of
      5 emojis:
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                   77.     Notably, while Pierce covered up his wallet’s actual address, he left the
     17
          unique image displayed as the wallet’s profile picture unredacted. This image is a
     18
          direct         match       to   an   image      associated    with     wallet      address
     19
          0x70f5a6ebc69087996ce5eb94b799e15994beae10 on the OpenSea exchange. An
     20
          examination on Etherscan of some of the other digital assets within Wallet 0x70f5A6
     21
          shows additional connections to Pierce, further confirming that Wallet 0x70f5A6 32￼
     22
          For example, Wallet 0x70f5A6 trades in Ethernity tokens.               Pierce has direct
     23
          connections to Ethernity via his participation in a celebrity charity poker tournament
     24
     25
          31
     26        Paul Pierce (@paulpierce34), TWITTER (May 28, 2021, 8:07 AM),
        https://twitter.com/paulpierce34/status/1398294745806299139?s=20&t=V-OgyFf-
     27 y6rqaCh_CgzpGg.
        32
               https://etherscan.io/address/0x70f5a6ebc69087996ce5eb94b799e15994be
     28 ae10.
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      1 sponsored and/or promoted by Ethernity33￼ Pierce even played at the same table
      2 with Ethernity’s CEO, Nick Rose, on September 26, 2021.
      3         78.    An examination of Pierce’s wallet’s trading activity in conjunction with
      4 Pierce’s social media activity shows that Pierce made millions of dollars trading (and
      5 selling) EMAX Tokens while simultaneously promoting the tokens to investors as
      6 sound long-term investments.
      7         79.    Initially, on May 24, 2021, after making a small transfer of
      8 approximately $13,350 (seemingly as a test to confirm that the transfer between
      9 wallets could be done successfully), Pierce’s wallet received an “airdrop” of
     10 approximately 15 trillion now-defunct EMAX Tokens from the beta version of the
     11 EthereumMax deployer wallet.34
     12         80.    On May 25, 2021, Pierce received an approximate equivalent of 15.4
     13 trillion new EMAX Tokens via the EthereumMax deployer wallet, valued at around
     14 $1,350,000 in cash at the time. That same day, Pierce also additionally purchased
     15 around 110 billion EMAX Tokens for about $10,000.35
     16         81.    On May 26, 2021, Pierce received approximately 247 billion additional
     17 EMAX Tokens from a second EthereumMax deployer wallet “airdrop.”36
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     22   33
                 blockchainnews, Paul Pierce, Phil Ivey, Mr. Beast and Joe Lubin Tonight In
     23   Virtue Poker’s Awaited Celebrity Charity Poker Tournament, THE CRYPTO BASIC
          (Sept. 26, 2021), https://thecryptobasic.com/2021/09/26/paul-pierce-phil-ivey-mr-
     24   beast-and-joe-lubin-tonight-in-virtue-pokers-awaited-celebrity-charity-poker-
          tournament/.
     25   34
                 A “deployer wallet” refers to the original wallet or central interaction point
          for a token’s liquidity.
     26   35
                 https://etherscan.io/token/0x15874d65e649880c2614e7a480cb7c9a55787ff
     27   6?a=0x70f5a6ebc69087996ce5eb94b799e15994beae10.
          36
                 https://etherscan.io/address/0x7e3c20044ac242acc6340d73ab56f7a7b3054
     28   11d#tokentxns.
                                                   24
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      1         82.   That same day, Pierce promoted EthereumMax in a widely discussed
      2 post on the social media platform Twitter during an online dispute between Pierce
      3 and the television broadcasting network ESPN.37 Prior to the May 26 post, Pierce
      4 had worked for ESPN as a popular sports analyst and commentator until he was fired
      5 for an unrelated video he had previously posted to his social media account. After
      6 his firing, Pierce publicly slammed ESPN while conversely praising EthereumMax’s
      7 ability to make money for him at the same time:
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                83.   The trading volume for the EMAX Token exploded as a result of
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          Pierce’s post and the Company’s announcement that it was partnering with Defendant
     21
          Mayweather, Jr. (discussed further below). On May 26, 2021, the volume reached
     22
          $44.43 million – almost five times higher than the previous day.38 Then, on May
     23
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     25   37
               See, e.g., Jenna Lemoncelli, Paul Pierce’s ESPN revenge after firing over
     26 stripper  video, N.Y. POST (May 26, 2021), https://nypost.com/2021/05/26/paul-
        pierce-slams-espn-with-cryptocurrency-claim/.
     27 38     EMAX – EthereumMax 3 Historical Price Data, NOMICS,
        https://nomics.com/assets/emax3-ethereummax-3/history/3 (last visited Dec. 20,
     28 2022).
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      1 27, the volume more than doubled, reaching $107.7 million.39 That same day, Pierce
      2 purchased an additional 120 billion EMAX Tokens.40
      3        84.    Then on May 28, 2021, as noted above, Pierce again promoted EMAX
      4 Tokens’ price growth to his followers on Twitter, boasting about the one-day increase
      5 in the EMAX Token price of over 83%.41
      6        85.    On May 29, 2021, the very next day, Pierce enacted 118 sells, totaling
      7 approximately 8.4 trillion EMAX Tokens that were valued at around $5,500,000 at
      8 the time. Pierce then capitalized further on his successful pump of the EMAX Tokens
      9 trading volume. Pierce made 12 buys totaling 1.214 trillion EMAX Tokens, then
     10 immediately turned around and sold those 1.214 trillion EMAX Tokens plus an
     11 additional 680 billion EMAX Tokens (i.e., 1.89 trillion EMAX Tokens in total).42
     12        86.    From May 30, 2021 to June 2, 2021, Pierce amassed another 2.5 Trillion
     13 EMAX Tokens through numerous buys and sells.43
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               Id.
     24   40
               https://etherscan.io/token/0x15874d65e649880c2614e7a480cb7c9a55787ff
     25   6?a=0x70f5a6ebc69087996ce5eb94b799e15994beae10.
          41
               See n.31, supra.
     26   42
               https://etherscan.io/token/0x15874d65e649880c2614e7a480cb7c9a55787ff
     27   6?a=0x70f5a6ebc69087996ce5eb94b799e15994beae10.
          43
               https://etherscan.io/token/0x15874d65e649880c2614e7a480cb7c9a55787ff
     28   6?a=0x70f5a6ebc69087996ce5eb94b799e15994beae10.
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      1        87.   On May 30, 2021, Pierce posted the following tweet44, promoting
      2 Ethereum Max:
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      9        88.   Three days after falsely telling investors he was in it “for the long haul”
     10 with EthereumMax, Pierce sold approximately 9.7 trillion EMAX Tokens worth
     11 approximately $1,300,000.45
     12        89.   On June 6, 202 (i.e. the day of the Mayweather-Logan fight), around
     13 97.4 billion EMAX Tokens were transferred to Pierce’s wallet. That same day, Pierce
     14 promoted EthereumMax to investors, falsely stating that he was going to “double
     15 down” on Ethereum Max.46 Two days later, Pierce sold over 98% of those 97.4
     16 billion EMAX Tokens.
     17        90.
                     On July 13, 2021 (i.e., the day that Kardashian promoted EMAX Tokens
     18 to her 250 million followers on Instagram), Pierce traded EMAX Tokens, selling off
     19 approximately 1.17 trillion EMAX Tokens.47 Similarly, around that same time
     20 frame, Pierce received over 462 billion EMAX Tokens from wallet address
     21
     22   44
                 Paul Pierce (@paulpierce34), TWITTER (May 30, 2021, 7:41 AM),
     23   https://twitter.com/paulpierce34/status/1399013195151417345?s=20&t=qpvEL-
          yI0O2jszrSIxCfcA.
     24   45
                 https://etherscan.io/token/0x15874d65e649880c2614e7a480cb7c9a55787ff
          6?a=0x70f5a6ebc69087996ce5eb94b799e15994beae10.
     25   46
                 Paul Pierce (@paulpierce34), TWITTER (June 5, 2021, 10:40 PM),
     26   https://twitter.com/paulpierce34/status/1401413650691280899?s=20&t=Sr
          B147wN07nQ8YSjpC6-PA.
     27   47
                 https://etherscan.io/token/0x15874d65e649880c2614e7a480cb7c9a55787ff
          6?a=0x70f5a6ebc69087996ce5eb94b799e15994beae10.
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      1 0x2671663ff57fdb0ee8a8613286802ae4d1c72428, which, upon information and
      2 belief, is controlled and/or operated by the Executive Defendants.48
      3         91.    Pierce had access to material, non-public information about the timing
      4 of various celebrity promotions of the EMAX Tokens (including his own), and
      5 improperly used that information to perfectly time his trades of EMAX Tokens to
      6 maximize his ill-gotten profits.
      7         92.    These complicated transactions demonstrate a pattern by which Pierce
      8 and other promotors, including the Promoter Defendants, are given tokens as a
      9 payment for promotions, they go out and post about the tokens on social media, then
     10 turn around and sell the tokens for profit as retail investors buy in. The entire purpose
     11 of this paid promotion is for pumping and dumping the tokens based on the value
     12 created by the Promoter Defendants’ direct action. Furthermore, the complexity of
     13 these financial transactions and movements between wallet address demonstrates that
     14 the Promoter Defendants understand how to both time and execute their selling
     15 strategy.
     16         93.    Pierce was not alone with his insider trading. His friend and business
     17 associate Rechnitz was another prime culprit for this portion of the scheme. Upon
     18 information and belief, Rechnitz engaged in various forms of frontrunning his
     19 transactions with EMAX Tokens based on material, non-public information in his
     20 possession. Given Rechnitz’s intimate connection to Mayweather and his being
     21 authorized by Mayweather to conduct business on Mayweather’s behalf, Mayweather
     22 had actual knowledge Rechnitz’s insider trading scheme. Upon information and
     23 belief, Mayweather received a cut of the money that Rechnitz generated from
     24 improperly frontrunning the celebrity promotions of EMAX Tokens.
     25         94.    Confidential Witness #1 (CW1) is a former social acquaintance of
     26 Defendants Rechnitz and Mayweather, having first met Rechnitz in 2017 and
     27
          48
     28        https://etherscan.io/tx/0x0c4825fcb332f9d791980b9b95903f94331c011
          3a516c9b95c91e0cf18dffa0d.
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      1 Mayweather in 2019. CW1 lived near Rechnitz and frequently socialized with him
      2 and those in the Rechnitz orbit. Over the years, CW1 also had conducted or explored
      3 business dealings with Defendants Kardashian and Mayweather.
      4         95.   Beginning in May 2021, Defendant Rechnitz proposed that CW1 “get in
      5 on” the EthereumMax scam. Defendant Rechnitz told CW1 at least ten times that he
      6 had a connection to a “garbage crypto” that would pay Defendant Mayweather to
      7 advertise on his boxing shorts during the June 6 exhibition match. In addition to
      8 Mayweather, Rechnitz told CW1 that he and the Company were going to have
      9 Defendants Pierce and Kardashian to solicit EthereumMax sales.
     10         96.   Defendant Rechnitz confirmed to CW1 that EthereumMax was a scam
     11 and that his celebrity promoter cohorts were aware that they were shilling the dubious
     12 EMAX Tokens for his (and their collective) benefit. CW1 inquired as to why the
     13 celebrity promotors would engage with these solicitations, Rechnitz revealed that the
     14 Executive Defendants give the Promotor Defendants millions of tokens. Rechnitz
     15 further disclosed that he knew exactly when these promotions would occur and used
     16 this knowledge to front run the posts and sell tokens into the market in the aftermath.
     17 According to CW1, Defendant Rechnitz was constantly in touch with the Promotor
     18 Defendants, including Defendant Kardashian, who Rechnitz would speak with at
     19 least every few days.
     20         97.   On one occasion taking place on or around the same time as Pierce’s
     21 promotions, Rechnitz again tried to convince CW1 to get in on the scheme to front
     22 run investors. Because CW1 was not crypto-savvy, Rechnitz once pulled out his
     23 phone and demonstrated how he made trades on his trading app immediately
     24 following a celebrity promotion. As Rechnitz was demonstrating his illicit trading
     25 strategy, CW1 observed Rechnitz jump out of his seat, point his fingers in the air and
     26 proclaim that it was “so easy.” CW1 then saw Rechnitz dancing in a circle and
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      1 chanting “pump and dump . . . pump and dump” in an apparent victory dance for a
      2 successfully capitalizing on his inside information regarding Pierce’s promotions.
      3         98.   According to transactions from the Ethereum blockchain, starting on
      4 May 19, 2021, the wallet address 0x1439caa755c82c300b9fc2cd86c9a9b2565606fd
      5 (which was identified by Defendant Maher as being owned by Rechnitz) (the
      6 “Rechnitz Wallet”) began receiving trillions of EMAX tokens for free and then
      7 transferring them to various pass-through wallets. On May 26, 2021, Rechnitz
      8 received 25 billion tokens from the Deployer wallet. The Rechnitz Wallet also made
      9 several purchases of EMAX to accumulate tokens in order to better front run the
     10 celebrity endorsements.
     11         99.   After the Pierce promotions began on May 26, the Rechnitz Wallet
     12 undertook a series of transactions swapping EMAX tokens into the much more liquid
     13 token Eth (Ethereum). On May 27, 2021, for example, in a series of five transactions,
     14 the Rechnitz wallet swapped over 1.4 trillion EMAX tokens into over 81 Eth.
     15 Rechnitz then swapped this eth into tether, a stablecoin pegged to the United States
     16 Dollar. On May 28, 2021 the Rechnitz Wallets transferred billions of EMAX tokens
     17 to a “dgroot.eth” wallet address, likely in exchange for the promotional efforts of
     18 Groot Hospitality and/or Dave Grutman. Also on May 28 th, the Rechnitz Wallet
     19 makes several swaps of EMAX tokens into hundreds of thousands of dollars' worth
     20 of eth and tether. The various wallets that received token transfers directly from the
     21 Rechnitz wallet display the similar behavior of swapping EMAX tokens into eth and
     22 tether in conjunction with the celebrity endorsements.
     23         100. These EMAX Token transactions in the Rechnitz Wallet line up within
     24 the same timeframe that Rechnitz engaged in a live “pump and dump” after the price
     25 of EMAX Tokens increased due to Pierce’s promotions in order to convince CW1 to
     26 join in the conspiracy to engaging in unlawful insider trading.
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      1        101. According to CW1, besides Mayweather, Rechnitz is also a close
      2 personal friend of Defendant Pierce. Defendant Rechnitz would even bring Pierce to
      3 CW1’s house to sign basketballs and shoot hoops with members of CW1’s family.
      4        102. Defendant Pierce, in turn, is also close friends with Defendant
      5 Mayweather. Pierce attended the EthereumMax-connected June 6 Mayweather bout
      6 and sat with Mayweather in the locker room prior to the fight.49 Pierce also attended
      7 the pre-fight media scrum leading up to the fight.50
      8        103. According to CW1, Rechnitz was also in the locker room with
      9 Mayweather and Pierce before the EthereumMax-promoted June 6 exhibition.
     10 Notably, Defendant Russell Davis also bragged of meeting with Mayweather prior to
     11 the match.
     12        104. Pierce and Mayweather are also tied to Rechnitz through celebrity
     13 Jeweler Peter Marco. Marco is a jeweler connected to Pierce and who counted
     14 Mayweather as his biggest client.51      Marco alleged in a lawsuit that Rechnitz
     15 scammed him through jewelry company Jadelle, after he was impressed with
     16 Rechnitz’s celebrity connections like Defendant Kardashian.          Rechnitz even
     17 introduced Marco to Defendant Mayweather. Id.
     18        105. Defendant Rechnitz is currently under investigation by federal
     19 authorities in this District. In connection with his New York case, the Government
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          49
               Viral Star Videos, Floyd Mayweather a& Paul Pierce in the Locker Room
     21 Before the Fight, YOUTUBE (June 7, 2021), https://www.youtube.com/shorts/
        qHK6B8E8x-0.
     22 50
               Sipa USA, Former NBA player Paul Pierce attends media availability ahead
     23 of the June 6th exhibition boxing match between Floyd Mayweather and Logan Paul
        on June 03, 2021 at Villa Casa Casuarina at the former Versace Mansion in Miami
     24 Beach, Florida, (June 3, 2021), https://www.alamy.com/former-nba-player-paul-
        pierce-attends-media-availability-ahead-of-the-june-6th-exhibition-boxing-match-
     25 between-floyd-mayweather-and-logan-paul-on-june-03-2021-at-villa-casa-
        casuarina-at-the-former-versace-mansion-in-miami-beach-florida-photo-by-jlsipa-
     26 usa-image430892482.html.
        51
               Sha Be Allah, Floyd Mayweather is ‘Smart and on Top of His Brand’ Says
     27 His Jeweler Peter Marco, THE SOURCE (Sept. 18, 2018), https://thesource.com/
        2018/09/18/floyd-mayweather-is-smart-and-on-top-of-his-brand-says-his-jeweler-
     28 peter-marco/.
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      1 submitted ex parte and sealed correspondence concerning an ongoing investigation
      2 by the Federal Bureau of Investigation in Los Angeles and the U.S. Attorney’s Office
      3 for the Central District of California for conduct unrelated to Rechnitz’s prosecution
      4 or cooperation in the Southern District of New York.52
      5         106. Upon information and belief, all of the Promoter Defendants received
      6 similar payments funneled by Defendant Rechnitz, including disbursements of tokens
      7 from the EthereumMax deployer wallet and/or marketing wallet or for other
      8 consideration, and cashed out shortly after engaging in their respective promotional
      9 activities in a similar manner to Pierce. At the same time, Rechnitz, Mayweather,
     10 and Perone separately entered into a conspiracy to engage in insider trading of EMAX
     11 Tokens that was correlated with the dates and times of the celebrity promotional
     12 activities alleged herein.
     13         107. This is also why Defendants Rechnitz and Maher were a vital part of the
     14 Executive Defendants’ plan for marketing the EMAX Tokens. Rechnitz has direct,
     15 longstanding personal and business relationships with Promoter Defendants
     16 Mayweather, Kardashian, and Pierce.
     17         108. Maher has direct, familial ties to Promotor Defendant Davis. For
     18 example, Maher has a personal relationship with Russ Davis, who is his brother-in-
     19 law and business associate. According to Maher, he brought the EthereumMax
     20 project to Davis specifically to leverage Davis’ cryptocurrency-investing followers
     21 on social media.
     22         109. On or around May 16, 2021, Maher removed $10,000 from the EMAX
     23 Token liquidity pool to pay cryptocurrency influencer and promotor Russ Davis and
     24 professional football player Antonio Brown to promote EthereumMax.
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     28   52
                USA v. Rechnitz, 1:16-cr-00389 (S.D.N.Y.) (ECF No. 151).
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      1         110. Davis reposted the following promotion from the EthereumMax official
      2 Twitter account to his own personal “InRussWeTrustCrypto” account:53
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     11         111. Notably, according to Maher, the development team had “messed up”
     12 both the initial launch and the liquidity pool, leaving Maher and other insiders with a
     13 huge percentage of the available Float.          Moreover, the liquidity pool was
     14 underfunded. Thus, small amounts of trading volume had a disproportionately large
     15 impact on the EMAX Tokens’ price.
     16         112. That same day, Speer promoted the EMAX Tokens in a video he posted
     17 to his personal YouTube channel, wherein Speer advised retail investors “[h]ow to
     18 buy EthereumMax.”54 Notably, Speer told retail investors about “a coin that just
     19 launched about 48 hours ago and it is taking off.” Speer added that the EMAX
     20 Tokens price has “tons of room to go” and that the EthereumMax leadership team
     21 and insiders consisted of “lots of same hype and people behind it as Shiba.” Speer
     22 further compared EMAX Tokens’ potential to the massive surge in price that
     23 occurred with the Shiba Inu coin, claiming that the EMAX Token price was “only
     24 going up long term.”55
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          53
               EthereumMax (@ethereum_max), TWITTER (May 16, 2021, 10:41 AM),
     26 https://twitter.com/ethereum_max/status/1393984963616419842.
        54
     27        Mike Speer, How to buy EthereumMax, YOUTUBE (May 16, 2021),
        https://www.youtube.com/watch?v=bi6ZeRzC-QQ.
     28 55     Id.
                                               33
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      1        113. Throughout the video, Speer attempted to disclaim inside knowledge of
      2 the EMAX Token by stating he was not a “crypto expert” in an effort to mislead retail
      3 investors into believing that Speer simply stumbled onto the EMAX Token
      4 accidentally instead of him being an EthereumMax founder and/or insider. For
      5 example, Speer states that the EthereumMax website is “vague” and that “they” did
      6 not yet have a whitepaper in a misleading attempt to distance himself from the
      7 EthereumMax leadership team.
      8        114. In the caption to Speer’s video, he explains the following 18 steps that
      9 retail investors need to take to purchase the EMAX Tokens:56
     10        Step 1: Purchase your ETH on whatever exchange you use.
     11        Step 2: Transfer to Coinbase Wallet.
     12        Step 3: Go to https://app.uniswap.org/#/swap
     13        Step 4: Click add token to transfer to from ETH. Paste in this address:
     14        0x15874d65e649880c2614e7a480cb7c9A55787FF6.
     15        Step 5: Think long and hard, can you risk this money and still pay your
     16        bills? It’s a serious question. It’s ok if the answer is no. Please do not
     17        proceed.
     18        Step 6: Can you leave this money in eMax for a couple of months?
     19        If yes, proceed below. If the answer is no, the reason why you
     20        shouldn’t buy is because you will be part of the reason for a price
     21        drop if you sell. This coin is only a couple of days old as of May
     22        16th. Holders help the price stabilize. Paper hands drive price
     23        down
     24        Step 7: Click connect to wallet and click Coinbase
     25        Step 8: Select ETH to eMax – Select the amount you want to transfer
     26
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     28   56
               Id.
                                                  34
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      1         Step 9: Click the gear in the top right, change slippage to 10%, close
      2         gear
      3         Step 10: Make sure you have extra ETH outside of the amount you are
      4         using to purchase for the fees.
      5         Step 11: Press swap + confirm / accept etc.
      6         Step 12: There won’t be any dollar value in your CB Wallet because
      7         it’s new
      8         Step 13: Go to the App Store and download Zerion
      9         Step 14: Go to your CB Wallet click receive and get your ETH address
     10         Step 15: Go back to Zerion and click import wallet
     11         Step 16: Paste your ETH address
     12         Step 17: Wait a few minutes and it will populate the dollar amount.
     13         Step 18: Enjoy and HODL
     14         115. As the above instructions indicate, Speer’s instructions to retail investors
     15 state that EMAX Token holders should be prepared to “leave this money in eMax for
     16 a couple of months,” suggesting that the EMAX Tokens were a long-term investment
     17 because “[h]olders help the price stabilize. Paper hands57 drive price down.”
     18         116. The promotion from Davis and Speer kick-started the interest in and
     19 buying of EMAX Tokens. In fact, Maher used the large spikes in price chart (actually
     20 caused by the low liquidity pool funding) to promote EMAX Tokens’ potential for
     21 significant returns to investors (see supra 67-69).
     22         117. Shortly after his promotion, Davis began selling off his EMAX Tokens,
     23 causing the price of the tokens to plummet until Maher was able to reach a deal with
     24 Davis to lock up some of the massive EMAX Token holdings.
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               Having “paper hands” is a term used in cryptocurrency trading that refers to
          someone that sells at the first sign of a price drop.
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      1        118. Upon information and belief, the following wallet addresses are
      2 owned/controlled by Davis and were used to conceal his transactions (i.e., timing of
      3 sales) with EMAX Tokens:
      4              •      0xe3FA73f404EA11C9Ce3DCA4B474cD99D6283134C
      5              •      0xd0AEE2df438Ccea32194dACFf330083B04277D71
      6              •      0x74dEc05E5b894b0EfEc69Cdf6316971802A2F9a1
      7              •      0x663f4bf1816d771415fffa86aabc1ee273b92055
      8              •      0xfEd37836fE065496c608E32073D0E759F96989b3
      9              •      0xfb34b53aa6a5840ae740b9818db34b854818de85
     10              •      0x9b1fbe51576d00d1f3a484d9c3c5c52a09866f78
     11              •      0xacd3f3835a3dd7865560953eb745d5f8dba6ce33
     12              •      0x037a7c7c8bAAbBd64aC735F505deF3423528dbA5
     13              •      0x5e47AAE49eAA9D176E3c09b6bc0844BdfBBa27e0
     14              •      0x027A16926de9f38523a71d19d6998923085Dc093
     15              •      0xeB3E690C8ee0299B18Fa40B9B21F54c690b00a7b
     16              •      0x05e45ebBFD62b5E448e0073ABFB4a956FE13f4d1
     17              •      0xE7494f0D06142c70eF1382bb4F5629bA3B377FCd
     18              •      0x35278BF7f391285818F9092c860D698010802f7D
     19              •      0xbcac50256345775e4bbff526b247b3d68a0f10ca
     20              •      0xe277f115a3758e802e40869545646f8142be00ca
     21              •      0x0eb5101719662a00bf4c22e03374a7ffd11f4092
     22              •      0x45f433ae7553900d7ae7af8a1b0d35c3eb7ece46
     23              •      0xce3e48caeb5d0e9124b2b1dcab8b47818fcedc7
     24              •      0x47bA7f557a361A12BB1b28DA1Fb3323dc7C942f4
     25              •      0xd7292AA5924D4f536B9E996cB7FC4bE21b6c3357
     26              •      0xDF6300635c490408C393c1DAdBE7Ba8e88cdBb8B
     27              •      0xBa299a1FE0Da7B443Bf444FDCd0C2a5F2506D2B1
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      1              •     0x77Dc423692480979DFdC904278D3d0ec0474782d
      2              •     0xfF773b585638D599C64d8ac02e73D12bd9807C30
      3              •     0x97758D2C5533663042D72d5389Ef4Bb5c89EAe60
      4              •     0xe3254c36fEedF4211D405718702a0389f5871c85
      5              •     0x1C58CE90Fa5A610649Ab172000F41b909A9Efc83
      6              •     0x761493a52595F7016493b4a7515180d504CdF28f
      7              •     0x1711bc52bf7e0494325799717fe640F1924617B7
      8              •     0x53061173fbf4CD5886b01d1c68DA266A9B479E1b
      9              •     0x4e28ab721c1C3180A82B6a758C081f9Cc4CDd702
     10              •     0x233834E733EFf003598e8B6eD1082C984a1E8D53
     11              •     0x967f1dC29158486eBE771942e094C41B0AD7F57d
     12              •     0x1C473aFE50E060AD872Fb1a209C6b2F257Bdbd5B
     13              •     0x4a302Af80dc286714fE22db4855B5024317449eB
     14              •     0x7fFA930D3F4774a0ba1d1fBB5b26000BBb90cA70
     15              •     0x2930662Fa96cA799C9913264B83E227C7f828105
     16              •     0xbe3167f8687d0f6b81a053f938ae335333eeb549
     17              •     0x1e7a2e2bbea1362d49c06951f3265d9d6bc90386
     18              •     0x64fba1c5e31d8f7ee0194f67ed9c5fed1a17b241
     19              •     0xe477aE0b50f2985592BDc1e5aC91f59c93111955
     20              •     0xacD3f3835A3dd7865560953eb745d5F8dbA6CE33
     21              •     0x74dEc05E5b894b0EfEc69Cdf6316971802A2F9a1
     22              •     0x69c97ceb87f0b121d92a3aa57bf7845d2dda4e3e
     23        119. On May 19, 2021, the Executive Defendants posted a message to
     24 investors on the EthereumMax Instagram account, with a caption that stated:
     25 “Accepted at top global exchanges     Roadmap and White Paper coming         Hired
     26 marketing agency      Influencer campaign initiated   Real-world applications . . .
     27      #disrupthistory $eMax #TellYourGrandma.” The message itself stated:
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                                               37
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      1               To the eMax community,
      2               As we quickly approach our first full week of being live, we as a
               team could not be prouder to see the rapid growth and expansion of not
      3        only the token itself, but the strong community that eMax has built.
               We’ve just weathered one of the biggest crypto drops in history, better
      4        than any other token. Consumers are now looking beyond products and
               services. They want benefits, and $eMax holders have seen the impact
      5        of a 2% benefit. We’ve broken down barriers, soared past goals, and
               have achieved  more than expected from any other new crypto currency
      6        out there.58
      7        120. On May 21, 2021, Speer uploaded another video to his YouTube
      8 channel promoting EthereumMax generally and specifically providing investors with
      9 instructions on how to purchase EMAX Tokens.59 Again, Speer did not reveal to
     10 investors that he was a part of the EthereumMax leadership team.
     11        121. Two days later, on May 23, 2021, Speer uploaded an audio recording
     12 from Perone to Speer’s YouTube channel,60 wherein Perone states that
     13 EthereumMax’s use of “high level” brand ambassadors and promotors “legitimized”
     14 the project. Perone also touted the “technological upgrades” that were on the way for
     15 the EthereumMax project. Perone repeatedly proclaimed that he will be meeting
     16 retail investors “on the moon” when the price of EMAX Tokens rises after the
     17 marketing campaign created by the Executive Defendants and executed by the
     18 Promotor Defendants was successful.
     19        122. According to Maher, the Executive Defendants were “wildly connected”
     20 and understood the impact that celebrity promotion and marketing could have on the
     21 price and trading volume of the EMAX Tokens. Upon information and belief, the
     22 Executive Defendants leveraged their respective contacts to recruit additional
     23 celebrities to promote the EMAX Tokens in exchange for a portion of the Float.
     24
          58
               EthereumMax (@ethereummax), INSTAGRAM (May 19, 2021), https://www.
     25 instagram.com/p/CPE3yvtsQNo/.
        59
     26        Mike Speer, Buying Ethereum Max? Gas Fees? Buying The Dip? WTF,
        YOUTUBE (May 21, 2021), https://www.youtube.com/watch?v=3CZv0FFn7S8.
     27 60     Mike Speer, EthereumMax – MAYWEATHER v. PAUL – “Culture Coin”
        Announcement, YOUTUBE (May 23, 2021), https://www.youtube.com/watch?
     28 v=HMbWVXUWB5I.
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      1        123. For example, early on Defendants Maher, Perone, and Davis worked
      2 with Rechnitz to recruit world champion boxer, Floyd Mayweather, Jr. as
      3 EthereumMax’s “marquee” promotor for a fee of $1,000,000 as his “first down
      4 payment” and then $1,500,000 as a second payment. Notably, “everything that was
      5 sent to Mayweather was in Ethereum and cashed out immediately.”61 According to
      6 Maher, Mayweather’s representatives refused payment in EMAX Tokens and instead
      7 received payment in Ethereum, which has significantly more price stability. In order
      8 to raise the Ethereum needed for Mayweather’s payment, Maher and Davis sought
      9 out large holders of Ethereum and offered them a “sweetheart” deal relative to the
     10 amount of Ethereum needed for celebrity promotion payments. For example, in
     11 exchange for providing $500,000 worth of Ethereum, they would give the Ethereum
     12 provider $2,000,000 of EMAX Tokens. As Maher observed, however, most often,
     13 the Ethereum provider would then immediately sell the $2,000,000 in EMAX Tokens
     14 on the open market. This tremendous downward selling pressure caused the price of
     15 the EMAX Tokens to drop.            Defendant Davis later clarified during his
     16 InRussWeTrust podcast on April 30, 2022, that Mayweather was not paid in
     17 Ethereum or cash, but rather he was actually paid in EMAX Tokens for promoting
     18 EthereumMax. Davis in particular stated that Mayweather “should have sold [his
     19 EMAX Token promotional fee] and that’s exactly what he did.” Davis claimed to
     20 have warned Perone and others that paying celebrity promoters in the EMAX Token
     21 would cause downward selling pressure.62
     22        124. On May 26, 2021, at the same time Pierce was promoting EMAX
     23 Tokens as paying him more than ESPN, EthereumMax issued a press release
     24
     25
          61
               NeverHedge – Crypto, NFTs, Sports Betting, Stocks, Emax Talk with Justin
        Ep. 02: Hard Fork Rundown: Mayweather Fight Updates: Hodler (sic) Questions
     26 Answered, YOUTUBE (May 26, 2021), https://www.youtube.com/watch?
        app=desktop&v=bPT0Tnmt63A&feature=youtu.be&fbclid=IwAR2w8sHjsGnrXL
     27 6G9N8Nc0hWAyjn2w3mmSOOTnoWZCnYyERZrSM_k9Q9En8.
        62
               Emax Holder, RussPodcastsCompilation, YOUTUBE (Nov. 11, 2022),
     28 https://www.youtube.com/watch?v=gwrmpNHHVfw.
                                             39
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      1 announcing that it was “now the exclusive CryptoCurrency accepted for online ticket
      2 purchasing for the highly anticipated Floyd Mayweather vs. Logan Paul Pay-Per-
      3 View event, June 6, 2021 in Miami Gardens, Florida.”63 The press release directed
      4 investors seeking “more information” to visit the Company’s social media accounts
      5 and the “Fight Website” with the following hyperlink: https://mayweatherpaultickets.
      6 com/.
      7         125. The Fight Website featured Mayweather and offered various incentives
      8 for those purchasing online tickets with EMAX Tokens, including: “Orders over
      9 $5000 will receive authentic, signed Floyd Mayweather boxing gloves”; “2 front row
     10 ringside tickets available exclusively for EthereumMax purchase”; “All
     11 EthereumMax purchases receive 10% discount at checkout”; and “Tickets purchased
     12 with EthereumMax automatically entered into a lottery drawing to attend the official
     13 Mayweather after-party at a private table at LIV.”64
     14         126. On May 28, 2021, EthereumMax released a press release out of Los
     15 Angeles entitled: “EthereumMax ($eMax) Disrupts Miami Ahead of Mayweather vs.
     16 Paul Fight as the First Crypto Currency of Major Nightclubs LIV and Story” (the
     17 “5/28/21 Press Release”). The 5/28/21 Press Release stated: “The upcoming boxing
     18 match is the single largest sporting event in history to accept cryptocurrency as
     19 payment, making it a huge move for the practical use of $eMax.” The 5/28/21 Press
     20 Release touted the EMAX Token as the “fastest-growing Altcoin on the market,”
     21 bragging that the EMAX Token price “is up over 21,000% with over 32,000 holders
     22 since its launch on May 14, 2021.” The 5/28/21 Press Release further claimed that
     23 the EMAX Token “has been gaining massive moment [sic] and popularity,” and
     24 quoting Defendant Pierce’s tweet verbatim as an example of this popularity. Finally,
     25
     26   63
               Press Release, PR NEWSWIRE, Huge Milestone for Practical Use of $eMax
     27 (May   26, 2021), https://www.prnewswire.com/news-releases/huge-milestone-for-
        practical-use-of-emax-301300421.html.
     28 64     Fight Website, https://mayweatherpaultickets.com/.
                                               40
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      1 the 5/28/21 Press Release announced that the partnership with Groot Hospitality
      2 would “bring eMAX and Cryptocurrency to Miami Nightlife & Entertainment. This
      3 is the first of many opportunities where we see EthereumMax as a reliable payment
      4 method for real-life usage.”65
      5        127. On or about May 29, 2021, Defendant Antonio Brown promoted
      6 EthereumMax in the following now-deleted “story” post on his personal Instagram
      7 account:
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     18        128. On May 30, 2021, Defendant Kimberly Kardashian and nightclub
     19 promotor and hotelier David Grutman promoted EthereumMax on their respective
     20 social media accounts. For example, Kardashian’s promotion of the EMAX Tokens
     21 to her hundreds of millions of followers also did double duty of promoting the
     22 nightclub “Club LIV” which is partly owned by Grutman (also a longtime friend and
     23 associate of Kardashian):
     24
     25
     26   65
                Press Release, PR NEWSWIRE, EthereumMax ($eMax) Disrupts Miami Ahead
        of Mayweather vs. Paul Fight as the First Crypto Currency of Major Nightclubs LIV
     27 and Story (May 28, 2021), https://www.prnewswire.com/news-releases/
        ethereummax-emax-disrupts-miami-ahead-of-mayweather-vs-paul-fight-as-the-
     28 first-crypto-currency-of-major-nightclubs-liv-and-story-301301958.html.
                                                41
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     14        129. Following the aforementioned promotions from Brown and Kardashian,
     15 and the announcement of the partnership with Mayweather, the trading volume for
     16 EMAX Tokens spiked. In particular, the volume went from $25 million on May 27,
     17 2021 to $80.9 million on May 28 after the Mayweather announcement. Then it
     18 jumped to $112.5 million following Brown’s post.           Kardashian’s promotion
     19 generated another $75.5 million in EMAX Token trading volume on May 30, 2021
     20 before dropping precipitously.66
     21        130. On June 1, 2021, Mather left the EthereumMax project with about $4.1
     22 million worth of EMAX Tokens, of which he subsequently sold off approximately
     23 98%. No later than July 22, 2021, Maher was confronted about his selling activities
     24 with EMAX Tokens. In particular, in the comments section of one of Davis’s
     25 Facebook posts, an investor posted a wallet address speculated to belong to Maher,
     26 which showed suspicious selling activity. Maher bragged about his ability to conceal
     27
     28   66
               See n.26, supra.
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      1 his financial movements and mocked the investor who tried to identify Maher’s
      2 wallet address: “haha yeah unfortunately that’s not one of my secret wallets. Good
      3 try though sleuth. I cleaned all the money I shifted through exchanges first. You’d
      4 never be able to track it to what wallets I sent it to. Good try though.”67
      5        131. On June 3, 2021, the Executive Defendants posted the following
      6 statement on the EthereumMax Instagram account,68 which, upon information and
      7 belief, was released in response to Defendant Maher’s selling activities:
      8               eMax Community,
      9               We are fully aware of the drastic price fluctuation that took place
               with eMax on June 3rd, 2021 and wanted to address this matter with
     10        the community head-on. First and foremost, we are here for the long
               haul, we are committed to our community, committed to our growth
     11        plans, and that is not changing. This is not a short-term project and
               there is no single moment, dip, or increase that will derail
     12        EthereumMax from fulfilling our vision and strategic efforts to create
               a powerful movement and fill a void for a new/improved category that
     13        is long overdue within the cryptocurrency space.
     14               Last night we released our multi-phase roadmap with excitement
               and passion, sharing our future plans to expand our community and
     15        significantly enhance the benefits of the eMax token. Today, we had a
               very upfront and honest conversation with David Grutman, and
     16        unfortunately, due to time constraints and the technical complexity
               behind being able to seamlessly process crypto payments, the venues
     17        have determined they do not have the immediate ability to accept
               $eMax as a payment option this weekend. Therefore, we collectively
     18        decided that it made sense for Groot Hospitality, EthereumMax, and
               the eMax community, to not force the roll-out process of accepting
     19        eMax for payment and run the risk of a bigger dilemma this week in
               Miami, potentially making for an unpleasant user experience for eMax
     20        holders. We want to stress that this decision did not result in
               EthereumMax ending a business relationship with David Grutman or
     21        the Groot Hospitality team, but rather we’re aligned about being smart
               about future partnerships. We’re looking forward to continuing this
     22        conversation and confident a collaboration is in our near future. It’s
               true that in nightlife grand openings are everything, and with that truth,
     23        we have one change to make a good first impression and that’s what
               we’ll do.
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     26        See JusticeForCrypto, InRussWeTrust Fully Exposed within the Crypto Space,
        YOUTUBE, at 7:17-24 (July 25, 2021), https://www.youtube.com/watch?v=iyDeOf
     27 ZnOaY.
        68
               EthereumMax (@ethereummax), INSTAGRAM (June 3, 2021), https://www.
     28 instagram.com/p/CPrUCO5szYi/?igshid=YzdkMWQ2MWU.
                                              43
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      1                As some people have noticed, of late, there are a handful of larger
                wallets that have been selling and taking a profit. When that news from
      2         David Grutman was released, several of these large wallets, who were
                early investors and not part of the development team, began to sell in
      3         panic. As with almost anything, people started to copy their actions and
                the price of eMax continued to drop (about 60%). Since the time of this
      4         release, eMax has recovered amazingly well and has continued to
                regain value.
      5
                       To be fully transparent with our community, we’ve almost been
      6         living in our own world these past few weeks and going at Mach 5
                speed. In just twenty days, eMax has taken over our lives and has been
      7         such a huge part of so many others. As a community, we could not
                have dreamed of this speed of growth. The truth is – eMax is still very
      8         young and very small, but with these young beginnings, we have only
                scratched the surface of our true potential. Even though we’ve been the
      9         fastest growing cryptocurrency, with over 75,000 holders in less than 3
                weeks, people speak about eMax as if the token has been around for
     10         months or even years, and that in and of itself is exciting.
     11                Right now, EthereumMax is ecstatic to be heading to Miami this
                weekend to take part in the largest sporting event to ever accept
     12         cryptocurrency as payment and they’re exclusively accepting $eMax
                (the flow of that payment process is already finalized and active). In
     13         just 3 weeks we’ve accomplished milestones that no other crypto has
                every done, to this scale or at this speed – and we will continue to set
     14         the bar higher for ourselves.
     15                 This is Chapter 1. Chapter 1 of a story, written in real-time, that
                has us on a path to shatter records and bring cryptocurrency into walks
     16         of life we have yet seen or even imagined.
     17               75,000 holders know eMax today. On Sunday, June 6th, millions
                and millions of people from across the world find out who eMax is.
     18         Then, the next chapter begins and the story only continues to grow.
     19               This journey has just begun and our future has never been
                brighter.
     20
                132. The price of EMAX Tokens dropped sharply on the news that EMAX
     21
          Tokens would not be available for payment at Club LIV as promised. In response,
     22
          the Executive Defendants sent Maher and Davis out to do some damage control.
     23
          Maher posted the following message to the InRussWeTrust Facebook group: “Trust
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          me I know it’s tough to watch your account plummet in a matter of minutes. Here’s
     25
          my wallet. I was down to $400k at one point today. I didn’t sell a penny. In fact I
     26
          dumped $25k at the bottom. You can’t let one bad news piece trash your long term
     27
          goals.” Maher counseled investors: “Put your emotions aside. So what, they don’t
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      1 have Emax being used to LIV Bottle service. Who gives a fuck. Name a single crypto
      2 that you can pay your bar tab with? The Emax team is trying to make radical moves.
      3 If you can’t stomach that then don’t play the game. #EthereumMax.” Similarly,
      4 Defendant Davis also attempted to ease investor concerns and solicit new purchases
      5 on June 3, 2021.       He posted the following message on the “InRussWeTrust”
      6 Facebook group: “Well I’m sure everyone sees Emax plummeting. The reason
      7 behind it is because the credit card processor did not know how to program to accept
      8 a cryptocurrency on a credit card machine for Liv nightclub after party. This has
      9 nothing to do with the coin. I think it is a rock bottom right now which is why I’m
     10 posting. If anybody wants emax for 90% off. Now is the time!! This is a Solid
     11 BUYING OPPORTUNITY in my mind!!”
     12         133. On June 4, 2021, former world champion boxer, Mayweather, Jr.,
     13 attended the “Bitcoin 2021” conference in Miami. While there, instead of discussing
     14 the cryptocurrency that was the focus of the conference (i.e., Bitcoin), Mayweather
     15 promoted EthereumMax. In particular, Mayweather and his entourage wore t-shirts
     16 with EthereumMax emblazoned across the chest. The following are images of
     17 Mayweather being interviewed by Fox Business at the Bitcoin 2021 event, which
     18 described it as the “largest cryptocurrencies event ever to be held on the planet”:69
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              Floyd Mayweather raves about crypto: ‘It’s the new wave,’ FOX BUSINESS
     28 (June 4, 2021), https://video.foxbusiness.com/v/6257455680001#sp=show-clips.
                                                 45
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     17        134. The same day, Defendant Maher posted this interview on the
     18 EthereumMax Facebook page and Instagram social media accounts.70 Maher also
     19 posted this interview on the InRussWeTrust Facebook group. In the introduction to
     20 the video, the reporter observed that the attendees at the Bitcoin 2021 event “were
     21 attracted here because of a lot of prime-time stars and that does include Floyd
     22 Mayweather.” During the interview itself, Mayweather, with the EthereumMax
     23 name and logo prominently displayed on the front of his shirt, stated that
     24 cryptocurrency investing is “the new wave.” Mayweather then described how he first
     25 made his money through boxing and then with real estate. After recounting his
     26 previous success at making money, Mayweather reemphasized that investing in
     27 cryptocurrency was the next big thing.
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      1         135. Mayweather later proclaimed during a panel discussion at the Bitcoin
      2 2021 event: “I believe there’s gonna be another cryptocurrency just as large as
      3 Bitcoin some day.”71
      4         136. Later in the day, the EthereumMax Instagram account posted a video
      5 promoting a shopping event at a jewelry story in Miami. The caption stated in
      6 relevant part: “#Ethereummax will be accepted for the premier event 50 Karats by
      7 @floydmayweather.”72
      8         137. The combination of Mayweather’s statements on investing and
      9 promotion of EthereumMax falsely gave investors the impression that Mayweather
     10 was more than a celebrity endorser but rather that he was an actual backer/investor in
     11 EMAX Tokens, and that he was making this particular cryptocurrency a part of his
     12 multimillion dollar investment strategy.
     13         138. Two days later, on June 6, 2021, Mayweather similarly promoted
     14 EthereumMax during his highly viewed exhibition boxing match with internet
     15 celebrity-turned-boxer, Logan Paul.73 For example, during the highly-publicized
     16 weigh-in before the fight, Mayweather again wore a shirt with EthereumMax and its
     17 logo on the front:
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     20          EthereumMax, Cryptocurrency week is here in Miami and Floyd Mayweather
          shared his thoughts on crypto with FOXBusiness, FACEBOOK (June 4, 2021),
     21   https://www.facebook.com/EthereumMax/videos/173981531399668/;
          EthereumMax (@ethereummax), INSTAGRAM (June 4, 2021), https://www.
     22   instagram.com/p/CPt34eUA7d9/?igshid=YzdkMWQ2MWU; see also Ethereum
          Max (@ethereummax), INSTAGRAM (June 4, 2021), https://www.instagram.com/p/
     23   CPtfEZ8MeFV/?igshid=YzdkMWQ2MWU.
          71
                 Jeff Benson, Floyd Mayweather, Sponsored by Ethereum Token, Gets Booed
     24   at Bitcoin Conference, DECRYPT (June 4, 2021), https://decrypt.co/72807/floyd-
          mayweather-sponsored-ethereum-token-gets-booed-bitcoin-conference.
     25   72
                 EthereumMax (@ethereummax), INSTAGRAM (June 4, 2021), https://www.
     26   instagram.com/p/CPsiR_PAZXr/?igshid=YzdkMWQ2MWU.
          73
                 Brendan Rearick, EthereumMax (EMAX) Price Predictions: Can Floyd
     27   Mayweather Help EMAX Win the Fight? MSN (June 7, 2021), https://www.
          msn.com/en-us/money/markets/ethereummax-emax-price-predictions-can-floyd-
     28   mayweather-help-emax-win-the-fight/ar-AAKNxNi.
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     12        139. During the fight itself, Mayweather’s trunks adorned the EthereumMax
     13 brand on the front waist of his boxing trunks:
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      1        140. Mayweather also promoted EthereumMax in connection with the
      2 “Official Afterparty” for his fight held at Club LIV. The following is a promotion
      3 from Club LIV, which tags the EthereumMax Instagram page and features the
      4 EthereumMax logo and website:
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     17        141. That same day, Defendant Davis posted the following picture in the
     18 InRussWeTrust group on Facebook of himself and Mayweather together in Las
     19 Vegas earlier in the day, announcing a “long term deal” between Emax,
     20 Mayweather, and Davis’ InRussWeTrust cryptocurrency consulting business:74
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              John Hyatt, The Untold Story Behind Emax, The Cryptocurrency Kim
     27 Kardashian Got Busted For Hyping, FORBES (Nov. 11, 2022), https://www.forbes.
        com/sites/johnhyatt/2022/11/11/the-untold-story-behind-emax-the-cryptocurrency-
     28 kim-kardashian-got-busted-for-hyping/?sh=18c82ea940d7.
                                               49
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     19        142. Between June 4, 2021 and June 6, 2021, the trading volume for EMAX
     20 Tokens spiked from $15.7 million to $24.5 million.75
     21        143. On June 8, 2021, Executive Defendant Perone, along with Steve Gentile
     22 and Josh James (the lead developer at EthereumMax), uploaded a video of themselves
     23 on Executive Defendant Speer’s YouTube channel entitled: “Addressing the $eMax
     24 Community – EthereumMax.”76 Gentile and Perone identified themselves as the
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     27       See n.38, supra.
          76
              Mike Speer, Addressing the $eMax Community – EthereumMax, YOUTUBE
     28 (June 7, 2021), https://www.youtube.com/watch?v=CkR8QJrNubI.
                                              50
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      1 “creators” of EthereumMax, and explained that Mr. James had recently joined
      2 EthereumMax as its new lead developer.
      3         144. Perone described his prior experience in “the hedge fund space” and had
      4 “significant   experience    structuring   nuanced   securitizations   and   financing
      5 arrangements,” and he touted EthereumMax as something “special” with “real
      6 sustainability.” Perone also stated that they were able to forge a “landmark agreement
      7 with the Mayweather team” and reassured investors regarding the “volatility” in the
      8 EMAX Token price.           Gentile further stated that EthereumMax’s work with
      9 “launching ambassadorships and working with influencers” was not solely in
     10 preparation for the Mayweather fight, but rather “the launch point” with “great
     11 prospects moving forward.”
     12         145. Gentile also noted that his background involved specialties revolving
     13 around marketing and brand development and he exclaimed that EthereumMax was
     14 a “super exciting project” and that he was “excited for the updates” that would be
     15 “rolling out in the near future.” Gentile claimed that it was “going to be beneficial
     16 not only to the token, but more importantly the community.”
     17         146. During a pseudo question and answer portion of the video, Gentile
     18 brought up investors’ questions about a “rug pull” of the EMAX Token and asked
     19 Perone to “nip it in the bud.” Perone stressed that the EthereumMax team was in for
     20 the long term, stating, among other things, that the Executive Defendants were
     21 “looking to lock the wallets” to show investors that they “were here to stay.”
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      1         147. On June 14, 2021, Kardashian posted the following solicitation for
      2 EthereumMax on her Instagram account, which has over 250 million followers:
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     18         148. As noted in a scathing op-ed piece called “Celebrity Crypto Shilling Is
     19 a Moral Disaster,” Kardashian’s “post was an immediate sensation, and a touch
     20 controversial.” The EMAX Token was “only a month old, few had heard of it, and
     21 it wasn’t even obvious how the ‘token’ was supposed to work. More than that,
     22 Kardashian was urging her 251 million Instagram followers to get involved in a
     23 highly volatile, speculative market that’s little different than gambling in the world’s
     24 most fraudulent casino.”77
     25
     26
     27   77
              Ben McKenzie & Jacob Silverman, Celebrity Crypto Shilling Is a Moral
        Disaster, SLATE (Oct. 7, 2021), https://slate.com/technology/2021/10/ben-
     28 mckenzie-crypto-celebrities-kardashian-brady-lohan.html.
                                               52
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      1         149. Kardashian’s promotion had tremendous reach. The financial services
      2 company, Morning Consult, analyzed “the impact of celebrities on crypto investor
      3 decisions,” and, in particular, the impact of Kardashian’s EthereumMax post. The
      4 survey found that up to 21% of all American adults and nearly half of all
      5 cryptocurrency owners had seen this ad for a risky financial instrument. Furthermore,
      6 Kardashian’s “conversion was also impressive: A striking 19% of respondents who
      7 said they heard about the post invested in EthereumMax as a result.”78
      8         150. The chair of the Financial Conduct Authority (“FCA”) in the United
      9 Kingdom, Charles Randell, in a September 6, 2021 speech given to the Cambridge
     10 International Symposium on Economic Crime, remarked that Kardashian’s
     11 EthereumMax post was “the financial promotion with the single biggest audience
     12 reach in history.”79
     13         151. Notably, Kardashian’s post did include a promotional disclosure in the
     14 post itself. However, this disclosure is tucked in the far bottom right of the post and
     15 is just three characters long: “#AD.” The promotion was false and misleading in that
     16 Kardashian was purportedly just “sharing what my friends just told me about the
     17 Ethereum Max Token!” Moreover, by stating that “Ethereum Max Burned 400
     18 trillion tokens – Literally 50% of their Admin Wallet” the promotion created a false
     19 impression that the EMAX Tokens were scarce. Because two quadrillion tokens had
     20 been originally created, the burning of 400 trillion tokens did not meaningfully
     21 impact the availability of EMAX Tokens.
     22         152.   According to the SEC Order, “EthereumMax, through an intermediary,
     23 paid Kardashian $250,000 for this promotion.” Upon information and belief, this
     24
     25   78
               Charlotte Principato, Kim Kardashian, Cryptocurrency and Celebrity Clout,
     26 M  ORNING CONSULT (Sept. 21, 2021), https://morningconsult.com/2021/09/21/kim-
        kardashian-crypto-celebrity/ (Emphasis added).
     27 79     Charles Randell, Chair, Fin. Conduct Auth., The risks of token regulation,
        Speech at Cambridge International Symposium on Economic Crime (Sept. 6, 2021)
     28 https://www.fca.org. uk/news/speeches/risks-token-regulation.
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      1 intermediary was Defendant Rechnitz. Kardashian and Rechnitz have a long history
      2 together.
      3        153. Upon information and belief, Kardashian received a similar payment
      4 from Rechnitz and Perone for her May 30, 2021 promotion.
      5        154. Kardashian also has experience and familiarity with making misleading
      6 claims in similar promotional endorsements on her Instagram and Twitter accounts.
      7 For example, in 2015, the United States Food and Drug Administration ordered
      8 Kardashian to remove a promotional post she had made with a strikingly similar
      9 beginning to the EthereumMax Post at issue in this action80:
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     17        155. Pierce, Brown, and Davis did not include any promotional disclosures
     18 when they promoted EthereumMax throughout May and June of 2021.
     19        156. It does not appear that Mayweather has disclosed any payments either
     20 for his promotion of EthereumMax on June 4 and 6, 2021. Mayweather does have
     21 experience with being fined previously over improper cryptocurrency promotion,81
     22 and, as a result, he knew that his conduct alleged herein was improper.
     23
     24
     25   80
              Mark Sweney, Kim Kardashian forced to delete selfie endorsing morning
     26 sickness drug, THE GUARDIAN (Aug. 12, 2015), https://www.theguardian.com
        /media/2015/aug/12/kim-kardashian-selfie-morning-sickness-drug-instagram.
     27 81    Press Release, U.S. SEC. & EXCH. COMM’N, Two Celebrities Charged with
        Unlawfully Touting Coin Offerings (Nov. 29, 2018), https://www.sec.gov/
     28 news/press-release/2018-268.
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      1         157. In November 2018, Mayweather and another celebrity promotor settled
      2 charges with the United States Securities and Exchange Commission (“SEC”) for
      3 failing to disclose payments they received for promoting fraudulent cryptocurrency
      4 investments. One of the posts at issue there was one that Mayweather made on
      5 Twitter, stating: “You can call me Floyd Crypto Mayweather from now on” and a
      6 promotion with the message to his Twitter followers that a company’s fraudulent
      7 initial coin offering “starts in a few hours. Get yours before they sell out, I got mine.”
      8 As part of the settlement, Mayweather agreed to pay “$300,000 in disgorgement, a
      9 $300,000 penalty, and $14,775 in prejudgment interest.” In addition, Mayweather
     10 agreed not to promote any securities – digital or otherwise – for three years.82 The
     11 settlement was dated November 29, 2018, meaning that this agreement was blatantly
     12 violated in connection with Mayweather’s EthereumMax promotion. Mayweather,
     13 therefore, had an understanding that his own conduct, as well as the conduct of the
     14 Executive Defendants, was improper and fraudulent.
     15         158. Maher has experience with financial regulations from his position as a
     16 financial advisor at Northwestern Mutual Investment Services, LLC from 2011 to
     17 October 13, 2021. Maher knew that his conduct alleged herein was improper.
     18 Notably, Maher was “permitted to resign” from his financial advisor position in 2021
     19 “while under internal review for allegations that [Maher] was involved in a
     20 cryptocurrency shilling scam.”83
     21         159. Similarly, when discussing the Promoter Defendants’ EMAX Token
     22 promotions, Davis acknowledged that “when you are a celebrity and you don’t know
     23 the law and say . . . invest in this . . . that’s financial advice. You can’t say that.”84
     24
          82
     25        Id.
          83
               Investment Adviser Public Disclosure: Justin Thomas Maher, U.S. SEC. &
     26 EXCH. COMM’N, https://adviserinfo.sec.gov/individual/summary/5504995 (last
        visited Dec. 19, 2022).
     27 84
               NeverHedge – Crypto, NFTs, Sports Betting, Stocks, Emax Talk with Justin
     28 Ep.  02: Hard Fork Rundown: Mayweather Fight Updates: Hodler (sic) Questions
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      1         The Dump – EMAX Token Price Plummets
      2         160. Following the EMAX Tokens’ launch and Defendants’ promotional
      3 activities in May 2021, the trading volume and price of EthereumMax surged. By
      4 May 30, EMAX already had a transaction volume of over $100 million, up 632% in
      5 just two weeks. The day before, it reached its maximum price of $0.000000863,
      6 which represents a rise of 1,370% more than its initial price of $0.00000005875.85
      7         161. However, this meteoric rise did not last long, and EthereumMax began
      8 to deflate immediately after Kardashian’s post. On July 15, 2021, the price of the
      9 EMAX Token hit its all-time low: $0.000000017 per unit, a 98% drop from which it
     10 has not been able to recover. Investors were left holding worthless tokens, with the
     11 cost in transaction fees and gas fees to swap back into Ether far exceeding what
     12 investors would actually receive in Ether. On August 1, 2021, its transaction volume
     13 plummeted to $157,423, which is less than a hundredth of its initial capital. On April
     14 1, 2022, transaction volume was less than $13,000.86
     15         162. The Promoter Defendants’ improper promotional activities generated
     16 the trading volume needed for all the Defendants to offload their EMAX Tokens onto
     17 unsuspecting investors.     While Plaintiffs and Class members were buying the
     18 inappropriately-promoted EMAX Tokens, Defendants were able to, and did, sell their
     19 EMAX Tokens during the Relevant Period for substantial profits. According to
     20 Perone, the Executive Defendants did not “lock” their EMAX Token wallet addresses
     21 until after the Relevant Period.
     22         163. The EMAX Token price still has not recovered and trading volume
     23 remains down significantly. As bluntly noted in actor Benjamin McKenzie’s op-ed:
     24
     25 Answered, YOUTUBE (May 26, 2021),
        https://www.youtube.com/watch?app=desktop&v=bPT0Tnmt63A&feature=
     26 youtu.be&fbclid=IwAR2w8sHjsGnrXL6G9N8Nc0hWAyjn2w3mmSOOTnoWZC
        nYyERZrSM_k9Q9En8.
     27 85
               See n.38, supra.
     28 86
               Id.
                                           56
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      1 “If you bought EthereumMax after Kardashian pushed it and didn’t sell fast enough,
      2 all you were left with was a practically worthless digital asset.”87
      3         164. In the wake of the dramatic decline in the EMAX Token price, the cabal
      4 became fractured with some of the Defendants even pointing fingers at one another.
      5 For example, the relationship between Davis and Brown on one side and Mayweather
      6 and Rechnitz on the other was soured after an incident between Rechnitz and Brown.
      7 Upon information and belief, Brown was displeased with Rechnitz after the two of
      8 them arranged a deal to flip four expensive watches for a quick profit, but Rechnitz
      9 ended up providing counterfeits instead of the real watches (see supra 56). In an
     10 effort to gain leverage over Brown and prevent him from exposing Rechnitz’s fraud,
     11 Rechnitz filmed Brown exposing himself to another guest while they were all
     12 partying at a hotel pool in Dubai during a trip for Mayweather’s exhibition boxing
     13 match against Don Moore.88
     14         165. Upon information and belief, Rechnitz threatened to release the footage
     15 unless Brown agreed not to reveal Rechnitz’s misconduct. Ultimately, both Brown
     16 and Rechnitz exposed each other. Rechnitz released the video, which shows “Brown
     17 jumping up and down and breaking the water plane with his naked rear end close to
     18 the face of a woman in the Armani Hotel Dubai swimming pool.” 89
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              See n.77, supra.
     25   88
              Rhett Butler, Antonio Brown Fractures Relationship with Floyd Mayweather,
     26 Alleging He Was Involved in Leaking the Dubai Pool Incident, THESHADOWLEAGUE
        (Oct. 9, 2022), https://theshadowleague.com/antonio-brown-fractures-relationship-
     27 with-floyd-mayweather-alleging-he-was-involved-in-leaking-the-dubai-pool-
        incident/.
     28 89    Id.
                                                57
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      1         166. On October 1, 2022, Defendant Brown made the following statement on
      2 his Twitter account about Defendants Rechnitz and Mayweather:90
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      9         167. In a now-deleted post from October 9, 2022 on his official Twitter
     10 account, Brown further declared: “Defamation of Character Jona Rechnitz recorded
     11 sold falsified this video in something disgusting per source Floyd Mayweather
     12 business partner.”
     13         168. On October 10, 2022, the SEC issued an Order Instituting Cease-and-
     14 Desist Proceedings Pursuant to Section 8A of the Securities Act of 1933, Making
     15 Findings, and Imposing a Cease-and-Desist Order (“the SEC Order”) against
     16 Defendant Kardashian in relation to her June 13, 2021 promotion of EMAX Tokens.
     17 The SEC Order contained several factual findings that, while not binding outside of
     18 SEC’s proceeding against Kardashian, still formed the basis of the SEC Order and
     19 the related settlement and tracked closely to the misconduct alleged herein.
     20         169. The SEC Order stated the following:
     21            • Kardashian did not disclose that she had been paid by
                     EthereumMax or the amount of compensation she received from
     22              EthereumMax for making [the June 13, 2021] post.
     23            • Kardashian’s crypto asset security promotion occurred after the
                     Commission warned in its July 25, 2017, DAO Report of
     24              Investigation that digital tokens or coins offered and sold may be
                     securities, and those who offer and sell securities in the United
     25              States must comply with the federal securities laws. The
                     promotion also occurred nearly four years after the
     26              Commission’s Division of Enforcement and Office of
                     Compliance Inspections and Examinations issued a statement
     27
          90
               AB (Antonio Brown) (@AB84), TWITTER (Oct. 1, 2022, 6:54 AM),
     28 https://twitter.com/AB84/status/1576208814227193857.
                                               58
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      1              reminding market participants that a]ny celebrity or other
                     individual who promotes a virtual token or coin that is a security
      2              must disclose the nature, scope, and amount of compensation
                     received in exchange for the promotion. A failure to disclose this
      3              information is a violation of the anti-touting provisions of the
                     federal securities laws.
      4            • Kardashian violated Section 17(b) of the Securities Act by
                     touting the EMAX token sale on her social media account
      5              without disclosing that she received compensation from         the
                     issuer for doing so, and the amount of the consideration.91
      6
                170. Pursuant to the SEC Order and related settlement, Kardashian was
      7
          ordered to pay disgorgement of $250,000, prejudgment interest of $10,415.35, and a
      8
          civil money penalty in the amount of $1,000,000 to the SEC. The SEC Order also
      9
          barred Kardashian from receiving any payments or compensation for promoting any
     10
          digital assets for three years. Kardashian was also ordered to cease and desist from
     11
          committing or causing any violations and any future violations of Section 17(b) of
     12
          the Securities Act.
     13
                171. On November 15, 2022, Maher made several statements in response to
     14
          the October 3, 2022 announcement from SEC Chairman Gensler regarding the SEC’s
     15
          investigation into Kardashian’s promotional activities with the EMAX Tokens. In
     16
          particular, Maher stated: “I mean I wish Gio had been paying me like he did with
     17
          everyone else. Then I’d at least have made these millions they claimed I did.”92
     18
          Maher then gave “one freebie” to investigators, saying that “Blockchain doesn’t lie
     19
          right? Have fun going down the rabbit hole with this one… #JonaRechnitz.” Maher
     20
          attached the following screenshot of a text conversation between the “eMax team
     21
          marketing,” which included Steve Gentile, and Defendants Perone and Speer, which
     22
          confirmed that Rechnitz negotiated and facilitating the payments to Mayweather for
     23
          promoting EMAX Tokens.
     24
     25
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     27   91
          92
               SEC Order, ¶¶10-12.
     28       Justin     Maher    (@TrustInJustin83),    Twitter  (Nov.   22,   2022),
        https://twitter.com/TrustInJustin83/status/1592501917804302337/photo/1.
                                                 59
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      1         172. The following chart from The Financial Times93 shows the rise and fall
      2 of the EMAX Tokens’ price in conjunction with the Promoter Defendants’
      3 promotional activities:
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     14         Regulators Raise Concerns that EthereumMax Is a “Pump and Dump”
                Scam
     15
     16         173. Following the precipitous drop of the EMAX Token price in the wake
     17 of Kardashian’s EthereumMax post, the United Kingdom’s FCA chair issued a
     18 statement noting that Kardashian’s promotion of the EMAX Token could be
     19 “fraudulent.” Specifically, Charles Randell, director of the FCA, gave a speech about
     20 the need for a “permanent and consistent solution to the problem of online fraud from
     21 paid-for advertising.”94
     22         174. Cryptocurrency “scams” were one of the topics that Randell specifically
     23 addressed, and during that portion of the speech, Randell specifically took issue with
     24 Kardashian’s EthereumMax post. Randell noted that “social media influencers [like
     25
     26   93
              Joshua Oliver & Madison Darbyshire, Kim Kardashian, Floyd Mayweather
     27 and a crypto token’s wild ride, THE FIN. TIMES (Jan. 14, 2022), https://www.ft.com/
        content/a6dd4d6f-6a86-48cc-992c-f8a32c64fdd7.
     28 94    See n.79, supra.
                                                 61
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      1 the Promoter Defendants] are routinely paid by scammers to help them pump and
      2 dump new tokens on the back of pure speculation.”95
      3         175. Randell further observed that the hype around speculative digital assets
      4 like the EMAX Token “generates a powerful fear of missing out from some
      5 consumers who may have little understanding of their risks. There is no shortage of
      6 stories of people who have lost savings by being lured into the crypto bubble with
      7 delusions of quick riches, sometimes after listening to their favourite influencers,
      8 ready to betray their fans’ trust for a fee.”96
      9         176. This is precisely what occurred with the Executive Defendants’ stated
     10 marketing strategy to use celebrities like the Promoter Defendants to “instill trust”
     11 from investors in EthereumMax in exchange for fees and/or EMAX Tokens – that
     12 the Promotor Defendants could sell for profits.
     13                                CLASS ALLEGATIONS
     14         177. Plaintiffs bring this action, individually, and on behalf of a nationwide
     15 class, pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(2), and/or 23(b)(3),
     16 defined as follows:
     17         All persons who, during the Class Period, purchased EthereumMax’s
                EMAX Tokens and were subsequently damaged thereby.
     18
     19         178. The Class Period is defined as the period between May 14, 2021 and
     20 June 27, 2021.97
     21         179. Excluded from the Class are: (a) Defendants; (b) Defendants’ affiliates,
     22 agents, employees, officers and directors; (c) Plaintiffs’ counsel and Defendants’
     23 counsel; and (d) the judge assigned to this matter, the judge’s staff, and any member
     24 of the judge’s immediate family. Plaintiffs reserve the right to modify, change, or
     25
     26   95
              Id.
     27   96
              Id.
        97
     28       Plaintiffs reserve the right to expand or amend the Class Period based on
        discovery produced in this matter.
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      1 expand the various class definitions set forth above based on discovery and further
      2 investigation.
      3        180. Numerosity: Upon information and belief, the Class is so numerous that
      4 joinder of all members is impracticable. While the exact number and identity of
      5 individual members of the Class is unknown currently, such information being in the
      6 sole possession of EthereumMax and/or third parties and obtainable by Plaintiffs only
      7 through the discovery process, Plaintiffs believe, and on that basis allege, that the
      8 Class consists of at least hundreds of people. The number of Class members can be
      9 determined based on EthereumMax’s and other third parties’ records.
     10        181. Commonality: Common questions of law and fact exist as to all
     11 members of each Class. These questions predominate over questions affecting
     12 individual Class members. These common legal and factual questions include, but
     13 are not limited to:
     14        a.     whether Defendants improperly and misleadingly marketed EMAX
     15 Tokens;
     16        b.     whether Defendants’ conduct violates the state consumer protection
     17 statutes asserted herein;
     18        c.     whether Promoter Defendants aided and abetted violations of the state
     19 consumer protection statutes asserted herein;
     20        d.     whether Executive Defendants conspired to artificially inflate the price
     21 of the EMAX Tokens and then sell their EMAX Tokens to unsuspecting investors;
     22        e.     whether Defendants have been unjustly and wrongfully enriched as a
     23 result of their conduct;
     24        f.     whether the proceeds that the Defendants obtained as a result of the sale
     25 of EMAX Tokens rightfully belongs to Plaintiffs and Class members;
     26        g.     whether Defendants should be required to return money they received
     27 as a result of the sale of EMAX Tokens to Plaintiffs and Class members;
     28
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      1         h.    whether Executive Defendants breached the implied covenant of good
      2 faith and fair dealing; and
      3         i.    whether Plaintiffs and Class members have suffered damages, and, if so,
      4 the nature and extent of those damages.
      5         182. Typicality: Plaintiffs have the same interest in this matter as all Class
      6 members, and Plaintiffs’ claims arise out of the same set of facts and conduct as the
      7 claims of all Class members. Plaintiffs’ and Class members’ claims all arise out of
      8 EthereumMax’s uniform misrepresentations, omissions, and unlawful, unfair, and
      9 deceptive acts and practices related to the sale of EMAX Tokens.
     10         183. Adequacy: Plaintiffs have no interests that conflicts with the interests
     11 of the Class and are committed to pursuing this action vigorously. Plaintiffs have
     12 retained counsel competent and experienced in complex consumer class action
     13 litigation. Accordingly, Plaintiffs and their counsel will fairly and adequately protect
     14 the interests of the Class.
     15         184. Superiority: A class action is superior to all other available means of
     16 fair and efficient adjudication of the claims of Plaintiffs and members of the Class.
     17 The injury suffered by each individual Class member is relatively small compared to
     18 the burden and expense of individual prosecution of the complex and extensive
     19 litigation necessitated by EthereumMax’s conduct. It would be virtually impossible
     20 for individual Class members to effectively redress the wrongs done to them. Even
     21 if Class members could afford individualized litigation, the court system could not.
     22 Individualized litigation would increase delay and expense to all parties and to the
     23 court system because of the complex legal and factual issues of this case.
     24 Individualized rulings and judgments could result in inconsistent relief for similarly
     25 situated individuals.     By contrast, the class action device presents far fewer
     26 management difficulties, and provides the benefits of single adjudication, economy
     27 of scale, and comprehensive supervision by a single court.
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      1         185. Defendants have acted or refused to act on grounds generally applicable
      2 to the Class, thereby making appropriate final injunctive relief and corresponding
      3 declaratory relief with respect to the Class as a whole.
      4                              FIRST CAUSE OF ACTION
      5                 Violation of the California Unfair Competition Law
                                   Cal. Bus. & Prof. Code §17200
      6                       (Based on Unlawful Acts and Practices)
                                      (Against all Defendants)
      7
                186. Plaintiffs restate and reallege all preceding allegations in paragraphs 1
      8
          to 185 above as if fully set forth herein, and further allege the following:
      9
                187. Plaintiffs Semerjian, Buckley, and Shah are residents of the State of
     10
          California.
     11
                188. Plaintiffs Semerjian, Buckley, and Shah paid for or purchased EMAX
     12
          Tokens in California and thus the deceptive transactions alleged herein occurred in
     13
          California.
     14
                189. At all relevant times there was in full force and effect the California
     15
          Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §17200, et seq., which
     16
          prohibits, inter alia, “any unlawful, unfair, or fraudulent business act or practice” and
     17
          “unfair, deceptive, untrue, or misleading advertising.”
     18
                190. “‘[A]n act can be alleged to violate any or all three of the three prongs
     19
          of the UCL — unlawful, unfair, or fraudulent.’” Stearns v. Select Comfort Retail
     20
          Corp., 763 F. Supp. 2d 1128, 1149 (N.D. Cal. 2010) (quoting Berryman v. Merit
     21
          Prop. Mgmt., Inc., 152 Cal. App. 4th 1544, 1554 (2007)).
     22
                191. The “unlawful” prong of the UCL prohibits “anything that can properly
     23
          be called a business practice and that at the same time is forbidden by law.” Cel–
     24
          Tech Commc’ns, Inc. v. L.A. Cellular Tel. Co., 20 Cal. 4th 163, 180 (1999). By
     25
          proscribing “any unlawful” business practice, the UCL permits injured consumers to
     26
          “borrow” violations of other laws and treat them as unlawful competition that is
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      1 independently actionable. In other words, an “unlawful” business practice under the
      2 UCL is a practice that violates any other law.
      3         192. Any violation of the California false advertising laws (e.g., Cal. Bus. &
      4 Prof. Code §17500) necessarily violates the “unlawful” prong of the UCL. Likewise,
      5 any violations of other state consumer protection laws, such as New York G.B.L.
      6 §349(a); NJSA §§56:81-156; and Fla. Stat. Ann Ch. 501, §211(1) also constitutes a
      7 violation of the unlawful prong of the UCL.
      8         193. To meet the heightened pleading standard of Federal Rule of Civil
      9 Procedure (“Rule”) 9(b) for claims that sound in fraud, plaintiffs must plead “‘the
     10 who, what, when, where, and how’” of the alleged fraud. Vess v. Ciba-Geigy Corp.
     11 USA, 317 F.3d 1097, 1106 (9th Cir. 2003).
     12         194. In order to have standing for a UCL claim, a plaintiff must meet the
     13 injury-in-fact requirement. This requirement is met where a plaintiff can “show that,
     14 by relying on a misrepresentation on a product label, they ‘paid more for a product
     15 than they otherwise would have paid, or bought it when they otherwise would not
     16 have done so.’” Reid v. Johnson & Johnson, 780 F.3d 952, 958 (9th Cir. 2015). A
     17 plaintiff’s claims under this California statute are governed by the “reasonable
     18 consumer” test. Freeman v. Time, Inc., 68 F.3d 285, 289 (9th Cir. 1995) (“‘[T]he
     19 false or misleading advertising and unfair business practices claim must be evaluated
     20 from the vantage of a reasonable consumer.’”). Under the reasonable consumer
     21 standard, a plaintiff must “show that ‘members of the public are likely to be
     22 deceived.’” Id. (quoting Bank of the West v. Super. Ct., 2 Cal. 4th 1254, 1267 (1992)).
     23         195. Plaintiff Semerjian is lifelong fan of professional sports, particularly
     24 basketball and boxing. Semerjian regularly watched Defendant Pierce when the latter
     25 played basketball professionally and then as a commentator on ESPN. Semerjian
     26 saw the promotions by Pierce on May 26, 2021, May 28, 2021, and May 30, 2021,
     27 respectively. These promotions regarding the growth potential and price increases
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      1 for EMAX Tokens induced Semerjian to make his first and second purchases of
      2 EMAX Tokens on May 31, 2021 and June 1, 2021. Semerjian has also been aware
      3 of Defendant Mayweather from his many years of being a world champion boxer.
      4 Semerjian regularly sees posts from and about Mayweather on various social media
      5 platforms via the trending or discovery features of the platform.        Semerjian
      6 specifically saw Mayweather’s promotions of EthereumMax during the Bitcoin
      7 Miami conference (which were also promoted on social media accounts for
      8 EthereumMax, Maher, and Davis), as well as the promotions of EMAX Tokens on
      9 the lead up to and during the pay-per-view fight with Logan Paul, including the
     10 5/28/21 Press Release. Mayweather’s statements and promotions of EthereumMax
     11 gave Semerjian the false impression that Mayweather was more than a celebrity
     12 endorser but rather that he was an actual backer/investor in EMAX Tokens, and that
     13 he was making this particular cryptocurrency a part of his multimillion-dollar
     14 investment strategy. Each of these promotions induced Semerjian to make another
     15 purchase of EMAX Tokens on June 4, 2021. Semerjian is also aware of Defendant
     16 Kardashian’s reputation as a celebrity influencer, and in particular, her renowned
     17 business savvy.     Semerjian also saw Defendant Kardashian’s June 14, 2021
     18 promotion of the EMAX Tokens. Semerjian believed Kardashian’s promotion and
     19 statements about the number of tokens being burned as indicating that the decrease
     20 in supply would cause his current investments in EMAX Tokens to correspondingly
     21 increase in value. Kardashian’s promotion induced Semerjian to continue to hold on
     22 to his investment in EMAX Tokens when he otherwise would not have done so.
     23        196. Semerjian also followed the EthereumMax Instagram page during the
     24 Relevant Period and saw the promotions from the Executive Defendants that were
     25 posted on that platform. Semerjian specifically saw the June 3, 2021 post regarding
     26 the EMAX Token price volatility that came from insider selling.          Semerjian
     27 reasonably believed that the price drop on EMAX Tokens only came from “a handful
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      1 of larger wallets” of “early investors” who were “not part of the development team.”
      2 Similarly, Semerjian believed the statements that EthereumMax would still be
      3 accepted as a payment at David Grutman’s venues at a future date, despite the issues
      4 that caused the delay of the rollout. The misleading statements and omissions within
      5 the June 3, 2021 Instagram post from the Executive Defendants, in conjunction with
      6 the above-mentioned promotions from Defendants Pierce, Mayweather, and
      7 Kardashian, induced Semerjian to make his June 4, 2021 purchase of EMAX Tokens.
      8 Similarly, this post, in conjunction with Defendant Kardashian’s posts regarding the
      9 ability to use EMAX Tokens as an accepted payment and the increase in value his
     10 investments in EMAX Tokens would receive if he continued to hold, caused
     11 Semerjian to retain his EMAX Token investment when he otherwise would not have
     12 done so.
     13        197. Plaintiff Buckley is a lifelong fan of professional sports, particularly
     14 basketball and boxing. Buckley regularly watched Defendant Pierce when the latter
     15 played professionally and then as a commentator on ESPN. Buckley saw the
     16 promotions by Pierce on May 26, 2021, and May 28, 2021, respectively. These
     17 promotions regarding the growth potential and price increases for EMAX Tokens
     18 induced Buckley to make his first two purchases of EMAX Tokens on May 28, 2021.
     19 In addition to Pierce, Buckley is aware of Defendant Brown’s football career and
     20 off-field conduct, and he specifically saw Brown’s May 29, 2021 promotion wherein
     21 Brown indicated that he wanted his next football contract to be paid in EMAX
     22 Tokens. Buckley also saw Pierce’s May 30, 2021 promotion of EthereumMax.
     23 Buckley has also been aware of Defendant Mayweather from his many years of
     24 being a world champion boxer. Buckley regularly sees posts from and about
     25 Mayweather on various social media platforms via the trending or discovery features
     26 of the platform.       Buckley specifically saw Mayweather’s promotions of
     27 EthereumMax during the Bitcoin Miami conference (which were also promoted on
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      1 the social media accounts for EthereumMax, Maher, and Davis), as well as the
      2 promotions of EMAX Tokens on the lead up to and during the pay-per-view fight
      3 with Logan Paul, including the 5/28/21 Press Release. Mayweather’s statements and
      4 promotions of EthereumMax gave Buckley the false impression that Mayweather
      5 was more than a celebrity endorser but rather that he was an actual backer/investor
      6 in EMAX Tokens, and that he was making this particular cryptocurrency a part of
      7 his multimillion-dollar investment strategy.        Buckley also saw Defendant
      8 Kardashian’s June 14, 2021 promotion of the EMAX Tokens. Buckley believed
      9 Kardashian’s promotion and statements about the number of tokens being burned as
     10 indicating that the decrease in supply would cause his current investments in EMAX
     11 Tokens to correspondingly increase in value. Each of these promotions induced
     12 Buckley to make his third and final purchase of EMAX Tokens on June 18, 2021.
     13 These promotions also induced Buckley to continue to hold on to his investment in
     14 EMAX Tokens when he otherwise would not have done so.
     15        198. Buckley also followed the EthereumMax Instagram page during the
     16 Relevant Period and saw the promotions from the Executive Defendants that were
     17 posted on that platform. Buckley specifically saw the June 3, 2021 post regarding
     18 the EMAX Token price volatility that came from insider selling.            Buckley
     19 reasonably believed that the price drop on EMAX Tokens only came from “a handful
     20 of larger wallets” of “early investors” who were “not part of the development team.”
     21 Similarly, Buckley believed the statements that EthereumMax would still be
     22 accepted as a payment at David Grutman’s venues at a future date, despite the issues
     23 that caused the delay of the rollout. The misleading statements and omissions within
     24 the June 3, 2021 Instagram post from the Executive Defendants, in conjunction with
     25 the above-mentioned promotions from Defendants Pierce, Mayweather, and
     26 Kardashian, induced Buckley to make his June 18, 2021 purchase of EMAX Tokens.
     27 Similarly, this post, in conjunction with Defendant Kardashian’s posts regarding the
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      1 ability to use EMAX Tokens as an accepted payment and the increase in value his
      2 investments in EMAX Tokens would receive if he continued to hold, caused
      3 Buckley to retain his EMAX Token investment when he otherwise would not have
      4 done so.
      5        199. Buckley also saw the statements and promotions from Defendants
      6 Maher and Davis that were posted and/or reposted on various social media platforms.
      7 Buckley specifically saw the May 14, 2021 promotion from Maher touting the
      8 approximately 500,000% increase in the EMAX Token Price. Buckley reasonably
      9 believed that this price increase was the result of genuine investor interest. Buckley
     10 also saw Maher’s May 15, 2021 statement dismissing concerns about price volatility
     11 because the Executive Defendants “assured” Maher that “aside from marketing
     12 expenses they will not sell off any of their position[s] for at least six months.”
     13 Buckley believed the statement that EthereumMax insiders would not be selling their
     14 portion of the Float and driving the price of EMAX Tokens down. Similarly, Buckley
     15 saw and believed Maher’s solicitations in his May 17, 2021 social media post
     16 dismissing claims that EthereumMax was a “scam or pump and dump” and touting
     17 EMAX Tokens were a “[l]ong term” investment that investors like Plaintiffs and the
     18 class should “hold all the way.” Buckley also saw and relied on Davis’ May 18, 2021
     19 solicitation that it was “not too late” to purchase EMAX Tokens given their growth
     20 potential. These misleading statements and omissions by Davis and Maher induced
     21 Buckley to make his May 28, 2021 purchase of EMAX Tokens.
     22        200. Plaintiff Shah is lifelong fan of professional sports, particularly
     23 basketball and boxing. Shah regularly watched Defendant Pierce when the latter
     24 played basketball professionally and then as a commentator on ESPN. Shah follows
     25 Pierce on Twitter and saw the promotions by Pierce on May 26, 2021, May 28, 2021,
     26 and May 30, 2021, respectively. These promotions regarding the growth potential
     27 and price increases for EMAX Tokens induced Shah to make his first and second
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      1 purchases of EMAX Tokens on May 29, 2021 and June 1, 2021. Shah has also been
      2 aware of Defendant Mayweather from his many years of being a world champion
      3 boxer.     Shah follows Mayweather on social media.          Shah specifically saw
      4 Mayweather’s promotions of EthereumMax during the Bitcoin Miami conference
      5 (which were also promoted on the social media accounts for EthereumMax, Maher,
      6 and Davis), as well as the promotions of EMAX Tokens on the lead up to and during
      7 the pay-per-view fight with Logan Paul, including the 5/28/21 Press Release.
      8 Mayweather’s statements and promotions of EthereumMax gave Shah the false
      9 impression that Mayweather was more than a celebrity endorser but rather that he
     10 was an actual backer/investor in EMAX Tokens, and that he was making this
     11 particular cryptocurrency a part of his multimillion-dollar investment strategy. Each
     12 of these promotions induced Shah to make another purchase of EMAX Tokens on
     13 June 3, 2021 and June 11, 2021. Shah is also aware of Defendant Kardashian’s
     14 reputation as a celebrity influencer, and in particular, her renowned business savvy.
     15 Shah also saw Defendant Kardashian’s May 30, 2021 and June 14, 2021 promotion
     16 of the EMAX Tokens. Shah believed Kardashian’s promotion and statements about
     17 the number of tokens being burned as indicating that the decrease in supply would
     18 cause his current investments in EMAX Tokens to correspondingly increase in value.
     19 Kardashian’s promotion induced Shah to continue to hold on to his investment in
     20 EMAX Tokens when he otherwise would not have done so.
     21          201. Shah also followed the EthereumMax Instagram page and other social
     22 media platforms like Telegram, Reddit, and Twitter during the Relevant Period and
     23 saw the promotions from the Executive Defendants that were posted.              Shah
     24 specifically saw the June 3, 2021 post regarding the EMAX Token price volatility
     25 that came from insider selling. Shah reasonably believed that the price drop on
     26 EMAX Tokens only came from “a handful of larger wallets” of “early investors” who
     27 were “not part of the development team.” Similarly, Shah believed the statements
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      1 that EthereumMax would still be accepted as a payment at David Grutman’s venues
      2 at a future date, despite the issues that caused the delay of the rollout. The misleading
      3 statements and omissions within the June 3, 2021 Instagram post from the Executive
      4 Defendants, in conjunction with the above-mentioned promotions from Defendants
      5 Pierce, Mayweather, and Kardashian, induced Shah to make his June 3, 2021 and
      6 June 11, 2021 purchases of EMAX Tokens. Similarly, this post, in conjunction with
      7 Defendant Kardashian’s posts regarding the ability to use EMAX Tokens as an
      8 accepted payment and the increase in value his investments in EMAX Tokens would
      9 receive if he continued to hold, caused Shah to retain his EMAX Token investment
     10 when he otherwise would not have done so.
     11         202. Defendants engaged in deceptive acts and practices under California law
     12 by taking advantage of the lack of knowledge, ability, experience, or capacity of
     13 Plaintiffs to a grossly unfair degree, including but not limited to, in the following
     14 ways:
     15               (a)    knowingly     and    intentionally   concealing    the   Executive
     16 Defendants’ specific roles and ownership interests in EthereumMax;
     17               (b)    failing to disclose that the huge increase in price of the EMAX
     18 Tokens during the first days following launch were caused by manipulation by the
     19 Executive Defendants instead of being due to an organic increase in interest from
     20 investors;
     21               (c)    failing to disclose that EMAX Tokens were not being accepted as
     22 a payment and would not be at any point in the foreseeable future; and
     23               (d)    knowingly and intentionally using and/or failing to disclose the
     24 use of the Promotor Defendants to “instill trust” in uninformed investors to promote
     25 the financial benefits of a highly speculative and risky investment in EMAX Tokens,
     26 in an effort to manipulate and artificially inflate the price and trading volume of the
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      1 EMAX Tokens and allow Defendants to sell their EMAX Tokens at those inflated
      2 prices.
      3         203. The Executive Defendants did not disclose that the EMAX Token
      4 developer held the number one rank with 23% ownership interest. Nor did they
      5 disclose until much later that the Executive Defendants had purposefully chosen not
      6 to lock the wallets of the EthereumMax insiders. Semerjian, Buckley, and Shah
      7 would have found it material to their decisions to purchase EMAX Tokens to know
      8 whether or not insiders had significant percentages of the available Float of EMAX
      9 Tokens with the ability to freely sell those EMAX Tokens and create massive
     10 downward pressure. Likewise, had Semerjian, Buckley, and Shah been made aware
     11 of that information at the times of their respective purchases, as well as the later-
     12 revealed admission from Steve Gentile that the Executive Defendants had chosen not
     13 to “lock the wallets” (which gives the ten original founding members, including
     14 Defendant Maher who held 5%, the ability to sell off their portions of EMAX Tokens
     15 without restriction), it would have altered their decision to both purchase the EMAX
     16 Tokens for the price they paid as well and hold on to those EMAX Tokens when they
     17 otherwise would not have done so.
     18         204. The facts that the Executive Defendants and Promoter Defendants
     19 Pierce, Mayweather, and Kardashian misrepresented and concealed were material to
     20 the decisions of Plaintiffs Semerjian, Buckley, and Shah and the members of the class
     21 about whether to pay for or purchase EMAX Tokens (at all or for the price they paid),
     22 in that they would not have proceeded with their transactions but for the deceptive,
     23 fraudulent, and false acts and practices.
     24         205. The Executive Defendants            and   Promoter Defendants Pierce,
     25 Mayweather, and Kardashian intended for Plaintiffs Semerjian, Buckley, and Shah
     26 and the members of the class to pay for EMAX Tokens in reliance upon their
     27 deceptive and fraudulent acts and practices.
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      1        206. Had the Promoter Defendants disclosed the omitted information,
      2 Semerjian, Buckley, and Shah would have been aware of it because (a) they saw the
      3 actual promotions by Promoter Defendants Pierce, Mayweather, and Kardashian and
      4 would have concurrently seen any disclosure on the promotions themselves had it
      5 been included, and (b) they follow, directly or indirectly, the social media accounts
      6 of, and news reports on, Promoter Defendants Pierce, Mayweather, and Kardashian.
      7        207. As a direct and proximate result of Defendants’ unlawful, unfair, and
      8 deceptive practices, Plaintiffs and Class members suffered damages. The Executive
      9 Defendants’ activities with the Promoter Defendants caused Plaintiffs and the Class
     10 members to purchase and/or hold the EMAX Tokens when they otherwise would not
     11 have done so.
     12        208. The statements from Executive Defendants and Promoter Defendants
     13 Pierce, Mayweather, and Kardashian are actionable and not puffery.             “‘The
     14 distinguishing characteristics of puffery are vague, highly subjective claims as
     15 opposed to specific, detailed factual assertions.’” Orlick v. Rawlings Sporting Goods
     16 Co., No. CV 12-6787-GHK (RZX), 2013 WL 12139142, at *5 (C.D. Cal. Feb. 20,
     17 2013). Under California law, there is no requirement that for a statement to be
     18 actionable it must also be false — the UCL also prohibits “‘advertising which,
     19 although true, is either actually misleading or which has a capacity, likelihood or
     20 tendency to deceive or confuse the public.’” Williams v. Gerber Prods. Co., 552 F.3d
     21 934, 938 (9th Cir. 2008). Significantly, even if certain statements would be non-
     22 actionable on their own, where there are multiple statements at issue, courts must
     23 consider “as a whole.” Id. at 939 n.3; Lima v. Gateway, Inc., 710 F. Supp. 2d 1000,
     24 1007-08 (C.D. Cal. 2010) (denying motion to dismiss where some specific
     25 representations could be considered puffery, but all of defendants' statements “taken
     26 as a whole” might be actionable); In re NJOY, Inc. Consumer Class Action Litig., No.
     27 CV 14-00428 MMM (JEMx), 2015 WL 12732461, at *10 (C.D. Cal. May 27, 2015)
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      1 (“‘Even assuming . . . that some of the statements would themselves be non-
      2 actionable, they “cannot be considered in isolation because they contribute to the
      3 [potentially] deceptive context” of the packaging and marketing “as a whole.”’”)
      4 (alteration in original).
      5         209. As alleged further above, the Executive Defendants’ May 16, 2021 Pre-
      6 launch Kickoff post stated, among other things, that (1) EMAX Tokens were up
      7 “500,000+% in the first 24 hours”; (2) the Executive Defendants had “locked in
      8 partnership with global digital marketing agency” and “lined up a knockout
      9 influencer” for a “nationwide campaign”; and (3) “We are 3 days in with ~$100M
     10 market cap and the train is just getting rolling.” These statements from Executive
     11 Defendants are specific, detailed factual assertions the Executive Defendants were
     12 using to encourage purchases and increase the price of the EMAX Tokens. At the
     13 same time, the Executive Defendants Maher and Speer, with Promoter Defendant
     14 Davis, each failed to disclose that these metrics were the result of the failed launch
     15 that allowed insiders, including but not limited to Maher, to disproportionately
     16 increase the price of the EMAX Tokens with their early trades.
     17         210. Taken together, the misleading statements and omissions of the
     18 Executive Defendants and Promoter Defendants Davis, Pierce, Mayweather, and
     19 Kardashian contributed to the deceptive marketing tactics as a whole, which were
     20 used to solicit sales of EMAX Tokens.
     21         211. Plaintiffs seek to enjoin further unlawful, unfair, and/or fraudulent acts
     22 or practices by EthereumMax, to obtain restitution and disgorgement of all monies
     23 generated as a result of such practices, and for all other relief allowed under Cal. Bus.
     24 & Prof. Code §17200.
     25                             SECOND CAUSE OF ACTION
     26                 Violation of the California Unfair Competition Law
                                   Cal. Bus. & Prof. Code §17200
     27                         (Based on Unfair Acts and Practices)
                                      (Against All Defendants)
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      1         212. Plaintiffs restate and reallege all preceding allegations in paragraphs 1 -
      2 185 above as if fully set forth herein, and further allege the following:
      3         213. Plaintiffs Semerjian, Buckley, and Shah are residents of the State of
      4 California.
      5         214. Plaintiffs Semerjian, Buckley, and Shah paid for or purchased EMAX
      6 Tokens in California and thus the deceptive transactions alleged herein occurred in
      7 California.
      8         215. At all relevant times there was in full force and effect the California
      9 Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §17200, et seq., which
     10 prohibits, inter alia, “any unlawful, unfair, or fraudulent business act or practice” and
     11 “unfair, deceptive, untrue, or misleading advertising.”
     12         216. “‘[A]n act can be alleged to violate any or all three of the three prongs
     13 of the UCL — unlawful, unfair, or fraudulent.’” Stearns, 763 F. Supp. 2d at 1149
     14 (quoting Berryman, 152 Cal. App. 4th at 1554).
     15         217. The Executive Defendants            and   Promoter Defendants Pierce,
     16 Mayweather, and Kardashian engaged in business acts and practices deemed “unfair”
     17 under the UCL, because of the conduct, statements, and omissions described above.
     18 Unfair acts under the UCL have been interpreted using different tests, including:
     19 (1) whether the public policy which is a predicate to a consumer unfair competition
     20 action under the unfair prong of the UCL is tethered to specific constitutional,
     21 statutory, or regulatory provisions; (2) whether the gravity of the harm to the
     22 consumer caused by the challenged business practice outweighs the utility of the
     23 defendant’s conduct; and (3) whether the consumer injury is substantial, not
     24 outweighed by any countervailing benefits to consumers or competition, and is an
     25 injury that consumers themselves could not reasonably have avoided.
     26         218. The Executive        Defendants     and   Promoter Defendants Pierce,
     27 Mayweather, and Kardashian have engaged in, and continue to engage in, conduct
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      1 that violates the legislatively declared policies of: (1) California Civil Code
      2 §§1572,1573, 1709, 1710, 1711 against committing fraud and deceit; (2) California
      3 Civil Code §1770 against committing acts and practices intended to deceive
      4 consumers regarding the representation of goods in certain particulars; and (3) the
      5 Federal Tort Claims Act (“FTCA”), 15 U.S.C. §45(a)(1), against unfair or deceptive
      6 practices. The Executive Defendants and Promoter Defendants Pierce, Mayweather,
      7 and Kardashian gain an unfair advantage over their competitors, whose practices
      8 relating to other similar products must comply with these laws.
      9        219. Defendants’ affirmative acts in soliciting sales of EMAX Tokens are
     10 unfair within the meaning of the UCL, because they constituted immoral, unethical,
     11 oppressive, and unscrupulous activity, caused substantial injury to consumers, and
     12 provided no benefit to consumers or competition.
     13        220. The gravity of the harm to consumers caused by actions of Executive
     14 Defendants and Promoter Defendants Pierce, Mayweather, and Kardashian far
     15 outweighs the utility of their conduct. According to a “Data Spotlight” from the
     16 Federal Trade Commission from June 3, 2022 (the “FTC Data Spotlight”), entitled:
     17 “Reports show scammers cashing in on crypto craze,” “[s]ince the start of 2021, more
     18 than 46,000 people have reported losing over $1 billion in crypto to scams – that’s
     19 about one out of every four dollars reported lost, more than any other payment
     20 method. The median individual reported loss? A whopping $2,600.”98
     21        221. The FTC Data Spotlight further stated that “[r]eports point to social
     22 media and crypto as a combustible combination for fraud. Nearly half the people
     23 who reported losing crypto to a scam since 2021 said it started with an ad, post, or
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               Emma Fletcher, Data Spotlight: Reports show scammers cashing in on crypto
     27 craze, FED. TRADE COMM’N (June 3, 2022), https://www.ftc.gov/news-events/data-
        visualizations/data-spotlight/2022/06/reports-show-scammers-cashing-crypto-
     28 craze.
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      1 message on a social media platform.”99 Furthermore, “[d]uring this period, nearly
      2 four out of every ten dollars reported lost to a fraud originating on social media was
      3 lost in crypto, far more than any other payment method.”100 Of the reported crypto
      4 fraud losses that began on social media, most are investment scams.101 Indeed, since
      5 2021, $575 million of all crypto fraud losses reported to the FTC were about bogus
      6 investment opportunities, far more than any other fraud type. Executive Defendants
      7 and Promoter Defendants Pierce, Mayweather, and Kardashian engaged in the exact
      8 kind of bogus crypto “investment opportunity” scam that the FTC Data Spotlight
      9 reported on as causing hundreds of millions (and rising) of dollars of damage to
     10 investors.
     11        222. The conduct of the Executive Defendants and Promoter Defendants
     12 Pierce, Mayweather, and Kardashian – including, but not limited to, failing to
     13 disclose that (1) insiders held a significant portion of the Float at the time of the
     14 EMAX Token launch; and (2) the promotions by Promoter Defendants Pierce,
     15 Mayweather, and Kardashian were the result of them being paid to promote the
     16 EMAX Tokens instead of an organic interest/support of EthereumMax – was and is
     17 substantially injurious to consumers. Such conduct has caused, and continues to
     18 cause, substantial injury to consumers because consumers would not have continued
     19 with the transaction but for the deceptive, fraudulent, false, and unfair acts and
     20 practices alleged herein. Consumers have thus overpaid for EMAX Tokens. Such
     21 injury is not outweighed by any countervailing benefits to consumers or competition.
     22 Indeed, no benefit to consumers or competition results from the alleged conduct of
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                Id. (“From January 1, 2021 through March 31, 2022, 49% of fraud reports to
     24 the FTC indicating cryptocurrency as the payment method specified that the scam
        started on social media, compared to 37% in 2020, 18% in 2019, and 11% in 2018.”).
     25 100
                Id. (“From January 1, 2021 through March 31, 2022, $1.1 billion was reported
     26 to  the FTC   as lost to fraud originating on social media.”).
        101
                Id. (“From January 1, 2021 through March 31, 2022, people reported to the
     27 FTC that $417 million in cryptocurrency was lost to fraud originating on social
        media. $273 million of these losses were to fraud categorized as investment related,
     28 followed by romance scams ($69 million), and business imposters ($35 million).”).
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      1 the Executive Defendants and Promoter Defendants Pierce, Mayweather, and
      2 Kardashian. Since consumers reasonably rely on the representations, and could not
      3 have known about the omitted disclosures, and the injury results from ordinary use
      4 of their product, consumers could not have reasonably avoided such injury.
      5         223. The     Executive Defendants      and    Promoter Defendants Pierce,
      6 Mayweather, and Kardashian willfully and knowingly engaged in the deceptive and
      7 unfair acts and practices described above and knew or should have known that those
      8 acts and practices were unlawful and thus in violation of Cal. Bus. & Prof. Code
      9 §17200, et seq.
     10         224. These facts that the Executive Defendants and Promoter Defendants
     11 Pierce, Mayweather, and Kardashian omitted and concealed were material to the
     12 decisions of Plaintiffs Semerjian, Buckley, and Shah and the members of the class
     13 about whether to pay for EMAX Tokens, in that they would not have proceeded with
     14 the transaction but for the deceptive and unfair acts and practices.
     15         225. Defendants’ conduct harmed competition.            While the Executive
     16 Defendants and Promoter Defendants Pierce, Mayweather, and Kardashian cut
     17 corners and minimized costs, their competitors spent the time and money necessary
     18 to promote financial products and/or digital assets that complied with the applicable
     19 state and federal laws. Further, the injuries suffered by Plaintiffs are not outweighed
     20 by any countervailing benefits to consumers or competition. And because the
     21 Executive Defendants and Promoter Defendants Pierce, Mayweather, and
     22 Kardashian are solely responsible for their respective promotional activities and
     23 related disclosures (or lack thereof), there is no way Plaintiffs Semerjian or Shah, or
     24 the members of the class could have known about the payments that Promoter
     25 Defendants Pierce, Mayweather, and Kardashian received for pretending that they
     26 were interested in EthereumMax. There were reasonably available alternatives to
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      1 further EthereumMax’s legitimate business interests, such as including disclaimers,
      2 other than the conduct alleged herein.
      3        226. In order to have standing for a UCL claim, a plaintiff must meet the
      4 injury-in-fact requirement. This requirement is met where a plaintiff can “show that,
      5 by relying on a misrepresentation on a product label, they ‘paid more for a product
      6 than they otherwise would have paid, or bought it when they otherwise would not
      7 have done so.’” Reid, 780 F.3d at 958. A plaintiff’s claims under this California
      8 statute are governed by the “reasonable consumer” test. Freeman, 68 F.3d at 289
      9 (“‘[T]he false or misleading advertising and unfair business practices claim must be
     10 evaluated from the vantage of a reasonable consumer.’”). Under the reasonable
     11 consumer standard, a plaintiff must “show that ‘members of the public are likely to
     12 be deceived.’” Id. (quoting Bank of the West, 2 Cal. 4th at 1267).
     13        227. To meet the heightened pleading standard of Rule 9(b) for claims that
     14 sound in fraud, plaintiffs must plead “‘the who, what, when, where, and how’” of the
     15 alleged fraud. Vess, 317 F.3d at 1106.
     16        228. Plaintiff Semerjian is lifelong fan of professional sports, particularly
     17 basketball and boxing. Semerjian regularly watched Defendant Pierce when the latter
     18 played basketball professionally and then as a commentator on ESPN. Semerjian
     19 saw the promotions by Pierce on May 26, 2021, May 28, 2021, and May 30, 2021,
     20 respectively. These promotions regarding the growth potential and price increases
     21 for EMAX Tokens induced Semerjian to make his first and second purchases of
     22 EMAX Tokens on May 31, 2021 and June 1, 2021. Semerjian has also been aware
     23 of Defendant Mayweather from his many years of being a world champion boxer.
     24 Semerjian regularly sees posts from and about Mayweather on various social media
     25 platforms via the trending or discovery features of the platform.         Semerjian
     26 specifically saw Mayweather’s promotions of EthereumMax during the Bitcoin
     27 Miami conference (which were also promoted on the social media accounts for
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      1 EthereumMax, Maher, and Davis), as well as the promotions of EMAX Tokens on
      2 the lead up to and during the pay-per-view fight with Logan Paul, including the
      3 5/28/21 Press Release. Mayweather’s statements and promotions of EthereumMax
      4 gave Semerjian the false impression that Mayweather was more than a celebrity
      5 endorser but rather that he was an actual backer/investor in EMAX Tokens, and that
      6 he was making this particular cryptocurrency a part of his multimillion-dollar
      7 investment strategy. Each of these promotions induced Semerjian to make another
      8 purchase of EMAX Tokens on June 4, 2021. Semerjian is also aware of Defendant
      9 Kardashian’s reputation as celebrity influencer, and in particular, her renowned
     10 business savvy.     Semerjian also saw Defendant Kardashian’s June 14, 2021
     11 promotion of the EMAX Tokens. Semerjian believed Kardashian’s promotion and
     12 statements about the number of tokens being burned as indicating that the decrease
     13 in supply would cause his current investments in EMAX Tokens to correspondingly
     14 increase in value. Kardashian’s promotion induced Semerjian to continue to hold on
     15 to his investment in EMAX Tokens when he otherwise would not have done so.
     16        229. Semerjian also followed the EthereumMax Instagram page during the
     17 Relevant Period and saw the promotions from the Executive Defendants that were
     18 posted on that platform. Semerjian specifically saw the June 3, 2021 post regarding
     19 the EMAX Token price volatility that came from insider selling.           Semerjian
     20 reasonably believed that the price drop on EMAX Tokens only came from “a handful
     21 of larger wallets” of “early investors” who were “not part of the development team.”
     22 Similarly, Semerjian believed the statements that EthereumMax would still be
     23 accepted as a payment at David Grutman’s venues at a future date, despite the issues
     24 that caused the delay of the rollout. The misleading statements and omissions within
     25 the June 3, 2021 Instagram post from the Executive Defendants, in conjunction with
     26 the above-mentioned promotions from Defendants Pierce, Mayweather, and
     27 Kardashian, induced Semerjian to make his June 4, 2021 purchase of EMAX Tokens.
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      1 Similarly, this post, in conjunction with Defendant Kardashian’s posts regarding the
      2 ability to use EMAX Tokens as an accepted payment and the increase in value his
      3 investments in EMAX Tokens would receive if he continued to hold, caused
      4 Semerjian to retain his EMAX Token investment when he otherwise would not have
      5 done so.
      6        230. Plaintiff Buckley is a lifelong fan of professional sports, particularly
      7 basketball and boxing. Buckley regularly watched Defendant Pierce when the latter
      8 played professionally and then as a commentator on ESPN. Buckley saw the
      9 promotions by Pierce on May 26, 2021, and May 28, 2021, respectively. These
     10 promotions regarding the growth potential and price increases for EMAX Tokens
     11 induced Buckley to make his first two purchases of EMAX Tokens on May 28, 2021.
     12 In addition to Pierce, Buckley is aware of Defendant Brown’s football career and
     13 off-field conduct, and he specifically saw Brown’s May 29, 2021 promotion wherein
     14 Brown indicated that he wanted his next football contract to be paid in EMAX
     15 Tokens. Buckley also saw Pierce’s May 30, 2021 promotion of EthereumMax.
     16 Buckley has also been aware of Defendant Mayweather from his many years of
     17 being a world champion boxer. Buckley regularly sees posts from and about
     18 Mayweather on various social media platforms via the trending or discovery features
     19 of the platform.       Buckley specifically saw Mayweather’s promotions of
     20 EthereumMax during the Bitcoin Miami conference (which were also promoted on
     21 the social media accounts for EthereumMax, Maher, and Davis), as well as the
     22 promotions of EMAX Tokens on the lead up to and during the pay-per-view fight
     23 with Logan Paul, including the 5/28/21 Press Release. Mayweather’s statements and
     24 promotions of EthereumMax gave Buckley the false impression that Mayweather
     25 was more than a celebrity endorser but rather that he was an actual backer/investor
     26 in EMAX Tokens, and that he was making this particular cryptocurrency a part of
     27 his multimillion-dollar investment strategy.       Buckley also saw Defendant
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      1 Kardashian’s June 14, 2021 promotion of the EMAX Tokens. Buckley believed
      2 Kardashian’s promotion and statements about the number of tokens being burned as
      3 indicating that the decrease in supply would cause his current investments in EMAX
      4 Tokens to correspondingly increase in value. Each of these promotions induced
      5 Buckley to make his third and final purchase of EMAX Tokens on June 18, 2021.
      6 These promotions also induced Buckley to continue to hold on to his investment in
      7 EMAX Tokens when he otherwise would not have done so.
      8        231. Buckley also followed the EthereumMax Instagram page during the
      9 Relevant Period and saw the promotions from the Executive Defendants that were
     10 posted on that platform. Buckley specifically saw the June 3, 2021 post regarding
     11 the EMAX Token price volatility that came from insider selling.            Buckley
     12 reasonably believed that the price drop on EMAX Tokens only came from “a handful
     13 of larger wallets” of “early investors” who were “not part of the development team.”
     14 Similarly, Buckley believed the statements that EthereumMax would still be
     15 accepted as a payment at David Grutman’s venues at a future date, despite the issues
     16 that caused the delay of the rollout. The misleading statements and omissions within
     17 the June 3, 2021 Instagram post from the Executive Defendants, in conjunction with
     18 the above-mentioned promotions from Defendants Pierce, Mayweather, and
     19 Kardashian, induced Buckley to make his June 18, 2021 purchase of EMAX Tokens.
     20 Similarly, this post, in conjunction with Defendant Kardashian’s posts regarding the
     21 ability to use EMAX Tokens as an accepted payment and the increase in value his
     22 investments in EMAX Tokens would receive if he continued to hold, caused
     23 Buckley to retain his EMAX Token investment when he otherwise would not have
     24 done so.
     25        232. Buckley also saw the statements and promotions from Defendants
     26 Maher and Davis that were posted and/or reposted on various social media platforms.
     27 Buckley specifically saw the May 14, 2021 promotion from Maher touting the
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      1 approximately 500,000% increase the EMAX Token Price. Buckley reasonably
      2 believed that this price increase was the result of genuine investor interest. Buckley
      3 also saw Maher’s May 15, 2021 statement dismissing concerns about price volatility
      4 because the Executive Defendants “assured” Maher that “aside from marketing
      5 expenses they will not sell off any of their position[s] for at least six months.”
      6 Buckley believed the statement that EthereumMax insiders would not be selling their
      7 portion of the Float and driving the price of EMAX Tokens down. Similarly, Buckley
      8 saw and believed Maher’s solicitations in his May 17, 2021 social media post
      9 dismissing claims that EthereumMax was a “scam or pump and dump” and touting
     10 EMAX Tokens was a “[l]ong term” investment that investors like Plaintiffs and the
     11 class should “hold all the way.” Buckley also saw and relied on Davis’ May 18, 2021
     12 solicitation that is was “not too late” to purchase EMAX Tokens given their growth
     13 potential. These misleading statements and omissions by Davis and Maher induced
     14 Buckley to make his May 28, 2021 purchase of EMAX Tokens.
     15          233. Plaintiff Shah is lifelong fan of professional sports, particularly
     16 basketball and boxing. Shah regularly watched Defendant Pierce when the latter
     17 played basketball professionally and then as a commentator on ESPN. Shah follows
     18 Pierce on Twitter and saw the promotions by Pierce on May 26, 2021, May 28, 2021,
     19 and May 30, 2021, respectively. These promotions regarding the growth potential
     20 and price increases for EMAX Tokens induced Shah to make his first and second
     21 purchases of EMAX Tokens on May 29, 2021 and June 1, 2021. Shah has also been
     22 aware of Defendant Mayweather from his many years of being a world champion
     23 boxer.     Shah follows Mayweather on social media.           Shah specifically saw
     24 Mayweather’s promotions of EthereumMax during the Bitcoin Miami conference
     25 (which were also promoted on the social media accounts for EthereumMax, Maher,
     26 and Davis), as well as the promotions of EMAX Tokens on the lead up to and during
     27 the pay-per-view fight with Logan Paul, including the 5/28/21 Press Release.
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      1 Mayweather’s statements and promotions of EthereumMax gave Shah the false
      2 impression that Mayweather was more than a celebrity endorser but rather that he
      3 was an actual backer/investor in EMAX Tokens, and that he was making this
      4 particular cryptocurrency a part of his multimillion-dollar investment strategy. Each
      5 of these promotions induced Shah to make another purchase of EMAX Tokens on
      6 June 3, 2021 and June 11, 2021. Shah is also aware of Defendant Kardashian’s
      7 reputation as a celebrity influencer, and in particular, her renowned business savvy.
      8 Shah also saw Defendant Kardashian’s May 30, 2021 and June 14, 2021 promotion
      9 of the EMAX Tokens. Shah believed Kardashian’s promotion and statements about
     10 the number of tokens being burned as indicating that the decrease in supply would
     11 cause his current investments in EMAX tokens to correspondingly increase in value.
     12 Kardashian’s promotion induced Shah to continue to hold on to his investment in
     13 EMAX Tokens when he otherwise would not have done so.
     14         234. Shah also followed the EthereumMax Instagram page and other social
     15 media platforms like Telegram, Reddit, and Twitter during the Relevant Period and
     16 saw the promotions from the Executive Defendants that were posted.                 Shah
     17 specifically saw the June 3, 2021 post regarding the EMAX Token price volatility
     18 that came from insider selling. Shah reasonably believed that the price drop on
     19 EMAX Tokens only came from “a handful of larger wallets” of “early investors” who
     20 were “not part of the development team.” Similarly, Shah believed the statements
     21 that EthereumMax would still be accepted as a payment at David Grutman’s venues
     22 at a future date, despite the issues that caused the delay of the rollout. The misleading
     23 statements and omissions within the June 3, 2021 Instagram post from the Executive
     24 Defendants, in conjunction with the above-mentioned promotions from Defendants
     25 Pierce, Mayweather, and Kardashian, induced Shah to make his June 3, 2021 and
     26 June 11, 2021 purchases of EMAX Tokens. Similarly, this post, in conjunction with
     27 Defendant Kardashian’s posts regarding the ability to use EMAX Tokens as an
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      1 accepted payment and the increase in value his investments in EMAX Tokens would
      2 receive if he continued to hold, caused Shah to retain his EMAX Token investment
      3 when he otherwise would not have done so.
      4         235. Defendants engaged in deceptive acts and practices under California law
      5 by taking advantage of the lack of knowledge, ability, experience, or capacity of
      6 Plaintiffs to a grossly unfair degree, including but not limited to, in the following
      7 ways:
      8         (a)   knowingly and intentionally concealing the Executive Defendants’
      9 specific roles and ownership interests in EthereumMax;
     10         (b)   failing to disclose that the huge increase in price of the EMAX Tokens
     11 during the first days following launch were caused by manipulation by the Executive
     12 Defendants instead of being due to an organic increase in interest from investors;
     13         (c)   failing to disclose that EMAX Tokens were not being accepted as a
     14 payment and would not be at any point in the foreseeable future; and
     15         (d)   knowingly and intentionally using and/or failing to disclose the use of
     16 the Promotor Defendants to “instill trust” in uninformed investors to promote the
     17 financial benefits of a highly speculative and risky investment in EMAX Tokens, in
     18 an effort to manipulate and artificially inflate the price and trading volume of the
     19 EMAX Tokens and allow Defendants to sell their EMAX Tokens at those inflated
     20 prices.
     21         236. The Executive Defendants did not disclose that the EMAX Token
     22 developer held the number one rank with 23% ownership interest. Nor did they
     23 disclose until much later that the Executive Defendants had purposefully chosen not
     24 to lock the wallets of the EthereumMax insiders. Plaintiffs Semerjian, Buckley, and
     25 Shah would have found it material to their decision to purchase EMAX Tokens to
     26 know whether or not insiders had significant percentages of the available Float of
     27 EMAX Tokens with the ability to sell freely those EMAX Tokens and create massive
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      1 downward pressure. Likewise, had Semerjian, Buckley, and Shah been made aware
      2 of that information at the times of their purchases, as well as the later-revealed
      3 admission from Gentile that the Executive Defendants had chosen not to “lock the
      4 wallets” (which gives the ten original founding members, including Defendant Maher
      5 who held 5%, the ability to sell off their portions of EMAX Tokens without
      6 restriction), it would have altered their respective decisions to both purchase the
      7 EMAX Tokens for the price they paid as well and hold on to those EMAX Tokens
      8 when they otherwise would not have done so.
      9         237. The facts that the Executive Defendants and Promoter Defendants
     10 Pierce, Mayweather, and Kardashian misrepresented and concealed were material to
     11 the decisions of Plaintiffs Semerjian, Buckley, and Shah and the members of the class
     12 about whether to pay for or purchase EMAX Tokens (at all or for the price they paid),
     13 in that they would not have proceeded with their transactions but for the deceptive,
     14 fraudulent and false acts and practices.
     15         238. The Executive Defendants           and   Promoter Defendants Pierce,
     16 Mayweather, and Kardashian intended for Plaintiffs Semerjian, Buckley, and Shah
     17 and the members of the class to pay for EMAX Tokens in reliance upon their
     18 deceptive and fraudulent acts and practices.
     19         239. Had the Promoter Defendants disclosed the omitted information,
     20 Semerjian would have been aware of it because (a) he saw the actual promotions by
     21 Promoter Defendants Pierce, Mayweather, and Kardashian and would have
     22 concurrently seen any disclosure on the promotions themselves had it been included,
     23 and (b) because he follows, directly or indirectly, the social media accounts of, and
     24 news reports on, Promoter Defendants Pierce, Mayweather, and Kardashian.
     25         240. As a direct and proximate result of Defendants’ unlawful, unfair, and
     26 deceptive practices, Plaintiffs and Class members suffered damages. The Executive
     27 Defendants’ activities with the Promoter Defendants caused Plaintiffs and the Class
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      1 members to purchase and/or hold the EMAX Tokens when they otherwise would
      2 not have done so.
      3        241. The statements from Executive Defendants and Promoter Defendants
      4 Pierce, Mayweather, and Kardashian are actionable and not puffery.              “‘The
      5 distinguishing characteristics of puffery are vague, highly subjective claims as
      6 opposed to specific, detailed factual assertions.’” Orlick, 2013 WL 12139142, at *5.
      7 Under California law, there is no requirement that for a statement to be actionable it
      8 must also be false — the UCL also prohibits “‘advertising which, although true, is
      9 either actually misleading or which has a capacity, likelihood or tendency to deceive
     10 or confuse the public.’” Williams., 552 F.3d at 938. Significantly, even if certain
     11 statements would be non-actionable on their own, where there are multiple statements
     12 at issue, courts must consider “as a whole.” Id. at 939 n.3; Lima, 710 F. Supp. 2d at
     13 1007–08 (denying motion to dismiss where some specific representations could be
     14 considered puffery, but all of defendants’ statements “taken as a whole” might be
     15 actionable); NJOY, 2015 WL 12732461, at *10 (“‘Even assuming . . . that some of
     16 the statements would themselves be non-actionable, they “cannot be considered in
     17 isolation because they contribute to the [potentially] deceptive context” of the
     18 packaging and marketing “as a whole.”’”) (alteration in original).
     19        242. As alleged further above, the Executive Defendants’ May 16, 2021 Pre-
     20 launch Kickoff post stated, among other things, that (1) EMAX Tokens were up
     21 “500,000+% in the first 24 hours”; (2) the Executive Defendants had “locked in
     22 partnership with global digital marketing agency” and “lined up a knockout
     23 influencer” for a “nationwide campaign”; and (3) “We are 3 days in with ~$100M
     24 market cap and the train is just getting rolling.” These statements from Executive
     25 Defendants are specific, detailed factual assertions the Executive Defendants were
     26 using to encourage purchases and increase the price of the EMAX Tokens. At the
     27 same time, the Executive Defendants Maher and Speer, with Promoter Defendant
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      1 Davis, each failed to disclose that these metrics were the result of the failed launch
      2 that allowed insiders, including but not limited to Maher, to disproportionately
      3 increase the price of the EMAX Tokens with their early trades.
      4         243. Taken together, the misleading statements and omissions of the
      5 Executive Defendants and Promoter Defendants Davis, Pierce, Mayweather, and
      6 Kardashian contributed to the deceptive marketing tactics as a whole, which were
      7 used to solicit sales of EMAX Tokens.
      8         244. Plaintiffs seek to enjoin further unlawful, unfair, and/or fraudulent acts
      9 or practices by EthereumMax, to obtain restitution and disgorgement of all monies
     10 generated as a result of such practices, and for all other relief allowed under California
     11 Business & Professions Code §17200.
     12                              THIRD CAUSE OF ACTION
     13                 Violation of the California Unfair Competition Law
                                   Cal. Bus. & Prof. Code §17200
     14                      (Based on Fraudulent Acts and Practices)
                                      (Against All Defendants)
     15
                245. Plaintiffs restate and reallege all preceding allegations above as if fully
     16
          set forth herein, and further alleges as follows.
     17
                246. Plaintiffs Semerjian, Buckley, and Shah are residents of the State of
     18
          California.
     19
                247. Plaintiffs Semerjian, Buckley, and Shah paid for or purchased EMAX
     20
          Tokens in California and thus the deceptive transactions alleged herein occurred in
     21
          California.
     22
                248. At all relevant times there was in full force and effect the California
     23
          Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §17200, et seq., which
     24
          prohibits, inter alia, “any unlawful, unfair, or fraudulent business act or practice” and
     25
          “unfair, deceptive, untrue, or misleading advertising.”
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      1        249. “‘[A]n act can be alleged to violate any or all three of the three prongs
      2 of the UCL — unlawful, unfair, or fraudulent.’” Stearns, 763 F. Supp. 2d at 1149
      3 (quoting Berryman, 152 Cal. App. 4th at 1554).
      4        250. Any violation of the California false advertising laws (e.g., §17500)
      5 necessarily violates the “fraudulent” prong of the UCL.
      6        251. To meet the heightened pleading standard of Rule 9(b) for claims that
      7 sound in fraud, plaintiffs must plead “‘the who, what, when, where, and how’” of the
      8 alleged fraud. Vess, 317 F.3d at 1106.
      9        252. In order to have standing under California law for a UCL claim, a
     10 plaintiff must meet the injury-in-fact requirement. This requirement is met where a
     11 plaintiff can “show that, by relying on a misrepresentation on a product label, they
     12 ‘paid more for a product than they otherwise would have paid, or bought it when they
     13 otherwise would not have done so.’” Reid, 780 F.3d at 958.
     14        253. A plaintiff’s claims under this California statute are governed by the
     15 “reasonable consumer” test. Freeman, 68 F.3d at 289 (“‘[T]he false or misleading
     16 advertising and unfair business practices claim must be evaluated from the vantage
     17 of a reasonable consumer.’”). Under the reasonable consumer standard, a plaintiff
     18 must “show that ‘members of the public are likely to be deceived.’” Id. at 289
     19 (quoting Bank of the West, 2 Cal. 4th at 1267).
     20        254. Plaintiff Semerjian is a lifelong fan of professional sports, particularly
     21 basketball and boxing. Semerjian regularly watched Defendant Pierce when the latter
     22 played professionally and then as a commentator on ESPN. Semerjian saw the
     23 promotions by Pierce on May 26, 2021, May 28, 2021, and May 30, 2021,
     24 respectively. These promotions regarding the growth potential and price increases
     25 for EMAX Tokens induced Semerjian to make his first and second purchases of
     26 EMAX Tokens on May 31, 2021 and June 1, 2021. Semerjian has also been aware
     27 of Defendant Mayweather from his many years of being a world champion boxer.
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      1 Semerjian regularly sees posts from and about Mayweather on various social media
      2 platforms via the trending or discovery features of the platform.         Semerjian
      3 specifically saw Mayweather’s promotions of EthereumMax during the Bitcoin
      4 Miami conference (which were also promoted on the social media accounts for
      5 EthereumMax, Maher, and Davis), as well as the promotions of EMAX Tokens on
      6 the lead up to and during the pay-per-view fight with Logan Paul, including the
      7 5/28/21 Press Release. Mayweather’s statements and promotions of EthereumMax
      8 gave Semerjian the false impression that Mayweather was more than a celebrity
      9 endorser but rather that he was an actual backer/investor in EMAX Tokens, and that
     10 he was making this particular cryptocurrency a part of his multimillion-dollar
     11 investment strategy. Each of these promotions induced Semerjian to make another
     12 purchase of EMAX Tokens on June 4, 2021.            Semerjian also saw Defendant
     13 Kardashian’s June 14, 2021 promotion of the EMAX Tokens. Semerjian believed
     14 Kardashian’s promotion and statements about the number of tokens being burned as
     15 indicating that the decrease in supply would cause his current investments in EMAX
     16 Tokens to correspondingly increase in value. Kardashian’s promotion induced
     17 Semerjian to continue to hold on to his investment in EMAX Tokens when he
     18 otherwise would not have done so.
     19        255. Semerjian also followed the EthereumMax Instagram page during the
     20 Relevant Period and saw the promotions from the Executive Defendants that were
     21 posted on that platform. Semerjian specifically saw the June 3, 2021 post regarding
     22 the EMAX Token price volatility that came from insider selling.           Semerjian
     23 reasonably believed that the price drop on EMAX Tokens only came from “a handful
     24 of larger wallets” of “early investors” who were “not part of the development team.”
     25 Similarly, Semerjian believed the statements that EthereumMax would still be
     26 accepted as a payment at David Grutman’s venues at a future date, despite the issues
     27 that caused the delay of the rollout. The misleading statements and omissions within
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      1 the June 3, 2021 Instagram post from the Executive Defendants, in conjunction with
      2 the above-mentioned promotions from Defendants Pierce, Mayweather, and
      3 Kardashian, induced Semerjian to make his June 4, 2021 purchase of EMAX Tokens.
      4 Similarly, this post, in conjunction with Defendant Kardashian’s posts regarding the
      5 ability to use EMAX Tokens as an accepted payment and the increase in value his
      6 investments in EMAX Tokens would receive if he continued to hold, caused
      7 Semerjian to retain his EMAX Token investment when he otherwise would not have
      8 done so.
      9        256. Plaintiff Buckley is a lifelong fan of professional sports, particularly
     10 basketball and boxing. Buckley regularly watched Defendant Pierce when the latter
     11 played professionally and then as a commentator on ESPN. Buckley saw the
     12 promotions by Pierce on May 26, 2021, and May 28, 2021, respectively. These
     13 promotions regarding the growth potential and price increases for EMAX Tokens
     14 induced Buckley to make his first two purchases of EMAX Tokens on May 28, 2021.
     15 In addition to Pierce, Buckley is aware of Defendant Brown’s football career and
     16 off-field conduct, and he specifically saw Brown’s May 29, 2021 promotion wherein
     17 Brown indicated that he wanted his next football contract to be paid in EMAX
     18 Tokens. Buckley also saw Pierce’s May 30, 2021 promotion of EthereumMax.
     19 Buckley has also been aware of Defendant Mayweather from his many years of
     20 being a world champion boxer. Buckley regularly sees posts from and about
     21 Mayweather on various social media platforms via the trending or discovery features
     22 of the platform.       Buckley specifically saw Mayweather’s promotions of
     23 EthereumMax during the Bitcoin Miami conference (which were also promoted on
     24 the social media accounts for EthereumMax, Maher, and Davis), as well as the
     25 promotions of EMAX Tokens on the lead up to and during the pay-per-view fight
     26 with Logan Paul, including the 5/28/21 Press Release. Mayweather’s statements and
     27 promotions of EthereumMax gave Buckley the false impression that Mayweather
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      1 was more than a celebrity endorser but rather that he was an actual backer/investor
      2 in EMAX Tokens, and that he was making this particular cryptocurrency a part of
      3 his multimillion-dollar investment strategy.        Buckley also saw Defendant
      4 Kardashian’s June 14, 2021 promotion of the EMAX Tokens. Buckley believed
      5 Kardashian’s promotion and statements about the number of tokens being burned as
      6 indicating that the decrease in supply would cause his current investments in EMAX
      7 Tokens to correspondingly increase in value. Each of these promotions induced
      8 Buckley to make his third and final purchase of EMAX Tokens on June 18, 2021.
      9 These promotions also induced Buckley to continue to hold on to his investment in
     10 EMAX Tokens when he otherwise would not have done so.
     11        257. Buckley also followed the EthereumMax Instagram page during the
     12 Relevant Period and saw the promotions from the Executive Defendants that were
     13 posted on that platform. Buckley specifically saw the June 3, 2021 post regarding
     14 the EMAX Token price volatility that came from insider selling.            Buckley
     15 reasonably believed that the price drop on EMAX Tokens only came from “a handful
     16 of larger wallets” of “early investors” who were “not part of the development team.”
     17 Similarly, Buckley believed the statements that EthereumMax would still be
     18 accepted as a payment at David Grutman’s venues at a future date, despite the issues
     19 that caused the delay of the rollout. The misleading statements and omissions within
     20 the June 3, 2021 Instagram post from the Executive Defendants, in conjunction with
     21 the above-mentioned promotions from Defendants Pierce, Mayweather, and
     22 Kardashian, induced Buckley to make his June 18, 2021 purchase of EMAX Tokens.
     23 Similarly, this post, in conjunction with Defendant Kardashian’s posts regarding the
     24 ability to use EMAX Tokens as an accepted payment and the increase in value his
     25 investments in EMAX Tokens would receive if he continued to hold, caused
     26 Buckley to retain his EMAX Token investment when he otherwise would not have
     27 done so.
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      1          258. Buckley also saw the statements and promotions from Defendants
      2 Maher and Davis that were posted and/or reposted on various social media platforms.
      3 Buckley specifically saw the May 14, 2021 promotion from Maher touting the
      4 approximately 500,000% increase in the EMAX Token Price. Buckley reasonably
      5 believed that this price increase was the result of genuine investor interest. Buckley
      6 also saw Maher’s May 15, 2021 statement dismissing concerns about price volatility
      7 because the Executive Defendants “assured” Maher that “aside from marketing
      8 expenses they will not sell off any of their position[s] for at least six months.”
      9 Buckley believed the statement that EthereumMax insiders would not be selling their
     10 portion of the Float and driving the price of EMAX Tokens down. Similarly, Buckley
     11 saw and believed Maher’s solicitations in his May 17, 2021 social media post
     12 dismissing claims that EthereumMax was a “scam or pump and dump” and touting
     13 EMAX Tokens were a “[l]ong term” investment that investors like Plaintiffs and the
     14 class should “hold all the way.” Buckley also saw and relied on Davis’ May 18, 2021
     15 solicitation that is was “not too late” to purchase EMAX Tokens given their growth
     16 potential. These misleading statements and omissions by Davis and Maher induced
     17 Buckley to make his May 28, 2021 purchase of EMAX Tokens.
     18          259. Plaintiff Shah is a lifelong fan of professional sports, particularly
     19 basketball and boxing. Shah regularly watched Defendant Pierce when the latter
     20 played basketball professionally and then as a commentator on ESPN. Shah follows
     21 Pierce on Twitter and saw the promotions by Pierce on May 26, 2021, May 28, 2021,
     22 and May 30, 2021, respectively. These promotions regarding the growth potential
     23 and price increases for EMAX Tokens induced Shah to make his first and second
     24 purchases of EMAX Tokens on May 29, 2021 and June 1, 2021. Shah has also been
     25 aware of Defendant Mayweather from his many years of being a world champion
     26 boxer.     Shah follows Mayweather on social media.           Shah specifically saw
     27 Mayweather’s promotions of EthereumMax during the Bitcoin Miami conference
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      1 (which were also promoted on the social media accounts for EthereumMax, Maher,
      2 and Davis), as well as the promotions of EMAX Tokens on the lead up to and during
      3 the pay-per-view fight with Logan Paul, including the 5/28/21 Press Release.
      4 Mayweather’s statements and promotions of EthereumMax gave Shah the false
      5 impression that Mayweather was more than a celebrity endorser but rather that he
      6 was an actual backer/investor in EMAX Tokens, and that he was making this
      7 particular cryptocurrency a part of his multimillion-dollar investment strategy. Each
      8 of these promotions induced Shah to make another purchase of EMAX Tokens on
      9 June 3, 2021 and June 11, 2021. Shah is also aware of Defendant Kardashian’s
     10 reputation as celebrity influencer, and in particular, her renowned business savvy.
     11 Shah also saw Defendant Kardashian’s May 30, 2021 and June 14, 2021 promotion
     12 of the EMAX Tokens. Shah believed Kardashian’s promotion and statements about
     13 the number of tokens being burned as indicating that the decrease in supply would
     14 cause his current investments in EMAX Tokens to correspondingly increase in value.
     15 Kardashian’s promotion induced Shah to continue to hold on to his investment in
     16 EMAX Tokens when he otherwise would not have done so.
     17         260. Shah also followed the EthereumMax Instagram page and other social
     18 media platforms like Telegram, Reddit, and Twitter during the Relevant Period and
     19 saw the promotions from the Executive Defendants that were posted.                 Shah
     20 specifically saw the June 3, 2021 post regarding the EMAX Token price volatility
     21 that came from insider selling. Shah reasonably believed that the price drop on
     22 EMAX Tokens only came from “a handful of larger wallets” of “early investors” who
     23 were “not part of the development team.” Similarly, Shah believed the statements
     24 that EthereumMax would still be accepted as a payment at David Grutman’s venues
     25 at a future date, despite the issues that caused the delay of the rollout. The misleading
     26 statements and omissions within the June 3, 2021 Instagram post from the Executive
     27 Defendants, in conjunction with the above-mentioned promotions from Defendants
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      1 Pierce, Mayweather, and Kardashian, induced Shah to make his June 3, 2021 and
      2 June 11, 2021 purchases of EMAX Tokens. Similarly, this post, in conjunction with
      3 Defendant Kardashian’s posts regarding the ability to use EMAX Tokens as an
      4 accepted payment and the increase in value his investments in EMAX Tokens would
      5 receive if he continued to hold, caused Shah to retain his EMAX Token investment
      6 when he otherwise would not have done so.
      7         261. The facts that the Executive Defendants and Promoter Defendants
      8 Davis, Pierce, Mayweather, and Kardashian misrepresented and concealed were
      9 material to the decisions of Plaintiffs Semerjian, Buckley, and Shah and the members
     10 of the class about whether to pay for or purchase EMAX Tokens (at all or for the
     11 price they paid), in that they would not have proceeded with their transactions but for
     12 the deceptive, fraudulent, and false acts and practices.
     13         262. The Executive Defendants and Promoter Defendants Davis, Pierce,
     14 Mayweather, and Kardashian intended for Plaintiffs Semerjian, Buckley, and Shah
     15 and the members of the class to pay for EMAX Tokens in reliance upon their
     16 deceptive and fraudulent acts and practices.
     17         263. Defendants engaged in deceptive acts and practices under California law
     18 by taking advantage of the lack of knowledge, ability, experience, or capacity of
     19 Plaintiffs to a grossly unfair degree, including but not limited to, in the following
     20 ways:
     21               (a)    knowingly    and    intentionally     concealing   the   Executive
     22 Defendants’ specific roles and ownership interests in EthereumMax;
     23               (b)    failing to disclose that the huge increase in price of the EMAX
     24 Tokens during first days following launch were caused by manipulation by the
     25 Executive Defendants instead of being due to an organic increase in interest from
     26 investors;
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      1               (c)    leading investors to believe that the EMAX Token would be
      2 available for use as a payment at select locations when there was no such capability;
      3 and
      4               (d)    knowingly and intentionally using and/or failing to disclose the
      5 use of the Promotor Defendants to “instill trust” in uninformed investors to promote
      6 the financial benefits of a highly speculative and risky investment in EMAX Tokens,
      7 in an effort to manipulate and artificially inflate the price and trading volume of the
      8 EMAX Tokens and allow Defendants to sell their EMAX Tokens at those inflated
      9 prices.
     10         264. The Executive Defendants did not disclose that the EMAX Token
     11 developer held the number one rank with 23% ownership interest. Nor did they
     12 disclose until much later that the Executive Defendants had purposefully chosen not
     13 to lock the wallets of the EthereumMax insiders. Semerjian, Buckley, and Shah
     14 would have found it material to their decision to purchase EMAX Tokens to know
     15 whether or not insiders had significant percentages of the available Float of EMAX
     16 Tokens with the ability to sell freely those EMAX Tokens and create massive
     17 downward pressure. Likewise, had Semerjian, Buckley, and Shah been made aware
     18 of that information at the times of their purchases, as well as the later-revealed
     19 admission from Gentile that the Executive Defendants had chosen not to “lock the
     20 wallets” (which gives the ten original founding members, including Defendant Maher
     21 who held 5%, the ability to sell off their portions of EMAX Tokens without
     22 restriction), it would have altered their decisions to both purchase the EMAX Tokens
     23 for the price they paid as well and hold on to those EMAX Tokens when they
     24 otherwise would not have done so.
     25         265. Had the Promoter Defendants disclosed the omitted information,
     26 Semerjian, Buckley, and Shah would have been aware of it because (a) they saw the
     27 actual promotions by the Executive Defendants and Promoter Defendants Pierce,
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    1 Mayweather, and Kardashian and would have concurrently seen any disclosure on
    2 the promotions themselves had it been included, and (b) because they follow, directly
    3 or indirectly, the social media accounts of, and news reports on, Promoter Defendants
    4 Pierce, Mayweather, and Kardashian.
    5        266. As a direct and proximate result of Defendants’ unlawful, unfair, and
    6 deceptive practices, Plaintiffs and Class members suffered damages. The Executive
    7 Defendants’ activities with the Promoter Defendants caused Plaintiffs and the Class
    8 members to purchase and/or hold the EMAX Tokens when they otherwise would not
    9 have done so.
  10         267. The statements from Executive Defendants and Promoter Defendants
  11 Pierce, Mayweather, and Kardashian are actionable and not puffery.              “‘The
  12 distinguishing characteristics of puffery are vague, highly subjective claims as
  13 opposed to specific, detailed factual assertions.’” Orlick, 2013 WL 12139142, at *5.
  14 Under California law, there is no requirement that for a statement to be actionable it
  15 must also be false — the UCL also prohibits “‘advertising which, although true, is
  16 either actually misleading or which has a capacity, likelihood or tendency to deceive
  17 or confuse the public.’” Williams., 552 F.3d at 938. Significantly, even if certain
  18 statements would be non-actionable on their own, where there are multiple statements
  19 at issue, courts must consider “as a whole.” Id. at 939 n.3; Lima, 710 F. Supp. 2d at
  20 1007-08 (denying motion to dismiss where some specific representations could be
  21 considered puffery, but all of defendants’ statements “taken as a whole” might be
  22 actionable); NJOY, 2015 WL 12732461, at *10 (“‘Even assuming . . . that some of
  23 the statements would themselves be non-actionable, they “cannot be considered in
  24 isolation because they contribute to the [potentially] deceptive context” of the
  25 packaging and marketing “as a whole.”’”) (alteration in original).
  26         268. As alleged further above, the Executive Defendants’ May 16, 2021 Pre-
  27 launch Kickoff post stated, among other things, that (1) EMAX Tokens were up
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    1 “500,000+% in the first 24 hours”; (2) the Executive Defendants had “locked in
    2 partnership with global digital marketing agency” and “lined up a knockout
    3 influencer” for a “nationwide campaign”; and (3) “We are 3 days in with ~$100M
    4 market cap and the train is just getting rolling.” These statements from Executive
    5 Defendants are specific, detailed factual assertions the Executive Defendants were
    6 using to encourage purchases and increase the price of the EMAX Tokens. At the
    7 same time, the Executive Defendants Maher and Speer, with Promoter Defendant
    8 Davis, each failed to disclose that these metrics were the result of the failed launch
    9 that allowed insiders, including but not limited to Maher, to disproportionately
  10 increase the price of the EMAX Tokens with their early trades.
  11         269. Taken together, the misleading statements and omissions of the
  12 Executive Defendants and Promoter Defendants Davis, Pierce, Mayweather, and
  13 Kardashian contributed to the deceptive marketing tactics as a whole, which were
  14 used to solicit sales of EMAX Tokens.
  15         270. Plaintiffs seek to enjoin further unlawful, unfair, and/or fraudulent acts
  16 or practices by EthereumMax, to obtain restitution and disgorgement of all monies
  17 generated as a result of such practices, and for all other relief allowed under California
  18 Business & Professions Code §17200.
  19                            FOURTH CAUSE OF ACTION
  20                  Violation of the California False Advertising Law
                            Cal. Bus. & Prof. Code §17500, et seq.
  21                          (Against Defendant Kardashian)
  22         271. Plaintiffs restate and reallege all preceding allegations above as if fully
  23 set forth herein.
  24         272. Plaintiffs Semerjian, Buckley, and Shah are residents of the State of
  25 California.
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    1         273. Plaintiffs Semerjian, Buckley, and Shah paid for or purchased EMAX
    2 Tokens in California and thus the deceptive transactions alleged herein occurred in
    3 California.
    4         274. The “‘primary evidence’” is the “‘advertising itself.’”        Brockey v.
    5 Moore, 107 Cal. App. 4th 86, 100 (2003). The Ninth Circuit has recognized that the
    6 question of whether advertising materials are deceptive to a reasonable consumer
    7 “will usually be a question of fact not appropriate for decision” at the pleading stage.
    8 Williams, 552 F.3d at 938.
    9         275. In order to have standing under California law for a False Advertising
  10 Law (“FAL”) claim, a plaintiff must meet the injury-in-fact requirement. This
  11 requirement is met where a plaintiff can “show that, by relying on a misrepresentation
  12 on a product label, they ‘paid more for a product than they otherwise would have
  13 paid, or bought it when they otherwise would not have done so.’” Reid, 780 F.3d at
  14 958.
  15          276. Plaintiffs Semerjian, Buckley, and Shah saw Defendant Kardashian’s
  16 May 30, 2021 and June 14, 2021 promotions of the EMAX Tokens. Semerjian,
  17 Buckley, and Shah believed Kardashian’s promotion and statements about the ability
  18 to use EMAX Tokens as an accepted payment at Club LIV and the number of tokens
  19 being burned as indicating that the decrease in supply would cause their current
  20 investments in EMAX Tokens to correspondingly increase in value. Kardashian’s
  21 promotions induced Semerjian, Buckley, and Shah to continue to hold on to their
  22 respective investments in EMAX Tokens when they each otherwise would not have
  23 done so.
  24          277. At all relevant times there was in full force and effect the California
  25 False Advertising Law, Cal. Bus. & Prof. Code §17500, et seq., which prohibits, inter
  26 alia, any public statement made “to induce the public to enter into any obligation
  27 relating” to the disposal of real or personal property “which is untrue or misleading,
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    1 and which is known, or which by the exercise of reasonable care should be known,
    2 to be untrue and misleading.”
    3        278. Kardashian used online and social media advertising to sell the EMAX
    4 Tokens. Kardashian disseminated (and could continue to do so in the future)
    5 advertising concerning the EMAX Token which by its very nature is deceptive,
    6 untrue, or misleading within the meaning of Cal. Bus. & Prof. Code §17500 because
    7 those advertising statements are misleading and likely to deceive, and continue to
    8 deceive, members of the Class and the general public.
    9        279. In making and disseminating the statements alleged herein, Kardashian
  10 knew that the statements were untrue or misleading, and acted in violation of Cal.
  11 Bus. & Prof. Code §17500.
  12         280. The misrepresentations and non-disclosures by Kardashian of the
  13 material facts detailed above constitute false and misleading advertising and therefore
  14 constitute a violation of Cal. Bus. & Prof. Code §17500.
  15         281. Through her deceptive acts and practices, Kardashian has improperly
  16 and illegally obtained money from Plaintiffs and the members of the Class. As such,
  17 Plaintiffs request that this Court cause Defendant Kardashian to restore this money
  18 to Plaintiffs and the members of the Class, and to enjoin Defendant from continuing
  19 to violate Cal. Bus. & Prof. Code §17500, as discussed above. Otherwise, Plaintiffs
  20 and those similarly situated will continue to be harmed by Kardashian’s false and/or
  21 misleading advertising regarding EMAX Tokens.
  22         282. “Any violation of [Cal. Bus. & Prof. Code §17500] is a misdemeanor
  23 punishable by imprisonment in county jail not exceeding six months, or by a fine not
  24 exceeding two thousand five hundred dollars ($2,500), or by both that imprisonment
  25 and fine.” Cal. Bus. & Prof. Code §17500.
  26         283. “Punishment is partly an expression of a society’s desire to inflict pain
  27 on those who break the law. But giving wealthy offenders a mere slap on the wrist
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    1 makes a mockery of that objective. And while punishment is supposed to prevent
    2 undesirable conduct from happening in the first place, flat fines deter the wealthy less
    3 than everyone else.”102
    4         284. Given Kardashian’s status as one of the country’s most influential and
    5 wealth celebrity promotors – someone who regularly makes millions of dollars from
    6 similarly promoting products to her massive following on social media – the
    7 maximum fine of only $2,500 for a violation of Cal. Bus. & Prof. Code §17500 will
    8 do little, if anything, to deter Kardashian from making false and misleading
    9 advertisements in the future.
  10          285. In addition, pursuant to Cal. Bus. & Prof. Code §17535, Plaintiffs seek
  11 an Order of this Court ordering Defendants to fully disclose the true nature of their
  12 misrepresentations. Plaintiffs additionally request an Order requiring Kardashian to
  13 disgorge her ill-gotten gains and/or award full restitution of all monies wrongfully
  14 acquired by Kardashian by means of such acts of false advertising, plus interest and
  15 attorneys’ fees so as to restore any and all monies which were acquired and obtained
  16 by means of such untrue and misleading advertising, misrepresentations and
  17 omissions, and which ill-gotten gains are still retained by Kardashian. Plaintiffs and
  18 those similarly situated may be irreparably harmed and/or denied an effective and
  19 complete remedy if such an Order is not granted.
  20          286. Kardashian’s conduct is ongoing and continues to this date. Plaintiffs
  21 and the Classes are therefore entitled to the relief sought.
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           Alec Schierenbeck, A Billionaire and a Nurse Shouldn’t Pay the Same Fine
  28 for  Speeding,   N.Y. TIMES (Mar. 15, 2018), https://www.nytimes.com
     /2018/03/15/opinion/flat-fines-wealthy-poor.html.
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    1                              FIFTH CAUSE OF ACTION
    2 Violation of Florida’s Deceptive and Unfair Trade Practices Act (“FDUTPA”)
                              Ch. 501, §211(1), Fla. Stat. Ann.
    3                            (Against All Defendants)
    4
              287. Plaintiffs restate and reallege all preceding allegations above as if fully
    5
        set forth herein, and further alleges as follows:
    6
              288. Plaintiffs Nahlah, Freeman, Brignol, and Puda are residents of the State
    7
        of Florida.
    8
              289. Plaintiffs Nahlah, Freeman, Puda, and Brignol paid for or purchased
    9
        EMAX Tokens in Florida and thus the deceptive transactions alleged herein occurred
  10
        in Florida.
  11
              290. Chapter 501, Fla. Stat., FDUTPA is to be liberally construed to protect
  12
        the consuming public, such as Plaintiffs in this case, from those who engage in unfair
  13
        methods of competition, or unconscionable, deceptive or unfair acts or practices in
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        the conduct of any trade or commerce.
  15
              291. Plaintiffs are “consumers” within the meaning of Fla. Stat. §501.203(7).
  16
              292. By soliciting investor funds in the manner in which they did, Defendants
  17
        engaged in “trade and commerce” within the meaning of Fla. Stat. §501.203(8).
  18
              293. The elements comprising a consumer claim for damages under
  19
        FDUTPA are: (1) a deceptive act or unfair practice; (2) causation; and (3) actual
  20
        damages. Carriuolo v. Gen. Motors Co., 823 F.3d 977, 983 (11th Cir. 2016) (citing
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        City First Mortg. Corp. v. Barton, 988 So. 2d 82, 86 (Fla. Dist. Ct. App. 2008)).
  22
              294. Under FDUTPA, “‘deception occurs if there is a representation,
  23
        omission, or practice that is likely to mislead the consumer acting reasonably in the
  24
        circumstances, to the consumer's detriment.’” Zlotnick v. Premier Sales Grp., Inc.,
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        480 F.3d 1281, 1284 (11th Cir. 2007) (quoting PNR, Inc. v. Beacon Prop. Mgmt.,
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        Inc., 842 So. 2d 773, 777 (Fla. 2003)). “Under Florida law, an objective test is
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        employed in determining whether the practice was likely to deceive a consumer
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    1 acting reasonably. That is, ‘[a] party asserting a deceptive trade practice claim need
    2 not show actual reliance on the representation or omission at issue.’” Carriuolo, 823
    3 F.3d at 984 (quoting Davis v. Powertel, Inc., 776 So. 2d 971, 973 (Fla. Dist. Ct. App.
    4 2000).
    5        295. Here, Plaintiffs Nahlah, Freeman, Puda and Brignol nevertheless did, in
    6 fact, reasonably rely on the alleged misleading statements and omissions when
    7 making their respective decisions to purchase the EMAX Tokens.
    8        296. A plaintiff’s claims under FDUPTA are governed by the “reasonable
    9 consumer” test. Piescik v. CVS Pharmacy, Inc., 576 F. Supp. 3d 1125, 1132 n.2 (S.D.
  10 Fla. 2021) (“This case was brought under California’s consumer protection laws,
  11 which apply the same ‘reasonable consumer’ test for deception as applied in
  12 interpreting FDUTPA.”).
  13         297. Plaintiff Nahlah is a lifelong fan of professional sports, particularly
  14 basketball and boxing. Nahlah regularly watched Defendant Pierce when the latter
  15 played professionally and then as a commentator on ESPN. Nahlah saw Defendant
  16 Pierce’s May 26, 2021 and May 28, 2021, respectively. These promotions induced
  17 Nahlah to make his first purchase of EMAX Tokens on May 28, 2021. Nahlah also
  18 follows Defendant Mayweather’s career and social media accounts.               Nahlah
  19 specifically saw Mayweather’s promotion of EthereumMax during the Bitcoin Miami
  20 conference (which were also promoted on the social media accounts for
  21 EthereumMax, Maher, and Davis), as well as the promotions of EMAX Tokens
  22 during the pay-per-view fight with Logan Paul, including the 5/28/21 Press Release.
  23 Mayweather’s statements and promotions of EthereumMax gave Nahlah the false
  24 impression that Mayweather was more than a celebrity endorser but rather that he
  25 was an actual backer/investor in EMAX Tokens, and that he was making this
  26 particular cryptocurrency a part of his multimillion-dollar investment strategy. These
  27 promotions induced Nahlah to make six more purchases of EMAX Tokens on June
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    1 4, 2021, June 5, 2021, June 6, 2021, June 7, 2021, June 8, 2021, and June 10, 2021.
    2 Nahlah also saw Defendant Kardashian’s May 30, 2021 and June 14, 2021
    3 promotions of the EMAX Tokens. Nahlah often visited Club LIV during the
    4 Relevant Period and was particularly enticed by Kardashian’s promotion to use
    5 EMAX Tokens there. Furthermore, Nahlah believed Kardashian’s promotion and
    6 statements about the number of tokens being burned as indicating that the decrease
    7 in supply would cause his current investments in EMAX Tokens to correspondingly
    8 increase in value. Kardashian’s promotions induced Nahlah to make additional
    9 purchases of EMAX Tokens as well as continuing to hold on to his investment in
  10 EMAX Tokens when he otherwise would not have done so.
  11         298. Nahlah also followed the EthereumMax Instagram page during the
  12 Relevant Period and saw the promotions from the Executive Defendants that were
  13 posted on that platform. Nahlah specifically saw the May 16, 2021 post related to
  14 the “EthereumMax Pre-launch Kickoff,” which promoted the growth of the EMAX
  15 Tokens and alluded to a relationship with Defendant Mayweather as a “knockout
  16 influencer.” Nahlah also saw the June 3, 2021 post regarding the EMAX Token price
  17 volatility that came from insider selling. Nahlah reasonably believed that the price
  18 drop on EMAX Tokens only came from “a handful of larger wallets” of “early
  19 investors” who were “not part of the development team,” as opposed to those insiders
  20 like Defendant Maher. Similarly, Nahlah believed the statements that EthereumMax
  21 would still be accepted as a payment at David Grutman’s venues at a future date,
  22 despite the issues that caused the delay of the rollout. The misleading statements and
  23 omissions within the June 3, 2022 Instagram post from the Executive Defendants, in
  24 conjunction with the above-mentioned promotions from Defendants Pierce,
  25 Mayweather, and Kardashian, caused Nahlah to make his June 4, 2021, June 5, 2021,
  26 June 6, 2021, June 7, 2021, June 8, 2021, and June 10, 2021 purchases of EMAX
  27 Tokens. Similarly, this post, in conjunction with Defendant Kardashian’s posts
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    1 regarding the ability to use EMAX Tokens as an accepted payment and the increase
    2 in value his investments in EMAX Tokens would receive if he continued to hold,
    3 caused Nahlah to retain his EMAX Token investment when he otherwise would not
    4 have done so.
    5        299. Nahlah also saw the statements and promotions from Defendants Maher
    6 and Davis that were posted and/or reposted on various social media platforms. Nahlah
    7 specifically saw the May 14, 2021 promotion from Maher touting the approximately
    8 500,000% increase the EMAX Token Price. Nahlah reasonably believed that this
    9 price increase was the result of genuine investor interest. Nahlah also saw Maher’s
  10 May 15, 2021 statement dismissing concerns about price volatility because the
  11 Executive Defendants “assured” Maher that “aside from marketing expenses they
  12 will not sell off any of their position for at least six months.” Nahlah believed the
  13 statement that EthereumMax insiders would not be selling their portion of the Float
  14 and driving the price of EMAX Tokens down. Similarly, Nahlah saw and believed
  15 Maher’s solicitations in his May 17, 2021 social media post dismissing claims that
  16 EthereumMax was a “scam or pump and dump” and touting EMAX Tokens was a
  17 “[l]ong term” investment that investors like Plaintiffs and the class should “hold all
  18 the way.” Nahlah also saw and relied on Davis’ May 18, 2021 solicitation that is was
  19 “not too late” to purchase EMAX Tokens given their growth potential. These
  20 misleading statements and omissions by Davis and Maher further induced Nahlah to
  21 make his May 28, 2021 purchase of EMAX Tokens.
  22         300. Plaintiff Puda followed the EthereumMax Instagram page during the
  23 Relevant Period and saw the promotions from the Executive Defendants that were
  24 posted on that platform. Puda specifically saw the May 16, 2021 post related to the
  25 “EthereumMax Pre-launch Kickoff,” which promoted the growth of the EMAX
  26 Tokens and alluded to a relationship with Defendant Mayweather as a “knockout
  27 influencer.” Each of the promotions, separately and taken together, induced Puda to
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    1 purchase EMAX Tokens on May 29, 2021. Puda also saw Defendant Kardashian’s
    2 May 30, 2021 promotion of the EMAX Tokens being accepted as payments as venues
    3 like Club LIV. Puda often visited Club LIV during the Relevant Period and was
    4 particularly enticed by Kardashian’s promotion to use EMAX Tokens there. Puda
    5 is also a lifelong fan of professional sports, particularly boxing. Puda is aware of
    6 Defendant Mayweather from his career as a world champion boxer. Puda also
    7 follows Defendant Mayweather’s career and social media accounts.                Puda
    8 specifically saw Mayweather’s promotion of EthereumMax during the Bitcoin Miami
    9 conference (which were also promoted on the social media accounts for
  10 EthereumMax, Maher, and Davis), as well as the promotions of EMAX Tokens
  11 during the pay-per-view fight with Logan Paul. Mayweather’s statements and
  12 promotions of EthereumMax, including the “EthereumMax Pre-launch Kickoff” post
  13 alluding to Mayweather, gave Puda the false impression that Mayweather was more
  14 than a celebrity endorser but rather that he was an actual backer/investor in EMAX
  15 Tokens, and that he was making this particular cryptocurrency a part of his
  16 multimillion-dollar investment strategy. Furthermore, Puda both saw and believed
  17 Kardashian’s June 14, 2021 promotion and statements about the number of tokens
  18 being burned as indicating that the decrease in supply would cause his current
  19 investments in EMAX Tokens to correspondingly increase in value. The promotions
  20 from Defendants Mayweather and Kardashian induced Puda to continue holding on
  21 to his investment in EMAX Tokens when he otherwise would not have done so.
  22         301. Puda also saw the June 3, 2021 post regarding the EMAX Token price
  23 volatility that came from insider selling. Puda reasonably believed that the price drop
  24 on EMAX Tokens only came from “a handful of larger wallets” of “early investors”
  25 who were “not part of the development team,” as opposed to those like Defendant
  26 Maher and the other Executive Defendants. Similarly, Puda believed the statements
  27 that EthereumMax would still be accepted as a payment at David Grutman’s venues
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    1 at a future date, despite the issues that caused the delay of the rollout. The misleading
    2 statements and omissions within the June 3, 2021 Instagram post from the Executive
    3 Defendants, in conjunction with the above-mentioned promotions from Defendants
    4 Mayweather and Kardashian, induced Puda to hold onto his investment in EMAX
    5 Tokens. Similarly, this post, in conjunction with Defendant Kardashian’s posts
    6 regarding the ability to use EMAX Tokens as an accepted payment and the increase
    7 in value his investments in EMAX Tokens would receive if he continued to hold,
    8 caused Puda to retain his EMAX Token investment when he otherwise would not
    9 have done so.
  10          302. Plaintiff Freeman is a lifelong fan of professional sports, particularly
  11 basketball, football, and boxing. Freeman regularly watched Defendant Pierce when
  12 the latter played professionally and then as a commentator on ESPN. Freeman saw
  13 Defendant Pierce’s May 26, 2021 and May 28, 2021 promotions, respectively. Each
  14 of these promotions, separately and taken together, induced Freeman to make his first
  15 and second purchases of EMAX Tokens on June 2, 2021. Freeman is also aware of
  16 Defendant Brown’s football career and off-field conduct, and he follows Brown’s
  17 social media. Freeman specifically saw Brown’s May 29, 2021 promotion wherein
  18 Brown indicated that he wanted his next football contract to be paid in EMAX
  19 Tokens. This promotion also caused Freeman to make his two separate purchases of
  20 EMAX Tokens on June 2, 2021. Freeman is aware of Defendant Mayweather
  21 through several means and found Mayweather's promotions particularly influential
  22 on his decision to purchase EMAX Tokens.                 First, Freeman regularly saw
  23 Mayweather at various events around Miami (e.g., charity basketball games and night
  24 clubs). Second, Freeman followed Mayweather’s career throughout the years as a
  25 world champion boxer.         Freeman specifically saw Mayweather’s promotion of
  26 EthereumMax during the Bitcoin Miami conference (which were also promoted on
  27 the social media accounts for EthereumMax, Maher, and Davis), as well as the
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    1 promotions of EMAX Tokens during the pay-per-view fight with Logan Paul,
    2 including the 5/28/21 Press Release. Mayweather’s statements and promotions of
    3 EthereumMax gave Freeman the false impression that Mayweather was more than a
    4 celebrity endorser but rather that he was an actual backer/investor in EMAX Tokens,
    5 and that he was making this particular cryptocurrency a part of his multimillion dollar
    6 investment strategy.     These promotions from Defendant Mayweather and the
    7 Executive Defendants induced Freeman to make his third purchase of EMAX Tokens
    8 on June 6, 2021. Freeman also saw Defendant Kardashian’s May 30, 2021 and June
    9 14, 2021 promotions of the EMAX Tokens. Freeman often visited Club LIV during
  10 the Relevant Period and was particularly enticed by Kardashian’s promotion to use
  11 EMAX Tokens there. Furthermore, Freeman believed Kardashian’s promotion and
  12 statements about the number of tokens being burned as indicating that the decrease
  13 in supply would cause his current investments in EMAX Tokens to correspondingly
  14 increase in value. Kardashian’s promotions induced Freeman to continue to hold on
  15 to his investment in EMAX Tokens when he otherwise would not have done so.
  16         303. Freeman also followed the EthereumMax Instagram page during the
  17 Relevant Period and saw the promotions from the Executive Defendants that were
  18 posted on that platform. Freeman specifically saw the May 16, 2021 post related to
  19 the “EthereumMax Pre-launch Kickoff,” which promoted the growth of the EMAX
  20 Tokens and alluded to a relationship with Defendant Mayweather as a “knockout
  21 influencer.” Freeman also saw the June 3, 2021 post regarding the EMAX Token
  22 price volatility that came from insider selling. Freeman reasonably believed that the
  23 price drop on EMAX Tokens only came from “a handful of larger wallets” of “early
  24 investors” who were “not part of the development team,” as opposed to those insiders
  25 like Defendant Maher.           Similarly, Freeman believed the statements that
  26 EthereumMax would still be accepted as a payment at David Grutman’s venues at a
  27 future date, despite the issues that caused the delay of the rollout. The misleading
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    1 statements and omissions within the June 3, 2021 Instagram post from the Executive
    2 Defendants, in conjunction with the above-mentioned promotions from Defendants
    3 Pierce, Mayweather, and Kardashian, caused Freeman to make his June 4, 2021
    4 purchase of EMAX Tokens. Similarly, this post, in conjunction with Defendant
    5 Kardashian’s posts regarding the ability to use EMAX Tokens as an accepted
    6 payment and the increase in value his investments in EMAX Tokens would receive
    7 if he continued to hold while EMAX Tokens were being “burned” by the Executive
    8 Defendants, caused Freeman to retain his EMAX Token investment when he
    9 otherwise would not have done so.
  10         304. Plaintiff Brignol follows professional sports, in particular boxing and
  11 basketball. Brignol regularly watched Defendant Pierce when the latter played
  12 professionally and then as a commentator on ESPN. Brignol also followed Pierce’s
  13 social media accounts and saw Defendant Pierce’s May 26, 2021 and May 28, 2021
  14 promotions, respectively. These promotions induced Brignol to make her first
  15 purchases of EMAX Tokens on May 29, 2021 and May 31, 2021 (made in four
  16 separate transactions). Brignol also follows Defendant Mayweather’s career and
  17 social media accounts.      Brignol specifically saw Mayweather’s promotions of
  18 EthereumMax on the lead up and during the pay-per-view fight with Logan Paul,
  19 including the 5/28/21 Press Release. Mayweather’s statements and promotions of
  20 EthereumMax gave Brignol the false impression that Mayweather was more than a
  21 celebrity endorser but rather that he was an actual backer/investor in EMAX Tokens,
  22 and that he was making this particular cryptocurrency a part of his multimillion-dollar
  23 investment strategy. These promotions induced Brignol to make her fifth and final
  24 purchase of EMAX Tokens on June 8, 2021. Brignol also followed Defendant
  25 Kardashian’s social media accounts and saw Kardashian’s May 30, 2021 and June
  26 14, 2021 promotions of the EMAX Tokens. Brignol often visited Club LIV during
  27 the Relevant Period and was particularly enticed by Kardashian’s promotion to use
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    1 EMAX Tokens there. Furthermore, Brignol believed Kardashian’s promotion and
    2 statements about the number of tokens being burned as indicating that the decrease
    3 in supply would cause her current investments in EMAX Tokens to correspondingly
    4 increase in value. Kardashian’s promotions induced Brignol to continue to hold on
    5 to his investment in EMAX Tokens when she otherwise would not have done so.
    6        305. Brignol also followed the EthereumMax Instagram page during the
    7 Relevant Period and saw the promotions from the Executive Defendants that were
    8 posted on that platform. Brignol specifically saw the May 16, 2021 post related to
    9 the “EthereumMax Pre-launch Kickoff,” which promoted the growth of the EMAX
  10 Tokens and alluded to a relationship with Defendant Mayweather as a “knockout
  11 influencer.” Brignol also saw the June 3, 2021 post regarding the EMAX Token price
  12 volatility that came from insider selling. Freeman reasonably believed that the price
  13 drop on EMAX Tokens only came from “a handful of larger wallets” of “early
  14 investors” who were “not part of the development team,” as opposed to those insiders
  15 like Defendant Maher. Similarly, Brignol believed the statements that EthereumMax
  16 would still be accepted as a payment at David Grutman’s venues at a future date,
  17 despite the issues that caused the delay of the rollout. The misleading statements and
  18 omissions within the June 3, 2021 Instagram post from the Executive Defendants, in
  19 conjunction with the above-mentioned promotions from Defendants Pierce,
  20 Mayweather, and Kardashian, caused Freeman to make her May 29, 2021 and May
  21 31, 2021, and June 8, 2021 purchases of EMAX Tokens. Similarly, this post, in
  22 conjunction with Defendant Kardashian’s posts regarding the ability to use EMAX
  23 Tokens as an accepted payment and the increase in value her investments in EMAX
  24 Tokens would receive if she continued to hold while EMAX Tokens were being
  25 “burned” by the Executive Defendants, caused Brignol to retain her EMAX Token
  26 investment when she otherwise would not have done so.
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    1        306. To establish an unfair practice, the plaintiff must show that it is “one that
    2 ‘offends established public policy’ and one that is ‘immoral, unethical, oppressive,
    3 unscrupulous or substantially injurious to consumers.’” Marrache v. Bacardi U.S.A.,
    4 Inc., 17 F.4th 1084, 1098 (11th Cir. 2021) (quoting PNR, 842 So. 2d at 777); see also
    5 CMR Constr. & Roofing, LLC v. UCMS, LLC, No. 21-11183, 2022 WL 3012298, at
    6 *4 (11th Cir. July 29, 2022).
    7        307. Defendants engaged in business acts and practices deemed “deceptive”
    8 because of the conduct, statements, and omissions described above, including, but
    9 not limited to, the following:
  10                (a)    knowingly    and    intentionally   concealing     the   Executive
  11 Defendants’ specific roles and ownership interests in EthereumMax;
  12                (b)    failing to disclose that the huge increase in price of the EMAX
  13 Tokens during first days following launch were caused by manipulation by the
  14 Executive Defendants instead of being due to an organic increase in interest from
  15 investors;
  16                (c)    leading investors to believe that the EMAX Token would be
  17 available for use as a payment at select locations when there was no such capability;
  18 and
  19                (d)    knowingly and intentionally using and/or failing to disclose the
  20 use of the Promotor Defendants to “instill trust” in uninformed investors to promote
  21 the financial benefits of a highly speculative and risky investment in EMAX Tokens,
  22 in an effort to manipulate and artificially inflate the price and trading volume of the
  23 EMAX Tokens and allow Defendants to sell their EMAX Tokens at those inflated
  24 prices.
  25         308. The Executive Defendants did not disclose that the EMAX Token
  26 developer held the number one rank with 23% ownership interest. Nor did they
  27 disclose until much later that the Executive Defendants had purposefully chosen not
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    1 to lock the wallets of the EthereumMax insiders. Nahlah, Freeman, Puda, and
    2 Brignol each would have found it material to their decision to purchase EMAX
    3 Tokens to know whether or not insiders had significant percentages of the available
    4 Float of EMAX Tokens with the ability to sell freely those EMAX Tokens and create
    5 massive downward pressure. Likewise, had Nahlah, Freeman, Puda, and Brignol
    6 each been made aware of that information at the times of their respective purchases,
    7 as well as the later-revealed admission from Gentile that the Executive Defendants
    8 had chosen not to “lock the wallets” (which gives the ten original founding members,
    9 including Defendant Maher who held 5%, the ability to sell off their portions of
  10 EMAX Tokens without restriction) it would have altered each of their decisions to
  11 both purchase the EMAX Tokens for the price they paid as well and hold on to those
  12 EMAX Tokens when they otherwise would not have done so.
  13         309. These acts and omissions constitute both deceptive and unfair trade
  14 practices because the false representations and omissions made by Defendants have
  15 a tendency or capacity to deceive consumers, such as Plaintiffs, into investing in the
  16 EMAX Tokens to their collective financial detriment. Such conduct is immoral,
  17 unethical, oppressive, unscrupulous, or substantially injurious to consumers.
  18         310. Had the Promoter Defendants disclosed the omitted information,
  19 Nahlah, Freeman, Puda, and Brignol would have been aware of it because (a) they
  20 saw the actual promotions by the Executive Defendants and Promoter Defendants
  21 Pierce, Brown, Mayweather, and Kardashian and would have concurrently seen any
  22 disclosure on the promotions themselves had it been included, and (b) because they
  23 each follow, directly or indirectly, the social media accounts of, and news reports on,
  24 Promoter Defendants Pierce, Mayweather, and Kardashian.
  25         311. As a direct and proximate result of Defendants’ deceptive trade
  26 practices, Plaintiffs Nahlah, Freeman, Puda, and Brignol, and the members of the
  27 class, suffered damages. The activities of the Executive Defendants and Promoter
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    1 Defendants Pierce, Brown, Mayweather, and Kardashian caused Plaintiffs Nahlah,
    2 Freeman, Puda, and Brignol, and the members of the Class to purchase and/or hold
    3 the EMAX Tokens when they otherwise would not have done so.
    4        312. The materially false statements and omissions as described above, and
    5 the fact that this was a misleading investment, were unfair, unconscionable, and
    6 deceptive practices perpetrated on Plaintiffs which would have likely deceived a
    7 reasonable person under the circumstances.
    8        313. Defendants were on notice at all relevant times that the false
    9 representations of material facts described above were being communicated to
  10 prospective investors (such as Plaintiffs) by their authorized agents.
  11         314. As a result of the false representations and violations of the laws
  12 described above, Plaintiffs have been damaged by, among other things, overpaying
  13 for the EMAX Tokens that were artificially inflated by Defendants.
  14         315. Plaintiffs have also been damaged in other and further ways subject to
  15 proof at trial. For example, an injury under FDUPTA is found when “the [defendant]
  16 made an allegedly misleading advertisement by making an offer or promise which
  17 the [defendant] did not intend to keep.” Stires v. Carnival Corp., No. 6:02-CV-542-
  18 ORL31JGG, 2003 WL 21356781, at *2 (M.D. Fla. Jan. 2, 2003). As alleged herein,
  19 the Executive Defendants and Promoter Defendant Kardashian promoted the ability
  20 to use the EMAX Tokens as an accepted payment method at Club LIV, which was
  21 later disclosed to not have been possible due to supposed technical complexity that
  22 apparently had not been addressed prior to promising investors that they could use
  23 EMAX Tokens to purchase goods and services at Club LIV. As noted above,
  24 Plaintiffs Nahlah, Freeman, Puda, and Brignol all patronized Club LIV in Miami and
  25 were induced to purchase EMAX Tokens because of these particular promotions.
  26         316. The statements from Executive Defendants and Promoter Defendants
  27 Pierce, Mayweather, and Kardashian are actionable and not puffery. Under Florida
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    1 law, “‘specific and measurable claims’ are not puffery ‘and may be the subject of
    2 deceptive advertising claims.’” Wyndham Vacation Ownership v. Reed Hein &
    3 Assocs., LLC, No. 618CV02171GAPDCI, 2019 WL 3934468, at *6 (M.D. Fla. Aug.
    4 20, 2019) (citing Fed. Trade Comm’n v. World Patent Mktg., Inc., No. 17-CV-20848,
    5 2017 WL 3508639, at *12 (S.D. Fla. Aug. 16, 2017)); Luczak v. Nat’l Beverage
    6 Corp., 812 F. App’x 915, 925 (11th Cir. 2020) (finding that certain statements were
    7 actionable because, while National Beverage's statements expressed optimism, they
    8 did so by citing to specific strategies and metrics the company said it was using).
    9 And while statements of opinion and puffery (i.e., exaggerated advertising,
  10 blustering, and boasting upon which no reasonable buyer would rely) are not
  11 actionable, a statement of opinion may be actionable if it “‘fairly implies a [factual]
  12 basis.’” Duty Free Americas, Inc. v. Estee Lauder Cos., Inc., 797 F.3d 1248, 1277
  13 (11th Cir. 2015) (quoting Osmose, Inc. v. Viance, LLC, 612 F.3d 1298, 1311 (11th
  14 Cir. 2010) (alteration in original). As the Eleventh Court observed: “A conclusion
  15 that a statement constitutes puffery doesn’t absolve the reviewing court of the duty
  16 to consider the possibility — however remote — that in context and in light of the
  17 ‘total mix’ of available information, a reasonable investor might nonetheless attach
  18 importance to the statement.” Carvelli v. Ocwen Fin. Corp., 934 F.3d 1307, 1320–
  19 21 (11th Cir. 2019).
  20         317. As alleged further above, the Executive Defendants’ May 16, 2021 Pre-
  21 launch Kickoff post stated, among other things, that (1) EMAX Tokens were up
  22 “500,000+% in the first 24 hours”; (2) the Executive Defendants had “locked in
  23 partnership with global digital marketing agency” and “lined up a knockout
  24 influencer” for a “nationwide campaign”; and (3) “We are 3 days in with ~$100M
  25 market cap and the train is just getting rolling.” These statements from Executive
  26 Defendants are specific and measurable, and they relate to specific strategies and
  27 metrics the Company said it was using to encourage purchases and increase the price
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    1 of the EMAX Tokens. At the same time, the Executive Defendants Maher and Speer,
    2 with Promoter Defendant Davis, each failed to disclose that these metrics were the
    3 result of the failed launch that allowed insiders, including but not limited to Maher,
    4 to disproportionately increase the price of the EMAX Tokens with their early trades.
    5        318. Taken together the misleading statements and omissions of the
    6 Executive Defendants and Promoter Defendants Davis, Pierce, Brown, Mayweather,
    7 and Kardashian contributed to the deceptive marketing tactics as a whole, which were
    8 used to solicit sales of EMAX Tokens.
    9        319. Plaintiffs seek to enjoin further unlawful, unfair, and/or fraudulent acts
  10 or practices by Defendants, to obtain restitution and disgorgement of all monies
  11 generated as a result of such practices, and for all other relief allowed under Florida
  12 law.
  13         320. Pursuant to Fla. Stat. §§501.211(1) and 501.2105, Plaintiffs are entitled
  14 to recover from Defendants the reasonable amount of attorneys’ fees Plaintiffs have
  15 had to incur in representing their interests in this matter.
  16                             SIXTH CAUSE OF ACTION
  17                  Violation of New York’s General Business Law
                                   Art. 22-A, §349, et seq.
  18    (Against the Executive Defendants and Promoter Defendants Pierce, Brown,
                              Mayweather, and Kardashian)
  19
  20         321. Plaintiffs restate and reallege all preceding allegations above as if fully
  21 set forth herein, and further allege as follows:
  22         322. Plaintiffs Huegerich and Ciklic are residents of the State of New York.
  23         323. Plaintiffs Huegerich and Ciklic paid for or purchased EMAX Tokens in
  24 New York and thus the deceptive transactions alleged herein occurred in New York.
  25         324. At all relevant and material times as described herein, the Executive
  26 Defendants and Promoter Defendants Brown, Mayweather, and Kardashian were
  27 engaged in “the conduct of any business, trade or commerce” in New York within
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    1 the meaning of New York General Business Law (“GBL”) §349 with respect to the
    2 act alleged herein.
    3         325. Section 349 proscribes “[d]eceptive acts or practices in the conduct of
    4 any business, trade or commerce or in the furnishing of any service in [New York],”
    5 N.Y. Gen. Bus. Law §349(a), and, further, provides a private right of action to “any
    6 person who has been injured by reason of any violation of th[e] section.” Id., §349(h).
    7 Although “[j]ustifiable reliance by the plaintiff is not an element of [a §349] claim”
    8 (Koch v. Acker, Merrall & Condit Co., 967 N.E.2d 675, 676 (N.Y. 2012)), a plaintiff
    9 under that statute must ultimately “prove three elements: first, that the challenged act
  10 or practice was consumer-oriented; second, that it was misleading in a material way;
  11 and third, that the plaintiff suffered injury as a result of the deceptive act.” Stutman
  12 v. Chem. Bank, 95 N.Y.2d 24, 29 (2000); see also Crawford v. Franklin Credit Mgmt.
  13 Corp., 758 F.3d 473, 490 (2d Cir. 2014) (same). Nevertheless, “an action under §349
  14 is not subject to the pleading-with-particularity requirements of Rule 9(b) . . . but
  15 need only meet the bare-bones notice-pleading requirements of Rule 8(a).” Pelman
  16 ex rel. Pelman v. McDonald's Corp., 396 F.3d 508, 511 (2d Cir. 2005).
  17          326. In assessing whether an act is materially misleading, the inquiry is
  18 whether, objectively, the act is “‘likely to mislead a reasonable consumer acting
  19 reasonably under the circumstances.’” Cohen v. JP Morgan Chase & Co., 498 F.3d
  20 111, 126 (2d Cir. 2007) (quoting Oswego Laborers' Local 214 Pension Fund v.
  21 Marine Midland Bank, 85 N.Y.2d 20 (1995)).
  22          327. At the threshold, a plaintiff must demonstrate that the §349 claim
  23 implicates “‘consumer oriented’” conduct by the defendant. Gaidon v. Guardian Life
  24 Ins. Co., 94 N.Y.2d 330 (1999). Under New York law, a deceptive act or practice
  25 “‘that ha[s] “a broader impact on consumers at large”’” meets this threshold test.
  26 Shapiro v. Berkshire Life Ins. Co., 212 F.3d 121, 126 (2d Cir. 2000) (“A ‘deceptive
  27 act or practice’ has been defined as a representation or omission ‘likely to mislead a
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    1 reasonable consumer acting reasonably under the circumstances.’”) (citing Oswego
    2 Laborers, 85 N.Y.2d at 26).
    3        328. Plaintiff Huegerich is a lifelong fan of professional sports, particularly
    4 football and boxing. Huegerich is aware of Defendant Brown’s football career and
    5 off-field conduct, and he specifically saw Brown’s May 29, 2021 promotion wherein
    6 Brown indicated that he wanted his next football contract to be paid in EMAX
    7 Tokens. Additionally, Huegerich follows Defendant Mayweather’s career and social
    8 media accounts.       Huegerich specifically saw Mayweather’s promotion of
    9 EthereumMax during the Bitcoin Miami conference, as well as the promotions of
  10 EMAX Tokens on the lead up to and during the pay-per-view fight with Logan Paul,
  11 including the 5/28/21 Press Release. Each of these promotions induced Huegerich to
  12 make purchase EMAX tokens on June 6, 2021. Huegerich also follows Defendant
  13 Kardashian on Instagram and saw her June 14, 2021 promotion of the EMAX Tokens.
  14 Huegerich believed Kardashian’s promotion and statements about the number of
  15 tokens being burned as indicating that the decrease in supply would cause his current
  16 investments in EMAX Tokens to correspondingly increase in value. Kardashian’s
  17 promotion induced Huegerich to continue to hold on to his investment in EMAX
  18 Tokens when he otherwise would not have done so.
  19         329. Huegerich also followed the EthereumMax Instagram page during the
  20 Relevant Period and saw the promotions from the Executive Defendants that were
  21 posted on that platform. Huegerich specifically saw the June 3, 2021 post regarding
  22 the EMAX Token price volatility that came from insider selling.             Huegerich
  23 reasonably believed that the price drop on EMAX Tokens only came from “a handful
  24 of larger wallets” of “early investors” who were “not part of the development team.”
  25 Similarly, Huegerich believed the statements that EthereumMax would still be
  26 accepted as a payment at David Grutman’s venues at a future date, despite the issues
  27 that caused the delay of the rollout. The misleading statements and omissions within
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    1 the June 3, 2021 Instagram post from the Executive Defendants, in conjunction with
    2 the above-mentioned promotions from Defendants Brown, Mayweather, and
    3 Kardashian, induced Huegerich to make his June 6, 2021 purchase of EMAX Tokens.
    4 Similarly, this post, in conjunction with Defendant Kardashian’s posts regarding the
    5 ability to use EMAX Tokens as an accepted payment and the increase in value his
    6 investments in EMAX Tokens would receive if he continued to hold, caused
    7 Huegerich to retain his EMAX Token investment when he otherwise would not have
    8 done so.
    9        330. Plaintiff Ciklic is a lifelong fan of professional sports, particularly
  10 football and boxing. Ciklic regularly watched Defendant Pierce when the latter
  11 played professionally and then as a commentator on ESPN. Ciklic also followed
  12 Pierce’s social media accounts and saw Defendant Pierce’s May 26, 2021, and May
  13 28, 2021 promotions, respectively. Ciklic is aware of Defendant Brown’s football
  14 career and off-field conduct, and he saw Brown’s May 29, 2021 promotion wherein
  15 Brown indicated that he wanted his next football contract to be paid in EMAX
  16 Tokens. Additionally, Ciklic follows Defendant Mayweather’s career and social
  17 media accounts. Ciklic specifically saw Mayweather’s promotion of EthereumMax
  18 during the Bitcoin Miami conference, as well as the promotions of EMAX Tokens
  19 on the lead up to and during the pay-per-view fight with Logan Paul, including the
  20 5/28/21 Press Release. These promotions by Pierce, Brown, and Mayweather induced
  21 Ciklic to make two purchases of EMAX Tokens on May 28, 2021 and May 29, 2021
  22 as a result. Ciklic is also aware of Defendant Kardashian from her reality television
  23 show and renowned business savvy, and Ciklic saw Kardashian’s May 30, 2021
  24 promotion of the EMAX Tokens being accepted as payment at Club LIV. Ciklic
  25 knew about the high-end status of Club LIV during the Relevant Period and was
  26 particularly enticed by Kardashian’s promotion to use EMAX Tokens there. Ciklic
  27 also saw Kardashian’s June 14, 2021 promotion of the EMAX Tokens. Ciklic
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    1 believed Kardashian’s promotion and statements about the number of tokens being
    2 burned as indicating that the decrease in supply would cause his current investments
    3 in EMAX Tokens to correspondingly increase in value.             Kardashian’s These
    4 promotions from Kardashian and Mayweather induced Ciklic to continue to hold on
    5 to his investment in EMAX Tokens when he otherwise would not have done so.
    6        331. Ciklic also followed the EthereumMax Instagram page during the
    7 Relevant Period and saw the promotions from the Executive Defendants that were
    8 posted on that platform. Ciklic specifically saw the June 3, 2021 post regarding the
    9 EMAX Token price volatility that came from insider selling. Ciklic reasonably
  10 believed that the price drop on EMAX Tokens only came from “a handful of larger
  11 wallets” of “early investors” who were “not part of the development team.”
  12 Similarly, Ciklic believed the statements that EthereumMax would still be accepted
  13 as a payment at David Grutman’s venues at a future date, despite the issues that
  14 caused the delay of the rollout. The misleading statements and omissions within the
  15 June 3, 2021 Instagram post from the Executive Defendants, in conjunction with the
  16 above-mentioned      promotions    from    Defendants    Brown, Mayweather,        and
  17 Kardashian, induced Ciklic to make his June 6, 2021 purchase of EMAX Tokens.
  18 Similarly, this post, in conjunction with Defendant Kardashian’s posts regarding the
  19 ability to use EMAX Tokens as an accepted payment and the increase in value his
  20 investments in EMAX Tokens would receive if he continued to hold, caused Ciklic
  21 to retain his EMAX Token investment when he otherwise would not have done so.
  22         332. For the reasons discussed herein, Defendants violated and continued to
  23 violate Section 349(a) of the New York General Business Law by engaging in the
  24 herein described unfair or deceptive acts or practices. Defendants’ acts and practices,
  25 including the material omissions, described herein, were likely to, and did in fact,
  26 deceive and mislead members of the public, including consumers acting reasonably
  27 under the circumstances, to their detriment.
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    1         333. Defendants engaged in deceptive acts and practices under New York law
    2 by taking advantage of the lack of knowledge, ability, experience, or capacity of
    3 Plaintiffs to a grossly unfair degree, including but not limited to, in the following
    4 ways:
    5         (a)   knowingly and intentionally concealing the Executive Defendants’
    6 specific roles and ownership interests in EthereumMax;
    7         (b)   failing to disclose that the huge increase in price of the EMAX Tokens
    8 during the first days following launch were caused by manipulation by the Executive
    9 Defendants instead of being due to an organic increase in interest from investors;
  10          (c)   failing to disclose that EMAX Tokens were not being accepted as a
  11 payment and would not be at any point in the foreseeable future; and
  12          (d)   knowingly and intentionally using and/or failing to disclose the use of
  13 the Promotor Defendants to “instill trust” in uninformed investors to promote the
  14 financial benefits of a highly speculative and risky investment in EMAX Tokens, in
  15 an effort to manipulate and artificially inflate the price and trading volume of the
  16 EMAX Tokens and allow Defendants to sell their EMAX Tokens at those inflated
  17 prices.
  18          334. The Executive Defendants did not disclose that the EMAX Token
  19 developer held the number one rank with 23% ownership interest. Nor did they
  20 disclose until much later that the Executive Defendants had purposefully chosen not
  21 to lock the wallets of the EthereumMax insiders. Huegerich would have found it
  22 material to his decision to purchase EMAX Tokens to know whether or not insiders
  23 had significant percentages of the available Float of EMAX Tokens with the ability
  24 to sell freely those EMAX Tokens and create massive downward pressure. Likewise,
  25 had Huegerich and Ciklic been made aware of that information at the times of their
  26 purchases, as well as the later-revealed admission from Gentile that the Executive
  27 Defendants had chosen not to “lock the wallets” (which gives the ten original
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    1 founding members, including Defendant Maher who held 5%, the ability to sell off
    2 their portions of EMAX Tokens without restriction), it would have altered their
    3 respective decisions to both purchase the EMAX Tokens for the price they each paid
    4 as well and hold on to those EMAX Tokens when they otherwise would not have
    5 done so.
    6        335. The facts that the Executive Defendants and Promoter Defendants
    7 Brown, Mayweather, and Kardashian misrepresented and concealed were material to
    8 the decisions of Plaintiff Huegerich and Ciklic and the members of the New York
    9 Class about whether to pay for or purchase EMAX Tokens (at all or for the price he
  10 paid), in that he would not have proceeded with his transactions but for the deceptive,
  11 fraudulent, and false acts and practices.
  12         336. The Executive Defendants and Promoter Defendants Brown,
  13 Mayweather, and Kardashian intended for Plaintiff Huegerich and the members of
  14 the New York Class to pay for EMAX Tokens in reliance upon their deceptive and
  15 fraudulent acts and practices.
  16         337. Had the Promoter Defendants disclosed the omitted information,
  17 Huegerich and Ciklic would have been aware of it because (a) they saw the actual
  18 promotions by Promoter Defendants Brown, Mayweather, and Kardashian and would
  19 have concurrently seen any disclosure on the promotions themselves had it been
  20 included, and (b) because they follow, directly or indirectly, the social media
  21 accounts of, and news reports on, Promoter Defendants Pierce, Brown, Mayweather,
  22 and Kardashian.
  23         338. As a direct and proximate result of Defendants’ unlawful, unfair, and
  24 deceptive practices, Plaintiffs and Class members suffered damages. The Executive
  25 Defendants’ activities with the Promoter Defendants caused Plaintiffs and the Class
  26 members to purchase and/or hold the EMAX Tokens when they otherwise would not
  27 have done so.
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    1        339. The statements from Executive Defendants and Promoter Defendants
    2 Pierce, Mayweather, and Kardashian are actionable and not puffery. Puffery in the
    3 Second Circuit includes “‘generalized or exaggerated statements which a reasonable
    4 consumer would not interpret as a factual claim upon which he could rely.’” Lugones
    5 v. Pete & Gerry’s Organic, LLC, 440 F. Supp. 3d 226, 241 (S.D.N.Y. 2020)
    6 (discussing puffery in context of GBL §349 claim).          It can also include “‘an
    7 exaggeration or overstatement expressed in broad, vague, and commendatory
    8 language, as distinguished from misdescriptions or false representations of specific
    9 characteristics of a product.’” Id. Significantly, even if certain statements would be
  10 non-actionable on their own, where there are multiple statements at issue, courts must
  11 consider “‘as a whole.’” Id. (“‘The entire mosaic is viewed rather than each tile
  12 separately.’”) (quoting Belfiore v. Procter & Gamble Co., 311 F.R.D. 29, 53
  13 (E.D.N.Y. 2015)); see also In re Gen. Motors LLC Ignition Switch Litig., 257 F. Supp.
  14 3d 372, 457 (S.D.N.Y. 2017) (holding that, when “‘viewed in isolation’” some
  15 statements may constitute puffery, but “when viewed in conjunction with other
  16 allegations in the [complaint] . . . many of these statements cross the line from mere
  17 puffery to active misrepresentations”).
  18         340. As alleged further above, the Executive Defendants’ May 16, 2021 Pre-
  19 launch Kickoff post stated, among other things, that (1) EMAX Tokens were up
  20 “500,000+% in the first 24 hours”; (2) the Executive Defendants had “locked in
  21 partnership with global digital marketing agency” and “lined up a knockout
  22 influencer” for a “nationwide campaign”; and (3) “We are 3 days in with ~$100M
  23 market cap and the train is just getting rolling.” These statements from Executive
  24 Defendants are specific, detailed factual assertions the Executive Defendants were
  25 using to encourage purchases and increase the price of the EMAX Tokens. At the
  26 same time, the Executive Defendants Maher and Speer, with Promoter Defendant
  27 Davis each knowingly failed to disclose that these metrics were the result of the failed
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    1 launch that allowed insiders, including but not limited to Maher, to disproportionately
    2 increase the price of the EMAX Tokens with their early trades.
    3        341. Taken together the misleading statements and omissions of the
    4 Executive Defendants and Promoter Defendants Pierce, Brown, Mayweather, and
    5 Kardashian contributed to the deceptive marketing tactics as a whole, which were
    6 used to solicit sales of EMAX Tokens.
    7        342. Pursuant to GBL §349(h), Plaintiffs seek to enjoin further unlawful,
    8 unfair, and/or fraudulent acts or practices by Defendants, to obtain restitution and
    9 disgorgement of all monies generated as a result of such practices, and for all other
  10 relief allowed under New York law.
  11         343. In addition, Plaintiffs are entitled to reasonable attorney’s fees and
  12 exemplary damages not exceeding three times the value of the consideration given
  13 by the consumer, and any other relief this Court determined is appropriate. See GBL
  14 §349(h).
  15                           SEVENTH CAUSE OF ACTION
  16             Violation of New Jersey Consumer Fraud Act (“NJCFA”)
                                   NJSA §§56:8-1 to 156
  17            (Against the Executive Defendants and Promoter Defendants
                               Mayweather and Kardashian)
  18
  19         344. Plaintiffs restate and reallege all preceding allegations above as if fully
  20 set forth herein and further alleges as follows:
  21         345. Plaintiff DeLuca is a resident of the State of New Jersey.
  22         346. Plaintiff DeLuca paid for or purchased EMAX Tokens in New Jersey
  23 and thus the deceptive transactions alleged herein occurred in New Jersey.
  24         347. Defendants sell “merchandise,” as defined by N.J. Stat. Ann. §§56:8-
  25 1(c) & (e).
  26         348. The NJCFA authorizes “[a]ny person who suffers any ascertainable loss
  27 of moneys or property, real or personal, as a result of the use or employment by
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    1 another person of any method, act, or practice declared unlawful under this act” to
    2 bring a private action. N.J. Stat. Ann. §56:8-19.
    3        349. The NJCFA prohibits unconscionable commercial practices, deception,
    4 fraud, false pretense, false promise, misrepresentation, as well as the knowing
    5 concealment, suppression, or omission of any material fact with the intent that others
    6 rely on the concealment, omission, or fact, in connection with the sale or
    7 advertisement of any merchandise.
    8        350. Under New Jersey law, NJCFA claims should be construed liberally in
    9 favor of consumers. See Cox v. Sears Roebuck & Co., 647 A.2d 454, 461 (N.J. 1994);
  10 Barry v. Arrow Pontiac, Inc., 494 A.2d 804, 810-11 (N.J. 1985).
  11         351. There are three elements a plaintiff must show to state a prima facie case
  12 under the NJCFA: (1) unlawful conduct by the defendant; (2) an ascertainable loss
  13 by the plaintiff; and (3) a causal connection between the defendant’s unlawful
  14 conduct and the plaintiff’s ascertainable loss. See Frederico v. Home Depot, 507
  15 F.3d 188, 202 (3d Cir. 2007) (citing Cox, 647 A.2d at 462-65). There are three
  16 general types of “‘[u]nlawful practices’”: “‘affirmative acts, knowing omissions, and
  17 regulation violations.’” Id. (quoting Cox, 647 A.2d at 462). A plaintiff asserting a
  18 claim based on an omission must demonstrate that the defendant “(1) knowingly
  19 concealed (2) a material fact (3) with the intention that plaintiff rely upon the
  20 concealment.” Judge v. Blackfin Yacht Corp., 815 A.2d 537, 541 (N.J. Super. Ct.
  21 App. Div. 2003); see also N.J. Stat. Ann. §56:8-2.
  22         352. To establish that information withheld was “material,” a plaintiff needs
  23 to show that “‘a reasonable [person] would attach importance to its existence in
  24 determining his [or her] choice of action.’” Coba v. Ford Motor Co., 932 F.3d 114,
  25 125-26 (3d Cir. 2019) (quoting Suarez v. E. Int’l Coll., 50 A.3d 75, 89 (N.J. Super.
  26 Ct. App. Div. 2012). An “‘unconscionable commercial practice’” is “‘an amorphous
  27 concept obviously designed to establish a broad business ethic.’” The standard of
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    1 conduct that the term “‘unconscionable’” implies is lack of “‘good faith, honesty in
    2 fact and observance of fair dealing.’” Cox, 647 A.2d at 462 (quoting Kugler v.
    3 Romain, 279 A.2d 640, 652 (N.J. 1971).
    4        353. Plaintiff DeLuca is a lifelong fan of professional sports, particularly
    5 boxing. DeLuca is aware of Defendant Mayweather’s career as a world champion
    6 boxer. DeLuca specifically saw Mayweather’s promotion of EthereumMax and the
    7 EMAX Tokens on the lead up to and during the pay-per-view fight with Logan Paul,
    8 including the 5/28/21 Press Release. Mayweather’s statements and promotions of
    9 EthereumMax gave DeLuca the false impression that Mayweather was more than a
  10 celebrity endorser but rather that he was an actual backer/investor in EMAX Tokens,
  11 and that he was making this particular cryptocurrency a part of his multimillion-dollar
  12 investment strategy. DeLuca is also familiar with Defendant Kardashian’s reality
  13 television show and her renowned business savvy. DeLuca saw Kardashian’s May
  14 30, 2021 promotion of the EMAX Tokens being accepted as payment at Club LIV.
  15 DeLuca knew about the high-end status of Club LIV during the Relevant Period and
  16 was particularly enticed by Kardashian’s promotion to use EMAX Tokens there.
  17 These promotions by Mayweather and Kardashian induced DeLuca to purchase
  18 EMAX Tokens on June 2, 2021 and June 5, 2021 as a result.
  19         354. DeLuca also followed the news and updates on EthereumMax, which he
  20 accesses through various social media platforms like Telegram, Reddit, and Twitter
  21 during the Relevant Period and saw the promotions from the Executive Defendants
  22 that were posted. DeLuca specifically saw the June 3, 2021 post regarding the EMAX
  23 Token price volatility that came from insider selling. DeLuca reasonably believed
  24 that the price drop on EMAX Tokens only came from “a handful of larger wallets”
  25 of “early investors” who were “not part of the development team.” Similarly, DeLuca
  26 believed the statements that EthereumMax would still be accepted as a payment at
  27 David Grutman’s venues at a future date, despite the issues that caused the delay of
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    1 the rollout. The misleading statements and omissions within the June 3, 2021
    2 Instagram post from the Executive Defendants, in conjunction with the above-
    3 mentioned promotions from Defendants Mayweather and Kardashian, induced
    4 DeLuca to make his June 2, 2021 and June 5, 2021 purchases of EMAX Tokens.
    5 Similarly, this post, in conjunction with Defendant Kardashian’s posts regarding the
    6 ability to use EMAX Tokens as an accepted payment and the increase in value his
    7 investments in EMAX Tokens would receive if he continued to hold, caused DeLuca
    8 to retain his EMAX Token investment when he otherwise would not have done so.
    9        355. Defendants engaged in deceptive acts and practices under New Jersey
  10 law by taking advantage of the lack of knowledge, ability, experience, or capacity of
  11 Plaintiffs to a grossly unfair degree, including but not limited to, in the following
  12 ways:
  13               (a)    knowingly    and    intentionally   concealing   the   Executive
  14 Defendants’ specific roles and ownership interests in EthereumMax;
  15               (b)    failing to disclose that the huge increase in price of the EMAX
  16 Tokens during the first days following launch were caused by manipulation by the
  17 Executive Defendants instead of being due to an organic increase in interest from
  18 investors;
  19               (c)    failing to disclose that EMAX Tokens were not being accepted as
  20 a payment and would not be at any point in the foreseeable future; and
  21               (d)    knowingly and intentionally using and/or failing to disclose the
  22 use of the Promotor Defendants to “instill trust” in uninformed investors to promote
  23 the financial benefits of a highly speculative and risky investment in EMAX Tokens,
  24 in an effort to manipulate and artificially inflate the price and trading volume of the
  25 EMAX Tokens and allow Defendants to sell their EMAX Tokens at those inflated
  26 prices.
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    1        356. The Executive Defendants did not disclose that the EMAX Token
    2 developer held the number one rank with 23% ownership interest. Nor did they
    3 disclose until much later that the Executive Defendants had purposefully chosen not
    4 to lock the wallets of the EthereumMax insiders. DeLuca would have found it
    5 material to his decisions to purchase EMAX Tokens to know whether or not insiders
    6 had significant percentages of the available Float of EMAX Tokens with the ability
    7 to sell freely those EMAX Tokens and create massive downward pressure. Likewise,
    8 had DeLuca been made aware of that information at the times of his purchases, as
    9 well as the later-revealed admission from Gentile that the Executive Defendants had
  10 chosen not to “lock the wallets” (which gives the ten original founding members,
  11 including Defendant Maher who held 5%, the ability to sell off their portions of
  12 EMAX Tokens without restriction) it would have altered DeLuca’s decision to both
  13 purchase the EMAX Tokens for the price he paid as well and hold on to those EMAX
  14 Tokens when he otherwise would not have done so.
  15         357. The facts that the Executive Defendants and Promoter Defendants
  16 Mayweather and Kardashian misrepresented and concealed were material to the
  17 decisions of Plaintiff DeLuca and the members of the New Jersey Class about
  18 whether to pay for or purchase EMAX Tokens (at all or for the price they paid), in
  19 that they would not have proceeded with their transactions but for the deceptive,
  20 fraudulent and false acts and practices.
  21         358. The Executive Defendants and Promoter Defendants Mayweather and
  22 Kardashian intended for Plaintiff DeLuca and the members of the New Jersey Class
  23 to pay for EMAX Tokens in reliance upon their deceptive and fraudulent acts and
  24 practices.
  25         359. Had the Promoter Defendants disclosed the omitted information,
  26 DeLuca would have been aware of it because (a) he saw the actual promotions by
  27 Promoter Defendants Mayweather and Kardashian and would have concurrently seen
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    1 any disclosure on the promotions themselves had it been included, and (b) he follows,
    2 directly or indirectly, the social media accounts of, and news reports on, Promoter
    3 Defendants Mayweather and Kardashian.
    4        360. As a direct and proximate result of Defendants’ unlawful, unfair, and
    5 deceptive practices, Plaintiffs and Class members suffered damages. The Executive
    6 Defendants’ activities with the Promoter Defendants caused Plaintiff DeLuca and the
    7 Class members to purchase (at all or at the premium price he paid) and/or hold the
    8 EMAX Tokens when they otherwise would not have done so. An ascertainable loss
    9 must be “quantifiable or measurable,” but a plaintiff need not demonstrate an out-of-
  10 pocket loss where a diminution in the value of a product can be “‘calculated within a
  11 reasonable degree of certainty.’” Thiedemann v. Mercedes-Benz USA, LLC, 872 A.2d
  12 783, 793 (N.J. 2005) (citation omitted).
  13         361. The statements from Executive Defendants and Promoter Defendants
  14 Mayweather and Kardashian are actionable and not puffery. “‘The distinguishing
  15 characteristics of puffery are vague, highly subjective claims as opposed to specific,
  16 detailed factual assertions.’” Hammer v. Vital Pharm., Inc., Civ. No. 11-4124, 2012
  17 WL 1018842, at *6-*8 (D.N.J. Mar. 26, 2012) (citation omitted). New Jersey courts
  18 have held that “[e]ven if an advertisement is literally true, it may be actionable if “the
  19 overall impression [it] create[s] . . . is misleading and deceptive to an ordinary
  20 reader.”” Conner v. Perdue Farms, Inc., No. CIV.A. 11-888, 2013 WL 5977361, at
  21 *6 (D.N.J. Nov. 7, 2013) (quoting Union Ink Co., Inc. v. AT&T Corp., 801 A.2d 361,
  22 379 (N.J. Super. Ct. App. Div. 2002). Indeed, “‘a claim of literal truth will not
  23 constitute a defense to a charge that the overall impression created by an
  24 advertisement is misleading and deceptive to an ordinary reader.’” Id. (quoting
  25 Miller v. Am. Fam. Publishers, 663 A.2d 643, 653-54 (N.J. Super. Ct. Ch. Div. 1995).
  26 Thus, even a finding of literal accuracy will not bar a conclusion that a misleading or
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    1 deceptive statement violates the Consumer Fraud Act. See id. at 85. As the Miller
    2 court explained:
    3               “To determine whether an advertisement or solicitation makes a
             false or misleading representation, the court must consider the effect
    4        that the advertisement, taken as a whole, would produce on one with an
             ordinary and unsuspecting mind. A court must consider the
    5        implications of an advertisement because, if it is designed to deceive
             the reader, an advertisement ‘may be completely misleading’ even if
    6        ‘every sentence separately considered is literally true.’ Taking an
             advertisement or solicitation as a whole means considering not only
    7        what it states literally, but also what it reasonably implies.”
    8 Miller, 663A.2d at 653(citation omitted).
    9        362. As alleged further above, the Executive Defendants’ May 16, 2021 Pre-
  10 launch Kickoff post stated, among other things, that (1) EMAX Tokens were up
  11 “500,000+% in the first 24 hours”; (2) the Executive Defendants had “locked in
  12 partnership with global digital marketing agency” and “lined up a knockout
  13 influencer” for a “nationwide campaign”; and (3) “We are 3 days in with ~$100M
  14 market cap and the train is just getting rolling.” These statements from Executive
  15 Defendants are specific, detailed factual assertions the Executive Defendants were
  16 using to encourage purchases and increase the price of the EMAX Tokens. At the
  17 same time, the Executive Defendants Maher and Speer, with Promoter Defendant
  18 Davis each failed to disclose that these metrics were the result of the failed launch
  19 that allowed insiders, including but not limited to Maher, to disproportionately
  20 increase the price of the EMAX Tokens with their early trades.
  21         363. Taken together the misleading statements and omissions of the
  22 Executive Defendants and Promoter Defendants Mayweather and Kardashian
  23 contributed to the deceptive marketing tactics as a whole, which were used to solicit
  24 sales of EMAX Tokens.
  25         364. As a direct and proximate result of Defendants’ unfair and deceptive
  26 practices, Plaintiffs and Class members suffered damages. Defendants’ activities
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    1 caused Plaintiffs and the Class members to purchase and/or retain the EMAX Tokens
    2 when they otherwise would not have done so.
    3         365. Pursuant to NJSA §§56:8-1 to 156, Plaintiffs seek to enjoin further
    4 unlawful, unfair, and/or fraudulent acts or practices by Defendants, to obtain
    5 restitution and disgorgement of all monies generated as a result of such practices, and
    6 for all other relief allowed under New Jersey law.
    7         366. In addition, Plaintiffs are entitled to reasonable attorney’s fees and an
    8 exemplary damages award of threefold the damages suffered by Plaintiffs and the
    9 Class Members. See N.J. Stat. Ann. §56:8-19.
  10                             EIGHTH CAUSE OF ACTION
  11            Common Law Conspiracy to Violate Cal. Corp. Code §25402
              (Against Executive Defendants Perone and Rechnitz and Promoter
  12                        Defendants Mayweather and Pierce)
  13
              367. Plaintiffs restate and reallege all preceding allegations above as if fully
  14
        set forth herein.
  15
              368. Beginning in May 2021, and continuously thereafter up to and including
  16
        the date of the filing of the Complaint, the Executive Defendants Perone, Maher,
  17
        Rechnitz, and Does 1-7 did engage in the formation and operation of a conspiracy
  18
        with the Promotor Defendants to misleadingly promote the EMAX Tokens to retail
  19
        investors in order to artificially inflate the price and trading volume so that
  20
        Defendants could sell their respective EMAX Tokens for substantial profits.
  21
              369. As alleged above, each Defendants Perone, Rechnitz, Mayweather, and
  22
        Pierce acted in furtherance of the conspiracy by, among other things, sharing inside
  23
        information with each other about the timing of various celebrity promotions of
  24
        EthereumMax and the EMAX Tokens and then profiting from subsequent trades they
  25
        made based on that insider knowledge. These Defendants further conspired to falsely
  26
        promote the EMAX Tokens as sound investments with significant growth potential
  27
        and make misleading statements about the Defendants holding their EMAX Tokens
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    1 along with the retail investors who bought, while, in truth, Defendants Rechnitz,
    2 Pierce, and Mayweather (with the aid of Perone) were selling their EMAX Tokens
    3 for substantial profits.
    4         370. “Under California law, the existence of a conspiracy may sometimes be
    5 inferred from the nature of the acts done, the relations of the parties, the interests of
    6 the alleged conspirators, and other circumstances.” In re Sunset Bay Assocs., 944
    7 F.2d 1503, 1517 (9th Cir. 1991).
    8         371. As alleged herein, Defendants Rechnitz, Mayweather, and Pierce are
    9 close friends and business partners in multiple endeavors. Each of them had actual
  10 knowledge of each other’s insider trading activities and agreed to both improperly
  11 promote EthereumMax and then time their trading of EMAX Tokens accordingly.
  12          372. For example, Rechnitz literally chanted “pump and dump” while
  13 showing off his success at frontrunning Pierce’s promotions to try to recruit CW1
  14 into the conspiracy. This fact clearly establishes a deceitful purpose for the enterprise
  15 and “tend[s] to exclude the possibility that any alternative explanation is true.” See
  16 Shaw v. Nissan N. Am., Inc., 220 F. Supp. 3d 1046, 1056 (C.D. Cal. 2016).
  17          373. This frontrunning conspiracy between Rechnitz, Mayweather, and
  18 Pierce (and aided by Perone) was not any of these three individuals’ primary business
  19 activity. Indeed, Rechnitz is a jeweler, Pierce is a sports personality, and Mayweather
  20 is a semi-retired professional boxer. None of them are licensed securities traders or
  21 brokers. Their conspiratorial enterprise was also distinct from Perone’s and
  22 EthereumMax’s business of using EMAX Tokens as a method of digital payment for
  23 goods and services.
  24          374. Rechnitz, Pierce, and Mayweather each shared the common purpose of
  25 using the inside information Rechnitz obtained from the Executive Defendant Perone
  26 (and then shared with Pierce and Mayweather) to time their trades to coincide with
  27 the “pump” of the EMAX Token price created by the particular promotion. Rechnitz,
  28
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    1 Pierce and Mayweather then would “dump” their EMAX Tokens as misled investors
    2 poured in to buy.
    3        375. As a proximate result of said conspiracy, as described in the foregoing
    4 paragraphs, Plaintiffs suffered, continue to suffer, and will suffer in the future, the
    5 damages alleged herein.
    6        376. For the conduct of Defendants Perone, Rechnitz, Pierce, and
    7 Mayweather in the alleged conspiracy, Plaintiffs seek compensatory damages against
    8 each of these Defendants, jointly and severely, in an as-yet undetermined amount;
    9 punitive damages, injunctive relief enjoining these Defendants from continuing to
  10 falsely and misleadingly promote the EMAX Tokens and then trading off of their
  11 material, non-public information; and divestiture of all money wrongfully obtained,
  12 whether directly or indirectly, as part of the alleged conspiracy
  13                             NINTH CAUSE OF ACTION
  14                               Aiding and Abetting
                                 California Common Law
  15      (Against the Executive Defendant Maher and the Promoter Defendants)
  16         377. Plaintiffs restate and reallege all preceding allegations above as if fully
  17 set forth herein.
  18         378. Under California law, aiding and abetting requires not agreement, but
  19 simply assistance. The elements of aiding and abetting liability have cited the
  20 elements of the tort as they are set forth in the RESTATEMENT (SECOND) OF TORTS
  21 §876, and have omitted any reference to an independent duty on the part of the aider
  22 and abettor.
  23         379. Under California law, “‘[l]iability may . . . be imposed on one who aids
  24 and abets the commission of an intentional tort if the person (a) knows the other’s
  25 conduct constitutes a breach of duty and gives substantial assistance or
  26 encouragement to the other to so act or (b) gives substantial assistance to the other in
  27 accomplishing a tortious result and the person’s own conduct, separately considered,
  28
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    1 constitutes a breach of duty to the third person.’” Neilson v. Union Bank of Cal.,
    2 N.A., 290 F. Supp. 2d 1101, 1118 (C.D. Cal. 2003) (citation omitted).
    3         380. “Unlike a conspirator, an aider and abettor does not ‘adopt as his or her
    4 own’ the tort of the primary violator. Rather, the act of aiding and abetting is distinct
    5 from the primary violation; liability attaches because the aider and abettor behaves in
    6 a manner that enables the primary violator to commit the underlying tort.” Id.
    7         381. The Promoter Defendants have previous knowledge and experience with
    8 making misleading promotional statements (with Mayweather having nearly an
    9 identical experience with a previous fraudulent cryptocurrency promotion), and, as
  10 such, knew that the marketing strategy employed by the Executive Defendants for
  11 the EMAX Tokens was unlawful, deceitful, fraudulent, and/or violated the terms of
  12 the California, Florida, New York, and New Jersey state statutes described in this
  13 Complaint.
  14          382. By promoting the EMAX Tokens on their social media platforms and
  15 through their reported conduct, the Promotor Defendants provided assistance that was
  16 a substantial factor causing the EMAX Token price to both surge and do so long
  17 enough to allow all Defendants to sell their EMAX Tokens for huge profits at the
  18 expense of their followers and investors.          Without the help of the Promoter
  19 Defendants’ activities, the Executive Defendants would have been unable to use the
  20 misleading marketing strategy devised by Gentile, and Defendants would not have
  21 been able to commit the violations of California state consumer protection statutes
  22 alleged herein.
  23          383. As a direct and proximate result of the Promotor Defendants’ unlawful,
  24 unfair, and deceptive practices, Plaintiffs and Class members suffered damages. The
  25 Executive Defendants’ activities with the Promoter Defendants caused Plaintiffs and
  26 the Class members to purchase and/or hold the EMAX Tokens when they otherwise
  27 would not have done so.
  28
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    1         384. Plaintiffs seek to enjoin further unlawful, unfair, and/or fraudulent acts
    2 or practices by EthereumMax, to obtain monetary damages, restitution and
    3 disgorgement of all monies generated as a result of such practices, and for all other
    4 relief allowed under California law.
    5                                TENTH CAUSE OF ACTION
    6                 Violations of California Corporate Securities Law of 1968
                           Cal. Corp. Code §§25110, 25401, 25403, & 25404
    7                              (Sale of Unregistered Securities)
                          (Against the Company and Executive Defendants)
    8
              385. Plaintiffs restate and reallege all preceding allegations above in
    9
        paragraphs 1 – 185 as if fully set forth herein, and further allege as follows:
  10
              386. Plaintiffs Semerjian, Buckley, and Shah are residents of the State of
  11
        California.
  12
              387. Plaintiffs Semerjian, Buckley, and Shah paid for or purchased EMAX
  13
        Tokens in California and thus the deceptive transactions alleged herein occurred in
  14
        California.
  15
              388. The EMAX Token is a “security” within the meaning of the term as
  16
        defined by Cal. Corp. Code §25019.          Additionally, the SEC has concurrently
  17
        determined that the EMAX Tokens “were offered and sold as investment contracts
  18
        and therefore securities pursuant to Section 2(a)(1) of the Securities Act.” SEC
  19
        Order, ¶4.
  20
              389. Defendants, and each of them, by engaging in the conduct described
  21
        above within California, directly or indirectly, sold and offered to sell securities.
  22
              390. Plaintiffs Semerjian, Buckley, and Shah, and the members of the Class
  23
        purchased EMAX Tokens from Defendants.
  24
              391. Section 25110 of California’s Corporate Securities Law of 1968
  25
        provides that it is unlawful and a violation for any person to sell or offer to sell a
  26
        security within the State of California unless the security is exempt under Chapter 1
  27
        of the California statute.
  28
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    1         392. Section 25400 further provides that it is unlawful for any person within
    2 California to, directly or indirectly, “effect, alone or with one or more other persons,
    3 a series of transactions in any security creating actual or apparent active trading in
    4 such security or raising or depressing the price of such security, for the purpose of
    5 inducing the purchase or sale of such security by others.” Cal. Corp. Code §25400(b).
    6 Concurrently, under Cal. Corp. Code §25401, it is unlawful for any person to offer
    7 or sell a security within California, or to buy or offer to buy a security in this state,
    8 “by means of any written or oral communication that includes an untrue statement of
    9 a material fact or omits to state a material fact necessary to make the statements made,
  10 in the light of the circumstances under which the statements were made, not
  11 misleading.” Cal. Corp. Code §25401.
  12          393. California law also contains a provision making it illegal to knowingly
  13 provide substantial assistance to another in violation of this law. See Cal. Corp. Code
  14 §25504. Any person that directly or indirectly induces a violation or provides
  15 substantial assistance in violating California’s Corporate Securities Law of 1968 shall
  16 be deemed to be in violation of that provision to the “same extent” as the primary
  17 violator. Cal. Corp. Code §25403(b)-(c).
  18          394. Section 25504 also extends liability to “[e]very person who directly or
  19 indirectly controls a person liable under Section 25501 or 25503, . . . every principal
  20 executive officer or director of a corporation so liable, every person occupying a
  21 similar status or performing similar functions, every employee of a person so liable
  22 who materially aids in the act or transaction constituting the violation . . . are also
  23 liable jointly and severally with and to the same extent as such person.” Cal. Corp.
  24 Code §25504.
  25          395. Under §2(a)(1) of the Securities Act of 1933, a “security” is defined to
  26 include an “investment contract.” 15 U.S.C. §77b(a)(1). The Supreme Court in the
  27 case S.E.C. v. W.J. Howey Co., 328 U.S. 293, 301 (1946), established the prevailing
  28
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    1 test for determining whether something is an investment contract, which is defined
    2 as is “an investment of money in a common enterprise with profits to come solely
    3 from the efforts of others.” Id. Specifically, a transaction qualifies as an investment
    4 contract and, thus, a security if it is: (1) an investment; (2) in a common enterprise;
    5 (3) with a reasonable expectation of profits; and (4) to be derived from the
    6 entrepreneurial or managerial efforts of others. See United Hou. Found., Inc. v.
    7 Forman, 421 U.S. 837, 852-53 (1975). This definition embodies a “flexible rather
    8 than a static principle, one that is capable of adaptation to meet the countless and
    9 variable schemes devised by those who seek the use of the money of others on the
  10 promise of profits,” and thereby “permits the fulfillment of the statutory purpose of
  11 compelling full and fair disclosure relative to the issuance of ‘the many types of
  12 instruments that in our commercial world fall within the ordinary concept of a
  13 security.’” Howey, 328 U.S. at 299 (citation omitted). Accordingly, in analyzing
  14 whether something is a security, “‘form should be disregarded for substance,’” and
  15 the emphasis should be “on the economic realities underlying a transaction, and not
  16 on the name appended thereto.” Forman, 421 U.S. at 848-49.
  17         396. The EMAX Tokens sold and offered for sale to Plaintiffs and Class
  18 members were not:
  19                (a)    exempt from registration under the California Corporate
  20 Securities Law of 1968;
  21                (b)    a covered security;
  22                (c)    registered with the Office of Financial Regulations; or
  23                (d)    sold in a transaction exempt under California or federal law.
  24         397. The Company and Executive Defendants sold and offered to sell the
  25 unregistered EMAX Tokens to Plaintiffs Semerjian, Buckley, and Shah, and the
  26 members of the Class.
  27
  28
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    1         398. Investors who bought EMAX Tokens invested money or other valuable
    2 consideration in a common enterprise. Investors had a reasonable expectation of
    3 profit based upon the efforts of the Defendants, including, among other things,
    4 Defendants’ promotional efforts and business operations. As stated in the SEC
    5 Order:
    6         Based on EthereumMax’s marketing materials, as well as public
              statements by EthereumMax affiliates, the EthereumMax website, and
    7         EthereumMax social media handles, purchasers of EMAX tokens
              would have had a reasonable expectation of profits from their
    8         investment in the tokens. EthereumMax frequently touted the token’s
              rise in price on its social media pages as it offered and sold EMAX
    9         tokens.
  10          Based on EthereumMax’s public statements, purchasers of the EMAX
              tokens would have had a reasonable expectation that EthereumMax and
  11          its agents would expend significant efforts to develop the
              EthereumMax platform, which would increase the value of their
  12          EMAX tokens, resulting in investor profit. EthereumMax’s marketing
              materials highlighted that the Company and its agents would ensure a
  13          secondary trading market for EMAX tokens by creating a trading
              market for EMAX tokens. EthereumMax’s marketing materials also
  14          emphasized the purported expertise of the Company’s management.
  15          EthereumMax’s marketing materials, moreover, contained numerous
              direct statements that the EMAX tokens would rise in value as a result
  16          of the efforts of the Company and its agents, including by touting future
              deals and relationships that would “drive value.” EthereumMax also
  17          promised to develop certain “token enhancements,” including
              “additional tokenomics to enhance economic value,” future rewards
  18          and staking programs, national sporting and event partnerships, and a
              general expansion of the EMAX token ecosystem.
  19
              399. Plaintiffs Semerjian, Buckley, and Shah and Class members invested
  20
        fiat, including U.S. dollars, and digital currencies, such as Bitcoin and Ethereum, to
  21
        purchase EMAX Tokens.
  22
              400. Defendants sold EMAX Tokens to the general public on various
  23
        cryptocurrency exchanges.
  24
              401. Every purchase of EMAX Tokens by a member of the public is an
  25
        investment contract.
  26
  27
  28
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    1        402. Additionally, investors were passive participants in the EMAX Tokens
    2 launch and the profits of each Plaintiff and the Class were intertwined with those of
    3 Defendants.
    4        403. The Executive Defendants also were responsible for supporting the
    5 EMAX Token products and its code. Additionally, the Executive Defendants also
    6 were responsible for supporting EMAX Tokens, pooled investors’ assets, and
    7 controlled those assets.
    8        404. Plaintiffs Semerjian, Buckley, and Shah and Class members in the
    9 EMAX Tokens made their investment with a reasonable expectation of profits.
  10         405. Investors’ profits in the EMAX Tokens were to be derived from the
  11 managerial efforts of others ‒ specifically the Company, the Executive Defendants
  12 or any EthereumMax personnel responsible for developing the networks on which
  13 these tokens will operate and managing the proprietary trading codes. EMAX Token
  14 investors relied on the managerial and entrepreneurial efforts of the Company and the
  15 Executive Defendants to manage, oversee, and/or develop the EthereumMax business
  16 and sales of EMAX Tokens.
  17         406. This dependency, however, on the managerial efforts of the Company
  18 and Executive Defendants was not apparent at issuance to a reasonable investor.
  19 Considering the limited available information about how these EMAX Tokens were
  20 designed and intended to operate, if such an investor were even able to interpret the
  21 relevant law at the time, a reasonable investor lacked sufficient bases to conclude
  22 whether the EMAX Tokens were securities until the platform at issue, and its relevant
  23 “ecosystem,” had been given time to develop. In the interim, the investor lacked the
  24 facts necessary to conclude - let alone formally allege in court - that the EMAX
  25 Tokens they had acquired were securities.
  26         407. The SEC has also provided guidance for determining claims alleging the
  27 improper sale of unregistered securities. On April 3, 2019, the SEC published its
  28
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    1 “Framework for ‘Investment Contract’ Analysis of Digital Assets” (the
    2 “Framework”) in which it “provide[d] a framework for analyzing whether a digital
    3 asset is an investment contract and whether offers and sales of a digital asset are
    4 securities transactions.”103
    5         408. The Framework described how to analyze the various facts surrounding
    6 an initial coin offering (“ICO”) in making the determination of whether a given
    7 digital asset is a security.
    8         409. In particular, the Framework provides that the “inquiry into whether a
    9 purchaser is relying on the efforts of others focuses on two key issues: Does the
  10 purchaser reasonably expect to rely on the efforts of an [Active Participant or “AP”]?
  11 Are those efforts ‘the undeniably significant ones, those essential managerial efforts
  12 which affect the failure or success of the enterprise,’ as opposed to efforts that are
  13 more ministerial in nature?”104
  14          410. The Framework further notes that the “stronger the[ ] presence” of the
  15 following factors, “the more likely it is that a purchaser of a digital asset is relying
  16 on the ‘efforts of others.’”105
  17          411. The first factor the SEC looked at was whether an AP is responsible for
  18 the development, improvement (or enhancement), operation, or promotion of the
  19 network, particularly if purchasers of the digital asset expect an AP to be performing
  20 or overseeing tasks that are necessary for the network or digital asset to achieve or
  21 retain its intended purpose or functionality.
  22          412. At the time of the EthereumMax launch, Defendants actively marketed
  23 the EMAX Token launch and the tokens’ growth and utilization prospects, thereby
  24 necessitating the continued managerial efforts of the Company and Executive
  25
  26
        103
           Framework for “Investment Contract” Analysis of Digital Assets, U.S. SEC.
     & EXCH. COMM’N (Apr. 3, 2019), https://www.sec.gov/corpfin/framework-
  27 investment-contract-analysis-digital-assets.
     104
           Id.
  28 105
           Id.
                                             140
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    1 Defendants. Where the network or the digital asset is still in development and the
    2 network or digital asset is not fully functional at the time of the offer or sale,
    3 purchasers would reasonably expect an AP to further develop the functionality of the
    4 network or digital asset (directly or indirectly).
    5         413. Another factor the Framework considers is whether the AP creates or
    6 supports a market for, or the price of, the digital asset. This includes, inter alia,
    7 whether the AP “(1) controls the creation and issuance of the digital asset; or (2) takes
    8 other actions to support a market price of the digital asset, such as by limiting supply
    9 or ensuring scarcity, through, for example, buybacks, “burning,” or other
  10 activities.”106
  11          414. As noted above, all of the EMAX Tokens in circulation were created at
  12 the direction of the Executive Defendants. Additionally, the Executive Defendants
  13 also created the protocols by which the EMAX Tokens are burned.
  14          415. The framework further states that “[a]n AP has a continuing managerial
  15 role in making decisions about or exercising judgment concerning the network or the
  16 characteristics or rights the digital asset represents.”107
  17          416. Here, the Company and Executive Defendants have discussed the long-
  18 term prospects on extended frames, continually noting how the utilization of EMAX
  19 Tokens as a method of payment will grow in the future.
  20          417. The ability to determine whether and where the digital asset will trade
  21 is another factor discussed in the Framework.           For example, “purchasers may
  22 reasonably rely on an AP for liquidity, such as where the AP has arranged, or
  23 promised to arrange for, the trading of the digital asset on a secondary market or
  24 platform.”108
  25
  26
        106
              Id.
  27    107
              Id.
  28    108
              Id.
                                                141
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    1         418. Here, the Executive Defendants, in particular Defendant Maher,
    2 admitted that the Executive Defendants had access to and did manipulate the sales of
    3 EMAX Tokens in the first days, which had a dramatic impact on the EMAX Token
    4 price and effected the EMAX Token liquidity pool.
    5         419. Another factor the Framework notes is whether the AP has the ability to
    6 determine who will receive additional digital assets and under what conditions. This
    7 could be, for example, “[m]aking or contributing to managerial level business
    8 decisions, such as how to deploy funds raised from sales of the digital asset.”109
    9         420. Here, the Company and Executive Defendants are the arbiters of funding
  10 for EthereumMax.
  11          421. Making other managerial judgements or decisions that will directly or
  12 indirectly impact the success of the network or the value of the digital asset generally.
  13          422. The Framework also remarks that purchasers would reasonably expect
  14 the AP to undertake efforts to promote its own interests and enhance the value of the
  15 network or digital asset, including, but not limited to, the instances where the AP “has
  16 the ability to realize capital appreciation from the value of the digital asset. This can
  17 be demonstrated, for example, if the AP retains a stake or interest in the digital asset.”
  18 According to the SEC, in these instances, “purchasers would reasonably expect the
  19 AP to undertake efforts to promote its own interests and enhance the value of the
  20 network or digital asset.”110
  21          423. Here, the Executive Defendants retain a significant interest in the
  22 EthereumMax project even after selling off many EMAX Tokens at the height of the
  23 initial launch.
  24          424. On May 7, 2021, on CNBC's “Squawk Box” television program,
  25 chairman of the SEC Gary Gensler stated that “a lot of crypto tokens – I won't call
  26
  27    109
              Id.
  28    110
              Id.
                                                142
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    1 them cryptocurrencies for this moment – are indeed securities.”111 In addition to
    2 being the Chairman of the SEC, Mr. Gensler is also a world renowned expert on
    3 cryptocurrencies and blockchain technology, having taught the “Blockchain and
    4 Money” course at the Sloan School of Management at the Massachusetts Institute of
    5 Technology (“MIT”).112
    6         425. In a June 14, 2018 speech entitled “Digital Asset Transactions: When
    7 Howey Met Gary (Plastic)” that is available on the SEC’s website,113 the following
    8 observations were made on “when a digital transaction may no longer represent a
    9 security offering”:
  10          If the network on which the token or coin is to function is sufficiently
              decentralized – where purchasers would no longer reasonably expect a
  11          person or group to carry out essential managerial or entrepreneurial
              efforts – the assets may not represent an investment contract.
  12          Moreover, when the efforts of the third party are no longer a key factor
              for determining the enterprise's success, material information
  13          asymmetries recede. As a network becomes truly decentralized, the
              ability to identify an issuer or promoter to make the requisite dis-
  14          closures becomes difficult, and less meaningful.
  15                And so, when I look at Bitcoin today, I do not see a central third
              party whose efforts are a key determining factor in the enterprise. The
  16          network on which Bitcoin functions is operational and appears to have
              been decentralized for some time, perhaps from inception.
  17
              426. A key factor in determining whether a digital asset is a security or not is
  18
        whether the there is a centralized entity behind the digital asset.114 EMAX Holdings,
  19
        LLC operated as the de facto corporate entity and Defendant Perone is the sole
  20
  21    111
               Jesse Point, SEC Chairman Gary Gensler says more investor protections are
  22    needed for bitcoin and crypto markets, CNBC (May 7, 2021), https://www.cnbc.
        com/2021/05/07/sec-chairman-gary-gensler-says-more-investor-protections-are-
  23    needed-for-bitcoin-and-crypto-markets.html.
        112
               Lectures and Materials from Chairman Gensler's MIT course are available to
  24    the public for free at: https://ocw.mit.edu/courses/sloan-school-of-management/15-
        s12-blockchain-and-money-fall-2018/video-lectures/session-1-introduction/.
  25    113
               William Hinman, Director, Division of Corporation Finance, Remarks at the
  26    Yahoo Finance All Markets Summit, Digital Asset Transactions: When Howey Met
        Gary (Plastic), (June 14, 2018), https://www.sec.gov/news/speech/speech-hinman-
  27    061418.
        114
                Id. (noting that the “decentralized structure” of Bitcoin and Ethereum placed
  28    these digital assets outside the “disclosure regime of the federal securities laws”).
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    1 executive and director of this holding company. Thus, there is a centralized entity
    2 behind the EMAX Tokens.
    3         427. Finally, the SEC also already concluded that other virtual currencies
    4 (e.g., DAO tokens) that are substantially similar to EMAX Tokens are “securities and
    5 therefore subject to the federal securities laws.” As stated by the SEC, “issuers of
    6 distributed ledger or blockchain technology-based securities must register offers and
    7 sales of such securities unless a valid exemption applies.”115 More recently, on
    8 November 7, 2022, the SEC was granted summary judgment on the issue of whether
    9 or not the token at issue constituted a security, stating that “no reasonable trier of fact
  10 could reject the SEC’s contention that LBRY offered LBC [tokens] as a security, and
  11 LBRY does not have a triable defense that it lacked fair notice [that it needed to
  12 register its offerings].” S.E.C. v. LBRY, Inc., _ F. Supp. 3d __, No. 21-cv-260, 2022
  13 WL 16744741, at *8 (D.N.H. Nov. 7, 2022).
  14          428. This analysis of whether the DAO and LBC tokens are securities should
  15 be applied here.
  16          429. Additionally, each of the Executives Defendants (especially Defendant
  17 Maher) are liable under §§25400(b)-(e), and 25401 through 25404 of the California
  18 Corporate Code for: (1) effecting transactions of the EMAX Token security that
  19 created the appearance of active trading in the EMAX Tokens and/or raised the price
  20 of the EMAX Tokens for the purpose of inducing the purchase or sale of EMAX
  21 Tokens by others; (2) inducing the purchase or sale of EMAX Tokens by
  22 disseminating information to the effect that the EMAX Token’s price will or is likely
  23 to rise because of market operations of any one or more persons conducted for the
  24 purpose of raising or depressing the price of EMAX Tokens; (3) making, for the
  25 purpose of inducing the purchase or sale of EMAX Tokens by others, any statement
  26
  27    115
            Press Release, U.S. SEC & EXCH. COMM’N, SEC Issues Investigative Report
     Concluding DAO Tokens, a Digital Asset, Were Securities (July 25, 2017),
  28 https://www.sec.gov/news/press-release/2017-131.
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    1 which was, at the time and in the light of the circumstances under which it was made,
    2 false or misleading with respect to any material fact, or which omitted to state any
    3 material fact necessary in order to make the statements made, in the light of the
    4 circumstances under which they were made, not misleading, and which he knew or
    5 had reasonable ground to believe was so false or misleading; and (4) receiving
    6 consideration, directly or indirectly from any person selling or offering for sale or
    7 purchasing or offering to purchase EMAX Tokens, to induce the purchase or sale of
    8 EMAX Tokens.
    9        430. As noted above, Defendant Maher, in conjunction with the other
  10 Executive Defendants, manipulated the price of EMAX Tokens by effectively
  11 engaging in wash trading in the early days of the EthereumMax launch in order to
  12 artificially increase the price of the EMAX Tokens and then sell those unregistered
  13 securities to Plaintiffs and the Class. Maher, Davis, and Speer each made misleading
  14 statements regarding the exponential increase in the price of EMAX Tokens in the
  15 early days of the launch. Defendants purposefully did not disclose to investors that
  16 the percentage increases that they were collectively touting was the result of price
  17 manipulation as opposed to organic interest in the project.
  18         431. Cal. Corp. Code 25503 provides, in relevant part, that any person who
  19 violates Section 25110 “shall be liable to any person acquiring from them the
  20 security sold in violation of that section, who may sue to recover the consideration
  21 they paid for that security with interest thereon at the legal rate, and reasonable
  22 attorney's fees, less the amount of any income received therefrom.” Damages, if the
  23 plaintiff no longer owns the security, shall be equal to the difference between (a) the
  24 purchase price plus interest at the legal rate from the date of purchase, plus
  25 reasonable attorney's fees, and (b) the value of the security at the time it was disposed
  26 of by the plaintiff plus the amount of any income received therefrom by the plaintiff.
  27
  28
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    1         432. Cal. Corp. Code 25500 provides, in relevant part, that “any person who
    2 willfully participates in any act or transaction in violation of Section 25400 shall be
    3 liable to any other person who purchases or sells any security at a price which was
    4 affected by such act or transaction for the damages sustained by the latter as a result
    5 of such act or transaction.” Damages are measured as “the difference between the
    6 price at which such other person purchased or sold securities and the market value
    7 which such securities would have had at the time of his purchase or sale in the
    8 absence of such act or transaction, plus interest at the legal rate.”
    9         433. Cal. Corp. Code 25500 provides that “any person who violated Section
  10 25401 shall be liable to the person who purchases a security from, or sells a security
  11 to, that person, who may sue for either recission or for damages (if the plaintiff no
  12 longer owns the security).”         Upon rescission, a purchaser may recover the
  13 consideration paid for the security, plus interest at the legal rate, less the amount of
  14 any income received on the security, upon tender of the security.             Damages
  15 recoverable under this section by a purchaser shall be an amount equal to the
  16 difference between (a) the price at which the security was bought plus interest at the
  17 legal rate from the date of purchase and (b) the value of the security at the time it
  18 was disposed of by the plaintiff plus the amount of any income received on the
  19 security by the plaintiff. “In addition to the relief described above, the court shall
  20 award reasonable attorney's fees and costs to a prevailing purchaser who succeeds
  21 in establishing a right to the relief provided by this section.”
  22                           ELEVENTH CAUSE OF ACTION
  23             Violation of California Corporate Securities Law of 1968
                                  Cal. Corp. Code §25402
  24                                 (Insider Trading)
          (Against Defendants Perone, Rechnitz, Maher, Mayweather, and Pierce)
  25
  26          434. Plaintiffs restate and reallege all preceding allegations above in
  27 paragraphs 1 - 185 as if fully set forth herein, and further allege as follows:
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    1         435. Plaintiffs Semerjian, Buckley, and Shah are residents of the State of
    2 California.
    3         436. Plaintiffs Semerjian, Buckley, and Shah paid for or purchased EMAX
    4 Tokens in California and thus the deceptive transactions alleged herein occurred in
    5 California.
    6         437. The EMAX Token is a “security” within the meaning of the term as
    7 defined by Cal. Corp. Code §25019.
    8         438. Defendants, and each of them, by engaging in the conduct described
    9 above within California, directly or indirectly, sold and offered to sell securities.
  10          439. Plaintiffs Semerjian, Buckley, and Shah, and the members of the Class
  11 purchased EMAX Tokens from Defendants.
  12          440. California Corporations Code §25402 prohibits insider trading.
  13 Specifically, it provides:
  14          It is unlawful for an issuer or any person who is an officer, director or
              controlling person of an issuer or any other person whose relationship
  15          to the issuer gives him access, directly or indirectly, to material
              information about the issuer not generally available to the public, to
  16          purchase or sell any security of the issuer in this state at a time when he
              knows material information about the issuer gained from such
  17          relationship which would significantly affect the market price of that
              security and which is not generally available to the public, and which
  18          he knows is not intended to be so available, unless he has reason to
              believe that the person selling to or buying from him is also in
  19          possession of the information.
  20          441. Rechnitz, Maher, Pierce, and Mayweather had relationships with the
  21 issuer (Executive Defendant Perone) that gave them direct access to material
  22 information about the timing of the marketing activities of the celebrity promoters
  23 (which were not generally available to Plaintiffs Semerjian, Buckley, or Shah, or the
  24 members of the class. Rechnitz, Maher, Pierce, and Mayweather are also considered
  25 controlling persons under Cal. Corp. Code §25402.
  26          442. As alleged above, Rechnitz, Maher, Pierce, and Mayweather (with
  27 assistance from Perone) used this information to purchase and sell EMAX Tokens at
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    1 a time when the value of the EMAX Tokens was artificially inflated from the
    2 Promoter Defendants’ promotional activities.
    3        443. Given the amounts of EMAX Tokens that Defendants Rechnitz, Maher,
    4 Pierce, and Mayweather had received from Perone, their trades of the same would
    5 significantly impact the market price of the EMAX Tokens. Indeed, upon information
    6 and belief, the price decrease occurring on or around June 2, 2021 (which the
    7 Executive Defendants claimed was caused by the news that Groot Hospitality would
    8 not be able to accept EMAX Tokens as a payment as promised) was actually caused
    9 when, as Defendants Davis revealed, Mayweather immediately sold off all of the
  10 EMAX Tokens that he was given as his fee for promoting EthereumMax.
  11         444. None of the Plaintiffs or members of the class were in possession of the
  12 information regarding the time of the celebrity promotions of EMAX Tokens.
  13         445. Cal. Corp. Code 25502 states:
  14         Any person who violates Section 25402 shall be liable to the person
             who purchases a security from him or sells a security to him, for
  15         damages equal to the difference between the price at which such
             security was purchased or sold and the market value which such
  16         security would have had at the time of the purchase or sale if the
             information known to the defendant had been publicly disseminated
  17         prior to that time and a reasonable time had elapsed for the market to
             absorb the information, plus interest at the legal rate.
  18
  19                          TWELFTH CAUSE OF ACTION
  20           Violation of the Florida Securities and Investor Protection Act
                                    Fl. Stat. Section 517.07
  21                           (Sale of Unregistered Securities)
                     (Against the Company and Executive Defendants)
  22
  23         446. Plaintiffs restate and reallege all preceding allegations above in
  24 paragraphs 1 – 185 as if fully set forth herein, and further allege as follows:
  25         447. Plaintiffs Nahlah, Freeman, Puda, and Brignol are residents of the State
  26 of Florida.
  27
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    1        448. Plaintiffs Nahlah, Freeman, Puda, and Brignol paid for or purchased
    2 EMAX Tokens in Florida and thus the deceptive transactions alleged herein
    3 occurred in Florida.
    4        449. The EMAX Token is a “security” within the meaning of the term as
    5 defined by Section 517.021(22), Fla. Stat. Additionally, the SEC has concurrently
    6 determined that the EMAX Tokens “were offered and sold as investment contracts
    7 and therefore securities pursuant to Section 2(a)(1) of the Securities Act.” SEC
    8 Order, ¶4.
    9        450. Defendants, and each of them, by engaging in the conduct described
  10 above within California, directly or indirectly, sold and offered to sell securities.
  11         451. Plaintiffs Nahlah, Freeman, Puda, and Brignol, and the members of the
  12 Class purchased EMAX Tokens from Defendants.
  13         452. Section 517.07(1) of the Florida Statute provides that it is unlawful and
  14 a violation for any person to sell or offer to sell a security within the State of Florida
  15 unless the security is exempt under Florida Statute §517.051, is sold in a transaction
  16 exempt under Florida Statute §517.061, is a federally covered security, or is
  17 registered pursuant to Chapter 517 of the Florida Statute.
  18         453. Section 517.211 extends liability to any “director, officer, partner, or
  19 agent of or for the seller, if the director, officer, partner, or agent has personally
  20 participated or aided in making the sale, is jointly and severally liable to the purchaser
  21 in an action for rescission, if the purchaser still owns the security, or for damages, if
  22 the purchaser has sold the security.” Fla. Stat. §517.211(1).
  23         454. Under §2(a)(1) of the Securities Act of 1933, a “security” is defined to
  24 include an “investment contract.” 15 U.S.C. §77b(a)(1). The Supreme Court in
  25 Howey established the prevailing test for determining whether something is an
  26 investment contract, which is defined as “an investment of money in a common
  27 enterprise with profits to come solely from the efforts of others.” Id. at 301.
  28
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    1 Specifically, a transaction qualifies as an investment contract and, thus, a security if
    2 it is: (1) an investment; (2) in a common enterprise; (3) with a reasonable expectation
    3 of profits; and (4) to be derived from the entrepreneurial or managerial efforts of
    4 others. See Forman, 421 U.S. at 852-53. This definition embodies a “flexible rather
    5 than a static principle, one that is capable of adaptation to meet the countless and
    6 variable schemes devised by those who seek the use of the money of others on the
    7 promise of profits,” and thereby “permits the fulfillment of the statutory purpose of
    8 compelling full and fair disclosure relative to the issuance of ‘the many types of
    9 instruments that in our commercial world fall within the ordinary concept of a
  10 security.’” Howey, 328 U.S. at 299 (citation omitted). Accordingly, in analyzing
  11 whether something is a security, “‘form should be disregarded for substance,’” and
  12 the emphasis should be “on the economic realities underlying a transaction, and not
  13 on the name appended thereto.” Forman, 421 U.S. at 848-49.
  14          455. The EMAX Token is a security pursuant to Fla. Stat. §517.021(22)(a).
  15          456. The EMAX Tokens sold and offered for sale to Plaintiffs and Class
  16 members were not:
  17                a.     exempt from registration under Fla. Stat. §517.051;
  18                b.     a federal covered security;
  19                c.     registered with the Office of Financial Regulations (OFR); or
  20                d.     sold in a transaction exempt under Fla. Stat. §517.061.
  21          457. The Company and Executive Defendants sold and offered to sell the
  22 unregistered EMAX Tokens to Plaintiff Nahlah, Freeman, Puda, and Brignol, and the
  23 members of the Class.
  24          458. Defendants are directors, officers, partners and/or agents of the
  25 Company pursuant to Fla. Stat. §517.211.
  26          459. Investors who bought EMAX Tokens invested money or other valuable
  27 consideration in a common enterprise. Investors had a reasonable expectation of
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    1 profit based upon the efforts of the Defendants, including, among other things,
    2 Defendants’ promotional efforts and business operations. As stated in the SEC
    3 Order:
    4        Based on EthereumMax’s marketing materials, as well as public
             statements by EthereumMax affiliates, the EthereumMax website, and
    5        EthereumMax social media handles, purchasers of EMAX tokens
             would have had a reasonable expectation of profits from their
    6        investment in the tokens. EthereumMax frequently touted the token’s
             rise in price on its social media pages as it offered and sold EMAX
    7        tokens.
    8        Based on EthereumMax’s public statements, purchasers of the EMAX
             tokens would have had a reasonable expectation that EthereumMax and
    9        its agents would expend significant efforts to develop the
             EthereumMax platform, which would increase the value of their
  10         EMAX tokens, resulting in investor profit. EthereumMax’s marketing
             materials highlighted that the Company and its agents would ensure a
  11         secondary trading market for EMAX tokens by creating a trading
             market for EMAX tokens. EthereumMax’s marketing materials also
  12         emphasized the purported expertise of the Company’s management.
  13         EthereumMax’s marketing materials, moreover, contained numerous
             direct statements that the EMAX tokens would rise in value as a result
  14         of the efforts of the Company and its agents, including by touting future
             deals and relationships that would “drive value.” EthereumMax also
  15         promised to develop certain “token enhancements,” including
             “additional tokenomics to enhance economic value,” future rewards
  16         and staking programs, national sporting and event partnerships, and a
             general expansion of the EMAX token ecosystem.
  17
  18         460. Plaintiffs Nahlah, Freeman, Puda, and Brignol and Class members
  19 invested fiat, including U.S. dollars, and digital currencies, such as Bitcoin and
  20 Ethereum, to purchase EMAX Tokens.
  21         461. Defendants sold EMAX Tokens to the general public on various
  22 cryptocurrency exchanges.
  23         462. Every purchase of EMAX Tokens by a member of the public is an
  24 investment contract.
  25         463. Additionally, investors were passive participants in the EMAX Tokens
  26 launch and the profits of each Plaintiff and the Class were intertwined with those of
  27 Defendants.
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    1        464. The Executive Defendants also were responsible for supporting the
    2 EMAX Token products and its code. Additionally, the Executive Defendants also
    3 were responsible for supporting EMAX Tokens, pooled investors’ assets, and
    4 controlled those assets.
    5        465. Plaintiffs Nahlah, Freeman, Puda, and Brignol and Class members in the
    6 EMAX Tokens made their investment with a reasonable expectation of profits.
    7        466. Investors’ profits in the EMAX Tokens were to be derived from the
    8 managerial efforts of others ‒ specifically the Company, the Executive Defendants
    9 or any EthereumMax personnel responsible for developing the networks on which
  10 these tokens will operate and managing the proprietary trading codes. EMAX Token
  11 investors relied on the managerial and entrepreneurial efforts of the Company and the
  12 Executive Defendants to manage, oversee, and/or develop the EthereumMax business
  13 and sales of EMAX Tokens.
  14         467. This dependency, however, on the managerial efforts of the Company
  15 and Executive Defendants was not apparent at issuance to a reasonable investor.
  16 Considering the limited available information about how these EMAX Tokens were
  17 designed and intended to operate, if such an investor were even able to interpret the
  18 relevant law at the time, a reasonable investor lacked sufficient bases to conclude
  19 whether the EMAX Tokens were securities until the platform at issue, and its relevant
  20 “ecosystem,” had been given time to develop. In the interim, the investor lacked the
  21 facts necessary to conclude – let alone formally allege in court – that the EMAX
  22 Tokens they had acquired were securities.
  23         468. The SEC has also provided guidance for determining claims alleging the
  24 improper sale of unregistered securities. On April 3, 2019, the SEC published its
  25 “Framework for ‘Investment Contract’ Analysis of Digital Assets” (the
  26 “Framework”) in which it “provided a framework for analyzing whether a digital
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    1 asset is an investment contract and whether offers and sales of a digital asset are
    2 securities transactions.”116
    3         469. The Framework described how to analyze the various facts surrounding
    4 an ICO in making the determination of whether a given digital asset is a security.
    5         470. In particular, the Framework provides that the “inquiry into whether a
    6 purchaser is relying on the efforts of others focuses on two key issues: Does the
    7 purchaser reasonably expect to rely on the efforts of an [Active Participant or “AP”]?
    8 Are those efforts ‘the undeniably significant ones, those essential managerial efforts
    9 which affect the failure or success of the enterprise,’ as opposed to efforts that are
  10 more ministerial in nature?”117
  11          471. The Framework further notes that the “stronger the[ ] presence” of the
  12 following factors, “the more likely it is that a purchaser of a digital asset is relying
  13 on the ‘efforts of others.’”118
  14          472. The first factor the SEC looked at was whether an AP is responsible for
  15 the development, improvement (or enhancement), operation, or promotion of the
  16 network, particularly if purchasers of the digital asset expect an AP to be performing
  17 or overseeing tasks that are necessary for the network or digital asset to achieve or
  18 retain its intended purpose or functionality.
  19          473. At the time of the EthereumMax launch, Defendants actively marketed
  20 the EMAX Token launch and the tokens’ growth and utilization prospects, thereby
  21 necessitating the continued managerial efforts of the Company and Executive
  22 Defendants. Where the network or the digital asset is still in development and the
  23 network or digital asset is not fully functional at the time of the offer or sale,
  24 purchasers would reasonably expect an AP to further develop the functionality of the
  25 network or digital asset (directly or indirectly).
  26
        116
              See n.103, supra.
  27    117
              Id.
  28    118
              Id.
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    1         474. Another factor the Framework considers is whether the AP creates or
    2 supports a market for, or the price of, the digital asset. This includes, inter alia,
    3 whether the AP “(1) controls the creation and issuance of the digital asset; or (2) takes
    4 other actions to support a market price of the digital asset, such as by limiting supply
    5 or ensuring scarcity, through, for example, buybacks, “burning,” or other
    6 activities.”119
    7         475. As noted above, all of the EMAX Tokens in circulation were created at
    8 the direction of the Executive Defendants. Additionally, the Executive Defendants
    9 also created the protocols by which the EMAX Tokens are burned.
  10          476. The framework further states that “[a]n AP has a continuing managerial
  11 role in making decisions about or exercising judgment concerning the network or the
  12 characteristics or rights the digital asset represents.”120
  13          477. Here, the Company and Executive Defendants have discussed the long-
  14 term prospects on extended frames, continually noting how the utilization of EMAX
  15 Tokens as a method of payment will grow in the future.
  16          478. The ability to determine whether and where the digital asset will trade
  17 is another factor discussed in the Framework.           For example, “purchasers may
  18 reasonably rely on an AP for liquidity, such as where the AP has arranged, or
  19 promised to arrange for, the trading of the digital asset on a secondary market or
  20 platform.”121
  21          479. Here, the Executive Defendants, in particular Defendant Maher,
  22 admitted that the Executive Defendants had access to and did manipulate the sales of
  23 EMAX Tokens in the first days, which had a dramatic impact on the EMAX Tokens
  24 price and effected the EMAX Token liquidity pool.
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        119
              Id.
  27    120
              Id.
  28    121
              Id.
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    1         480. Another factor the Framework notes is whether the AP has the ability to
    2 determine who will receive additional digital assets and under what conditions. This
    3 could be, for example, “[m]aking or contributing to managerial level business
    4 decisions, such as how to deploy funds raised from sales of the digital asset.”122
    5         481. Here, the Company and Executive Defendants are the arbiters of funding
    6 for EthereumMax.
    7         482. Making other managerial judgements or decisions that will directly or
    8 indirectly impact the success of the network or the value of the digital asset generally.
    9         483. The Framework also remarks that purchasers would reasonably expect
  10 the AP to undertake efforts to promote its own interests and enhance the value of the
  11 network or digital asset, including, but not limited to, the instances where the AP “has
  12 the ability to realize capital appreciation from the value of the digital asset. This can
  13 be demonstrated, for example, if the AP retains a stake or interest in the digital asset.”
  14 According to the SEC, in these instances, “purchasers would reasonably expect the
  15 AP to undertake efforts to promote its own interests and enhance the value of the
  16 network or digital asset.”123
  17          484. Here, the Executive Defendants retain a significant interest in the
  18 Ethereum Max project even after selling off many EMAX Tokens at the height of the
  19 initial launch.
  20          485. On May 7, 2021, on CNBC’s “Squawk Box” television program,
  21 chairman of the SEC Gary Gensler stated that “a lot of crypto tokens – I won’t call
  22 them cryptocurrencies for this moment – are indeed securities.”124 In addition to
  23 being the Chairman of the SEC, Mr. Gensler is also a world renowned expert on
  24
  25    122
          Id.
        123
  26      Id.
     124
          Jesse Point, SEC Chairman Gary Gensler says more investor protections are
  27 needed for bitcoin and crypto markets, CNBC (May 7, 2021), https://www.cnbc.
     com/ 2021/05/07/sec-chairman-gary-gensler-says-more-investor-protections-are-
  28 needed-for-bitcoin-and-crypto-markets.html.
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    1 cryptocurrencies and blockchain technology, having taught the “Blockchain and
    2 Money” course at the Sloan School of Management at the Massachusetts Institute of
    3 Technology (“MIT”).125
    4         486. In a June 14, 2018 speech entitled “Digital Asset Transactions: When
    5 Howey Met Gary (Plastic)” that is available on the SEC’s website,126 the following
    6 observations were made on “when a digital transaction may no longer represent a
    7 security offering”:
    8         If the network on which the token or coin is to function is sufficiently
              decentralized – where purchasers would no longer reasonably expect a
    9         person or group to carry out essential managerial or entrepreneurial
              efforts – the assets may not represent an investment contract.
  10          Moreover, when the efforts of the third party are no longer a key factor
              for determining the enterprise's success, material information
  11          asymmetries recede. As a network becomes truly decentralized, the
              ability to identify an issuer or promoter to make the requisite dis-
  12          closures becomes difficult, and less meaningful.
  13                And so, when I look at Bitcoin today, I do not see a central third
              party whose efforts are a key determining factor in the enterprise. The
  14          network on which Bitcoin functions is operational and appears to have
              been decentralized for some time, perhaps from inception.
  15
  16          487. A key factor in determining whether a digital asset is a security or not
  17 is whether the there is a centralized entity behind the digital asset. 127 EMAX
  18 Holdings, LLC operated as the de facto corporate entity and Defendant Perone is the
  19 sole executive and director of this holding company. Thus, there is a centralized
  20 entity behind the EMAX Tokens.
  21          488. Finally, the SEC also already concluded that another virtual currency
  22 (i.e., DAO tokens) that are substantially similar to EMAX Tokens are “securities and
  23
        125
            Lectures and Materials from Chairman Gensler’s MIT course are available to
  24 the public for free at: https://ocw.mit.edu/courses/sloan-school-of-management/15-
     s12-blockchain-and-money-fall-2018/video-lectures/session-1-introduction/.
  25 126
            William Hinman, Director, Division of Corporation Finance, Remarks at the
  26 Yahoo   Finance All Markets Summit, Digital Asset Transactions: When Howey Met
     Gary (Plastic) (June 14, 2018), https://www.sec.gov/news/speech/speech-hinman-
  27 061418.
     127
            Id. (noting that the “decentralized structure” of Bitcoin and Ethereum placed
  28 these digital assets outside the “disclosure regime of the federal securities laws”).
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    1 therefore subject to the federal securities laws.” As stated by the SEC, “issuers of
    2 distributed ledger or blockchain technology-based securities must register offers and
    3 sales of such securities unless a valid exemption applies.”128 More recently, on
    4 November 7, 2022, the SEC was granted summary judgment on the issue of whether
    5 or not the token at issue constituted a security, stating that “no reasonable trier of fact
    6 could reject the SEC’s contention that LBRY offered LBC [tokens] as a security, and
    7 LBRY does not have a triable defense that it lacked fair notice [that it needed to
    8 register its offerings.]” LBRY, 2022 WL 16744741, at *8.
    9         489. This analysis of whether the DAO and LBC tokens are securities should
  10 be applied here.
  11                          THIRTEENTH CAUSE OF ACTION
  12                             Unjust Enrichment/Restitution
                          (California Common Law, in the Alternative)
  13                                (Against All Defendants)
  14          490. Plaintiffs restate and reallege all preceding allegations above in
  15 paragraphs 1 – 185 as if fully set forth herein, and further allege as follows:
  16          491. Plaintiffs and members of the Class conferred a monetary benefit on
  17 Defendants by raising the price and trading volume of the EMAX Tokens, which
  18 allowed Defendants to sell their EMAX Tokens to Plaintiffs and Class members at
  19 inappropriately and artificially inflated prices.
  20          492. Defendants received a financial benefit from the sale of their EMAX
  21 Tokens at inflated prices and are in possession of this monetary value that was
  22 intended to be used for the benefit of, and rightfully belongs to, Plaintiffs and
  23 members of the Class.
  24
  25
  26
  27    128
            Press Release, U.S. SEC. & EXCH. COMM’N, SEC Issues Investigative Report
  28 Concluding   DAO Tokens, a Digital Asset, Were Securities (July 25, 2017),
     https://www.sec.gov/news/press-release/2017-131.
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    1         493. Plaintiffs seek restitution in the form of the monetary value of the
    2 difference between the purchase price of the EMAX Tokens and the price those
    3 EMAX Tokens sold for.
    4                                PRAYER FOR RELIEF
    5         WHEREFORE, Plaintiffs, individually, and on behalf of all others similarly
    6 situated, respectfully request that this Court:
    7         A.    Determine that the claims alleged herein may be maintained as a class
    8 action under Rule 23 of the Federal Rules of Civil Procedure, and issue an order
    9 certifying one or more of the Classes defined above;
  10          B.    Appoint Plaintiffs as representatives of the Class and their counsel as
  11 Class counsel;
  12          C.    Award all actual, general, special, incidental, statutory, punitive, and
  13 consequential damages and restitution to which Plaintiffs and the Class members are
  14 entitled;
  15          D.    Order appropriate relief under Cal. Bus. & Prof. Code §17500 for
  16 Defendant Kardashian;
  17          E.    Award post-judgment interest on such monetary relief;
  18          F.    Grant appropriate injunctive and/or declaratory relief;
  19          G.    Award reasonable attorneys’ fees and costs; and
  20          H.    Grant such further relief that this Court deems appropriate.
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                         SECOND AMENDED CLASS ACTION COMPLAINT
                                  CASE NO. 2:22-CV-00163
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    1                                   JURY DEMAND
    2         Plaintiffs, individually and on behalf of the putative Class, demand a trial by
    3 jury on all issues so triable.
    4 DATED: December 22, 2022 SCOTT+SCOTT ATTORNEYS AT LAW LLP
    5                                   /s/ John T. Jasnoch
                                        John T. Jasnoch (CA 281605)
    6                                   jjasnoch@scott-scott.com
                                        600 W. Broadway, Suite 3300
    7                                   San Diego, CA 92101
                                        Tel.: 619-233-4565
    8                                   Fax: 619-236-0508
    9                                   Counsel for Plaintiffs and the Proposed Class
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                         SECOND AMENDED CLASS ACTION COMPLAINT
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                                   #:972



    1                           CERTIFICATE OF SERVICE
    2        I hereby certify that on December 22, 2022, I caused the foregoing to be
    3 electronically filed with the Clerk of the Court using the CM/ECF system, which
    4 will send notification of such filing to the email addresses denoted on the Electronic
    5 Mail Notice List.
    6                                         s/ John T. Jasnoch
                                              John T. Jasnoch
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                          SECOND AMENDED CLASS ACTION COMPLAINT
                                   CASE NO. 2:22-CV-00163
